 Fill in this information to identify the case:

 Debtor name         ROVIG MINERALS, INC.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)         19-51133
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          November 14, 2019                       X /s/ David B. Rovig
                                                                       Signature of individual signing on behalf of debtor

                                                                       David B. Rovig
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            ROVIG MINERALS, INC.

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF LOUISIANA

 Case number (if known)               19-51133
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $            38,386.50

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,208,002.90

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,246,389.40


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,941,784.75


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       23,171,657.47


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         25,113,442.22




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         ROVIG MINERALS, INC.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)         19-51133
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number
                   Western Security Bank in the name of
           3.1.    Untangled LLC                                            Checking                     8042                                       $152.60



                   Western Security Bank in the name of
           3.2.    Rovig Minerals, Inc.                                     Checking                     1302                                       $249.66



                   Western Security Bank in the name of
           3.3.    Roving Minerals, LLC                                     Checking                     1434                                       $734.78



                   Western Security Bank in the name of
           3.4.    Rovig Global                                             checking                     5545                                       $100.00



                   Hancock Bank in the name of Rovig
           3.5.    Minerals, Inc. (New Operating)                           Checking                     2880                                    $19,846.98




           3.6.     Hancock Bank, Movant 1                                  Checking                     0792                                             $0.00




           3.7.    Hancock Bank, Movant 2                                   Checking                     0865                                             $0.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 1
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 Debtor           ROVIG MINERALS, INC.                                                                Case number (If known) 19-51133
                  Name




           3.8.     Hancock Bank, Peltier 2                                      Checking                           0903                            $0.00




           3.9.     Hancock Bank, Thibodaux Energy                               Checking                           3090                          $10.88



           3.10
           .    Hancock Bank, Revenue Account                                    Checking                           1037                            $0.00



           3.11 Western Security Bank, pledged to
           .    State of Louisina for operating                                  CD's                                                       $50,424.00



           3.12 Western Security Bank, pledged to
           .    State of Louisina for operating                                  CD                                                         $50,000.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                             $121,518.90
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


           11b. Over 90 days old:                                    61,808.00   -                                  0.00 =....              $61,808.00
                                              face amount                               doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                              $61,808.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 2
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 Debtor         ROVIG MINERALS, INC.                                                          Case number (If known) 19-51133
                Name


        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office furniture                                                                 $0.00                                         $40,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computer equipment                                                               $0.00                                           $3,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                              $43,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2017 Subaru Outback, VIN
                     4S4BSENC3H3255511                                                      $0.00                                         $19,000.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 3
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 Debtor         ROVIG MINERALS, INC.                                                          Case number (If known) 19-51133
                Name



           47.2.     218 Chevrolet Tahoe K1500, VIN
                     1GNSKBKCOJR357592                                                      $0.00                                          $45,000.00


           47.3.     2018 Chevrolet Suburban                                                $0.00                                          $43,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Line Heater                                                                      $0.00    Lafourche Parish                      $20,000.00


           Reboilers                                                                        $0.00    Lafourche Parish                      $20,000.00


           Flairs                                                                           $0.00    Lafourche Parish                        $7,500.00


           Contact Tower                                                                    $0.00    Lafourche Parish                      $20,000.00


           Fuel Gas Scrubber                                                                $0.00    Lafourche Parish                        $8,000.00


           2 dog houses                                                                     $0.00    Delta Seaboard                          $6,000.00



 51.       Total of Part 8.                                                                                                           $188,500.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used      Current value of
           property                                       extent of           debtor's interest      for current value          debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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 Debtor         ROVIG MINERALS, INC.                                                         Case number (If known) 19-51133
                Name

           55.1.     Well: Lafourche
                     Parish, Serial No.
                     225427, KO Realty,
                     LLC #1,                                                                $0.00                                   Unknown


           55.2.     Well: Lafourche
                     Parish, Serial No.
                     251292, Lake Boeuf
                     Southwest                                                              $0.00                                   Unknown


           55.3.     Well: St. Landry
                     Parish, Serial No.
                     250364, Brignac Heir
                     #1                                                                     $0.00                                   Unknown


           55.4.     Well: Lafourche
                     Parish, Serial No.
                     230513, Peltier SWD
                     #1                                                                     $0.00                                   Unknown


           55.5.     Well: Lafourche
                     Parish, Serial No.
                     237387, Peltier, et al
                     #2                                                                     $0.00                                   Unknown


           55.6.     Well: Lafourche
                     Parish, Serial No.
                     251291, Bordelon
                     Ranch #1                                                               $0.00                                   Unknown


           55.7.     Well: Lafourche
                     Parish, Serial No.
                     225014, Morvant #1                                                     $0.00                                   Unknown


           55.8.     Well: Lafourche
                     Parish, Serial No.
                     225818, DJ Morvant
                     #2                                                                     $0.00                                   Unknown


           55.9.     Well: Lafourche
                     Parish, Serial No.
                     251203, Cheryl
                     Boudreaux #1                                                           $0.00                                   Unknown


           55.10 Well: Lafourche
           .     Parish, Serial No.
                     251304, MGM #1                                                         $0.00                                   Unknown


           55.11 Well: Lafourche
           .     Parish, Serial No.
                     973095, DJ Morvant
                     SWD #1                                                                 $0.00                                   Unknown


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 5
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 Debtor         ROVIG MINERALS, INC.                                                         Case number (If known) 19-51133
                Name

           55.12 Well: Lafourche
           .     Parish, Serial No.
                     251247, Grand
                     Coteau LLC #3                                                          $0.00                                   Unknown


           55.13 Well: Lafourche
           .     Parish, Serial No.
                     216810, Pacific
                     Enterprises, et al
                     #1-Alt                                                                 $0.00                                   Unknown


           55.14 Well: Lafourche
           .     Parish, Serial No.
                     217366, Edward Caire
                     et ux #1                                                               $0.00                                   Unknown


           55.15 Well: Lafourche
           .     Parish, Serial No.
                     218458, Pacific
                     Enterprises, et al
                     SWD #4                                                                 $0.00                                   Unknown


           55.16 Well: Lafourche
           .     Parish, Serial No.
                     972563, Pacific
                     Enterprises SWD #1                                                     $0.00                                   Unknown


           55.17 Refrigeration Unit
           .     and Vapor Recovery
                     Unit                                                                   $0.00     Lafourche Parish              $9,886.50


           55.18
           .
                 Frac Tree leases from
                     Elite Well Services                                                    $0.00     Lafourche Parish              $1,500.00


           55.19
           .
                     Frac Tree                                                              $0.00     Lafourche Parish              $2,000.00


           55.20
           .
                 3" Meter Skid used
                     from Walters/Delta                                                     $0.00     Delta Seaboard              $10,000.00


           55.21
           .
                 4" Meter Skid used
                     from Walters/Delta                                                     $0.00     Delta Seaboard              $10,000.00


           55.22
           .
                 valves/fittinhgs/bolts/
                     flanges/etc.                                                           $0.00                                   $5,000.00




 56.       Total of Part 9.                                                                                                    $38,386.50
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 6
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 Debtor         ROVIG MINERALS, INC.                                                          Case number (If known) 19-51133
                Name

            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties
            Seismic Data License                                                            $0.00                                        $151,161.00



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                         $151,161.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                Current value of
                                                                                                                                debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 7
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 Debtor         ROVIG MINERALS, INC.                                                         Case number (If known) 19-51133
                Name



 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           400 BBLS Shell Capacity 12' x 20'                                                                                      $25,430.00



           400 BBLS Shell Capacity; 12' x 20'                                                                                     $10,960.00



           3 Phase Separaors                                                                                                      $32,500.00



           LP Separators                                                                                                          $12,000.00



           Reboiler                                                                                                                 $3,000.00



           Contact Tower                                                                                                            $3,000.00



           8,480' 39#; (Oil Counrty Tubular in possession of 8,000')                                                            $212,000.00



           approx 400 joints of tubing @ $5/ft                                                                                    $60,000.00



           Approx 30 joints of 40' long casing                                                                                    $18,000.00



           Approx 47 joints of 40' pipe                                                                                           $59,125.00



           2 twenty foot Storage Units                                                                                              $6,000.00


           41% interest in approximately 16,000 feet of 7-5/8 casing
           located at 7814 Miller Rd. #3, Houston TX 77049                                                                      $200,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 8
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 Debtor         ROVIG MINERALS, INC.                                                         Case number (If known) 19-51133
                Name

           7-5/8 Pipe located on the premises of "Tubular" at 1301
           Young St., Broussard, LA 70518                                                                                           Unknown




 78.       Total of Part 11.                                                                                                   $642,015.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 9
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 Debtor          ROVIG MINERALS, INC.                                                                                Case number (If known) 19-51133
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $121,518.90

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $61,808.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $43,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $188,500.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                          $38,386.50

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $151,161.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $642,015.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,208,002.90            + 91b.               $38,386.50


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,246,389.40




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 10
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 Fill in this information to identify the case:

 Debtor name         ROVIG MINERALS, INC.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)             19-51133
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   First Interstate Bank                          Describe debtor's property that is subject to a lien                   $56,000.00                $43,000.00
       Creditor's Name                                2018 Chevrolet Suburban

       Billings, MT 59101
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Marg A LLC                                     Describe debtor's property that is subject to a lien               $1,821,784.75                  Unknown
       Creditor's Name                                Morvant 1 Well and Bordelon Ranch #1 Well
       270 E. Park St.
       Butte, MT 59701
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       6/11/2019                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       ROVIG MINERALS, INC.                                                                     Case number (if know)       19-51133
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.3    Subaru Finance                                Describe debtor's property that is subject to a lien                      $19,000.00          $19,000.00
        Creditor's Name                               2017 Subaru Outback, VIN
                                                      4S4BSENC3H3255511
        P. O. Box 78232
        Phoenix, AZ 85062
        Creditor's mailing address                    Describe the lien
                                                      Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        4105
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.4    US Bank                                       Describe debtor's property that is subject to a lien                      $45,000.00          $45,000.00
        Creditor's Name                               218 Chevrolet Tahoe K1500, VIN
                                                      1GNSKBKCOJR357592
        P. O. Box 790179
        Saint Louis, MO 63179
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                               $1,941,784.7
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         5

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity


Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         ROVIG MINERALS, INC.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)           19-51133
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $165,332.62
           Acadiana Coatings & Supply, Inc.                                     Contingent
           925 Ridge Road                                                       Unliquidated
           Duson, LA 70529
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $951.12
           All Phase Electrical Service, In                                     Contingent
           P.O. Box 61474                                                       Unliquidated
           Lafayette, LA 70596-2170
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $169,607.12
           American Eagle Logistics                                             Contingent
           P.O. Box 679558                                                      Unliquidated
           Dallas, TX 75267-9558
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $75,033.00
           American Express                                                     Contingent
           PO Box 297812                                                        Unliquidated
           Fort Lauderdale, FL 33329-7812
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 32
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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,353.73
          Apex Spectral Technology, Inc.                                        Contingent
          10350 Richmond Road                                                   Unliquidated
          Suite 525
                                                                                Disputed
          Houston, TX 77042
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $45,300.44
          Archrock Partners                                                     Contingent
          PO Box 201160                                                         Unliquidated
          Dallas, TX 75320-1160
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $64,498.61
          B&B Rentals & Mfg., Inc.                                              Contingent
          2217 Bayou Blue Road                                                  Unliquidated
          PO Box 2605
                                                                                Disputed
          Houma, LA 70361
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $110,948.50
          B-ENT KMATT LLC                                                       Contingent
          PO Box 185                                                            Unliquidated
          Dequincy, LA 70633
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,907.00
          Baker Hughes Oilfield Operations                                      Contingent
          17021 Aldine Westfield Road                                           Unliquidated
          Houston, TX 77073-5101
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $673.91
          Banded Iron Group                                                     Contingent
          PO Box 51475                                                          Unliquidated
          Lafayette, LA 70505-1475
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $460.50
          Bayou Fire and Sprinkler, LLC                                         Contingent
          4428 Hwy 56                                                           Unliquidated
          Chauvin, LA 70344
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 32
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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $118,951.42
          BCS Fluids, LLC                                                       Contingent
          PO Box 1120                                                           Unliquidated
          Mandeville, LA 70470-1120
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,309.38
          Benoit Premium Threading, LLC                                         Contingent
          PO Box 2618                                                           Unliquidated
          Houma, LA 70361
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $95,585.04
          Besco Tubular                                                         Contingent
          PO Box 3775                                                           Unliquidated
          Houma, LA 70361
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          BKS Shops, LLC                                                        Contingent
          1350 Ridgefield Rd.                                                   Unliquidated
          Thibodaux, LA 70301
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Lease on Thibodaux office
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,332.82
          Boudreaux Properties                                                  Contingent
          c/o Calvin Boudreaux                                                  Unliquidated
          P. O. Box 1863
                                                                                Disputed
          Thibodaux, LA 70302
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unpaid Service Fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $58,530.00
          Brothers Oilfield Service & Supp                                      Contingent
          PO Box 53408                                                          Unliquidated
          Lafayette, LA 70505
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $43,079.51
          Bryan Francis Energy Services, L                                      Contingent
          PO Box 3729                                                           Unliquidated
          Houma, LA 70361-3729
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,800.00
          Burley Oilfield Services                                              Contingent
          6002 Oilfield Services                                                Unliquidated
          Ferriday, LA 71334
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $250.00
          Butte Business Development Cente                                      Contingent
          305 W. Mercury Street                                                 Unliquidated
          Butte, MT 59701
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $75,326.33
          Butte South, LLC                                                      Contingent
          928 Bandmann Trail                                                    Unliquidated
          Missoula, MT 59802
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,504.88
          C.R. Dream, LLC                                                       Contingent
          928 Bandmann Trail                                                    Unliquidated
          Missoula, MT 59802
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $179,773.39
          Cajun Well Service                                                    Contingent
          1088 Bergeron Rigs Road                                               Unliquidated
          Breaux Bridge, LA 70517
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,515.04
          Canary Drilling Services, LLC                                         Contingent
          17207 North Perimeter Drive                                           Unliquidated
          Suite 120
                                                                                Disputed
          Scottsdale, AZ 85255
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,012.78
          Canon Financial Services, Inc.                                        Contingent
          14904 Collections Center Drive                                        Unliquidated
          Chicago, IL 60693-0149
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,763.67
          Cardinal Coil Tubing, LLC                                             Contingent
          PO Box 12140                                                          Unliquidated
          New Iberia, LA 70562
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,984.49
          Cardinal Slickline, LLC                                               Contingent
          PO Box 11510                                                          Unliquidated
          Houma, LA 70364
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,351,335.65
          Cased Hole Well Services, LLC                                         Contingent
          2020 Bayou Blue Rd.                                                   Unliquidated
          Houma, LA 70364
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $51,674.08
          CH Fenstermaker & Assoc., LLC                                         Contingent
          PO Box 52106                                                          Unliquidated
          Lafayette, LA 70505
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $72.26
          City of Thibodeaux                                                    Contingent
          PO Box 5418                                                           Unliquidated
          Thibodaux, LA 70302
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,320.00
          Clement Family Dentistry                                              Contingent
          850 N. Canal Boulevard                                                Unliquidated
          Thibodaux, LA 70301
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $163,868.00
          Compact Pumping & Coil Specialis                                      Contingent
          2801 SE Evangeline Thruway                                            Unliquidated
          Lafayette, LA 70508
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,564.43
          Corum Production Company                                              Contingent
          1212 Antoine Drive                                                    Unliquidated
          Houston, TX 77055
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,617.52
          Crenshaw Enterprises LLC (Tiger                                       Contingent
          PO Box 733253                                                         Unliquidated
          Dallas, TX 75373
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,139.00
          CSI Inspection, LLC                                                   Contingent
          118 Kol Drive                                                         Unliquidated
          Broussard, LA 70518
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,946.00
          Curtis Oilfield Services                                              Contingent
          751 Plaza Boulevard                                                   Unliquidated
          Coppell, TX 75019
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.00
          Darrell W. Davis Oil & Gas Consu                                      Contingent
          9993 Knob Hollow Way                                                  Unliquidated
          Conroe, TX 77385
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Dave Reed                                                             Contingent
          31 Eastlake Circle                                                    Unliquidated
          Billings, MT 59105-3536
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $487.36
          DC Integrated Systems                                                 Contingent
          6508 Geneseo Circle                                                   Unliquidated
          Plano, TX 75023
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,913.33
          Deep South Chemical, Inc.                                             Contingent
          PO Box 80657                                                          Unliquidated
          Lafayette, LA 70598-0657
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $155,475.79
          Delta Oil Tools                                                       Contingent
          4492 Highway 84 West                                                  Unliquidated
          Vidalia, LA 71373
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,000.00
          Derek Todd Enterprises, LLC                                           Contingent
          15110 Leafy Lane                                                      Unliquidated
          Dallas, TX 75248
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,235.90
          Derrick Corporation                                                   Contingent
          590 Duke Road                                                         Unliquidated
          Buffalo, NY 14225
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $147,663.59
          DH Rock Bit, INC.                                                     Contingent
          502 W. Montgomery No. 306                                             Unliquidated
          Willis, TX 77378
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,819.37
          Dishman & Bennett Specialty Co.                                       Contingent
          PO Box 287                                                            Unliquidated
          Houma, LA 70361
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $67,886.65
          Distribution Now L.P.                                                 Contingent
          1824 Grand Caillou Road                                               Unliquidated
          Houma, LA 70363
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
              Name

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $55,715.92
          Drill Labs Inc.                                                       Contingent
          915 Talbot Ave.                                                       Unliquidated
          Thibodaux, LA 70301
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,712.14
          Drill-Tech Environmental Service                                      Contingent
          PO Box 177                                                            Unliquidated
          Schriever, LA 70395-0177
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $633,833.76
          Dynasty Energy Services, LLC                                          Contingent
          P. O. Box 81566                                                       Unliquidated
          Lafayette, LA 70598
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $37,765.49
          Eagle Pressure Control                                                Contingent
          6000 Western Place                                                    Unliquidated
          Suite 403
                                                                                Disputed
          Fort Worth, TX 76107
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,300.00
          Eide Bailly                                                           Contingent
          PO Box 7112                                                           Unliquidated
          Billings, MT 59103-7112
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $162,956.32
          Elite Wellhead Solutions, LLC                                         Contingent
          PO Box 568                                                            Unliquidated
          Youngsville, LA 70592
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $99.00
          Emerson                                                               Contingent
          PO Box 2056                                                           Unliquidated
          Victoria, TX 77902-9912
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
              Name

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $74,555.71
          Eminent Oil Tools, LLC                                                Contingent
          1224 Wall Road                                                        Unliquidated
          Broussard, LA 70518
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,124.58
          Energy Completion Services, LLC                                       Contingent
          PO Box 442031                                                         Unliquidated
          Houston, TX 77244-2031
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $136,153.17
          Energy Drilling Company                                               Contingent
          PO Box 905                                                            Unliquidated
          Natchez, MS 39121
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,835.51
          Energy Exploration Services                                           Contingent
          c/o Marty Lowe                                                        Unliquidated
          6775 US Highway 59 North
                                                                                Disputed
          Livingston, TX 77351
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unpaid Service Fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,535.40
          Equipment Rentals & Service, LLC                                      Contingent
          5357 Goodrich Road                                                    Unliquidated
          Crowley, LA 70526
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,697.69
          Expro Americas, LLC                                                   Contingent
          PO Box 122080                                                         Unliquidated
          Dallas, TX 75312-2080
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $109,330.60
          F.A.S. Environmental Services LL                                      Contingent
          PO Box 760                                                            Unliquidated
          Pierre Part, LA 70339
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
              Name

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,050.66
          Fast Trac Transoprtation, LLC                                         Contingent
          16220 Air Center Boulevard                                            Unliquidated
          Houston, TX 77032
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $795,752.39
          FDF Energy Services                                                   Contingent
          P. O. Box 677438                                                      Unliquidated
          Dallas, TX 75267-7438
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $272.27
          FedEx Revenue Services                                                Contingent
          PO Box 660481                                                         Unliquidated
          Dallas, TX 75266-0481
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,266.50
          First Bankcard Visa                                                   Contingent
          PO Box 2818                                                           Unliquidated
          Omaha, NE 68103-2818
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,523.00
          Forefront Emergency                                                   Contingent
          2802 Flintrock Trace #8104                                            Unliquidated
          Lakeway, TX 78738
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $65,565.00
          Francis Torque Service, LLC                                           Contingent
          8 Dufresne Loop                                                       Unliquidated
          Luling, LA 70070
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,992.41
          Frank's international                                                 Contingent
          PO Box 4346                                                           Unliquidated
          Houston, TX 77210-4346
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
              Name

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,794.00
          Gator Crane Services, LLC                                             Contingent
          1107 W. Tunnel Boulevard                                              Unliquidated
          PO Box 3298
                                                                                Disputed
          Houma, LA 70361
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $316,759.07
          Gaubert Oil                                                           Contingent
          P. O. Box 310                                                         Unliquidated
          Thibodaux, LA 70301
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,855.00
          Gerger Khalil & Hennessy LLP                                          Contingent
          1001 Fannin Street                                                    Unliquidated
          Suite 2450
                                                                                Disputed
          Houston, TX 77002
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $96,604.24
          Grand Isle Shipyard, LLC                                              Contingent
          18838 Hwy 3235                                                        Unliquidated
          PO Box 820
                                                                                Disputed
          Galliano, LA 70354
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,562.94
          Guichard Operating Company, LLC                                       Contingent
          PO Box 2000                                                           Unliquidated
          Crowley, LA 70527-2000
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,210.73
          Gulf-Pro Services                                                     Contingent
          PO Box 228                                                            Unliquidated
          Houma, LA 70361
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,527.41
          H. Brown, Inc.                                                        Contingent
          PO Box 427                                                            Unliquidated
          Eunice, LA 70535
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
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 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $209,961.80
          Halliburton Energy Services, Inc                                      Contingent
          PO Box 301341                                                         Unliquidated
          Dallas, TX 75303-1341
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,122.05
          Hanser Capital Holdings, LLC                                          Contingent
          2916 Thousand Oaks Street                                             Unliquidated
          Billings, MT 59102
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,915.00
          Heartland Compression Services                                        Contingent
          26894 S. Highway 50                                                   Unliquidated
          Mooreland, OK 73852
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,750.00
          Hudson Services, Inc.                                                 Contingent
          798 Hwy 628                                                           Unliquidated
          La Place, LA 70068
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,311.00
          IHS Global Inc.                                                       Contingent
          15 Inverness Way East                                                 Unliquidated
          Englewood, CO 80112
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,158.57
          Innovex Downhole Solutions                                            Contingent
          4310 N. Sam Houston Parkway E                                         Unliquidated
          Houston, TX 77032
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $246,180.28
          Integrity Oilfield Services                                           Contingent
          PO Box 2116                                                           Unliquidated
          Houma, LA 70361
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
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 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $290,255.52
          Intracoastal Liquid Mud, Inc.                                         Contingent
          P. O. Box 51784                                                       Unliquidated
          Lafayette, LA 70505
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,100.00
          IOS PCI LLC                                                           Contingent
          PO Box 397                                                            Unliquidated
          Youngsville, LA 70592
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,233.40
          Ironman Industrial LLC                                                Contingent
          PO Box 1833                                                           Unliquidated
          Raceland, LA 70394
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $43,619.18
          Jaguar Energy Services                                                Contingent
          19171 Hwy 90 West                                                     Unliquidated
          Crowley, LA 70526
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $125,929.61
          Jewel Specialty and Supply Co In                                      Contingent
          507 Tideland                                                          Unliquidated
          Broussard, LA 70518
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,106.00
          Joe's Environmental Contractor's                                      Contingent
          PO Box 336                                                            Unliquidated
          Cut Off, LA 70345
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,716.18
          John Orizotti                                                         Contingent
          928 Bandmann Trail                                                    Unliquidated
          Missoula, MT 59802
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,001.24
          John Snyder                                                           Contingent
          500 Canyon Creek Drive                                                Unliquidated
          Richardson, TX 75080
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,590.63
          Justin White                                                          Contingent
          212 Olivia                                                            Unliquidated
          Livingston, TX 77351
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unpaid Service Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,738,496.72
          Justiss Oil Company                                                   Contingent
          P. O. Box 2990                                                        Unliquidated
          Jena, LA 71342
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,055.00
          Keith Curtis                                                          Contingent
          720 South Pacific Street                                              Unliquidated
          Dillon, MT 59725
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,675.21
          Keystone Chemical, LLC                                                Contingent
          1019 Albertson Parkway                                                Unliquidated
          Broussard, LA 70518
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $584,796.32
          Knight Oil Tools                                                      Contingent
          P. O. Box 52688                                                       Unliquidated
          Lafayette, LA 70505-2688
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,400.00
          La. Dept. of Env. Quality                                             Contingent
          602 North Fifth Street                                                Unliquidated
          Baton Rouge, LA 70802
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,636.25
          La. Environmental Concepts, LLC                                       Contingent
          1206 Lemaire Street                                                   Unliquidated
          New Iberia, LA 70560
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $64,500.00
          LA111 LC                                                              Contingent
          305 W. Mercury Street                                                 Unliquidated
          Suite 408
                                                                                Disputed
          Butte, MT 59701
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $220.00
          LaFourche Notary and Title Servi                                      Contingent
          700 A St. Mary Street                                                 Unliquidated
          Thibodaux, LA 70301
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $105.00
          LaFourche Parish Clerk of Court                                       Contingent
          PO Box 818                                                            Unliquidated
          Thibodaux, LA 70302
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,716.83
          LaFourche Parish Sheriff's Offic                                      Contingent
          PO Box 5608                                                           Unliquidated
          Thibodaux, LA 70302
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50.00
          LaJaunie's                                                            Contingent
          PO Box 5606                                                           Unliquidated
          Thibodaux, LA 70302
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,532.82
          Land Dept. Boudreaux Properties                                       Contingent
          104 Green Street                                                      Unliquidated
          Thibodaux, LA 70301
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
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 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,710.51
          Land Dept. Energy Exploration S1                                      Contingent
          6775 US Hwy 59 N                                                      Unliquidated
          Livingston, TX 77351
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,125.00
          Land Dept. Energy Exploration Se                                      Contingent
          6775 US Hwy 59 N                                                      Unliquidated
          Livingston, TX 77351
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,503.13
          Land Dept. Jody M. Snyder                                             Contingent
          500 Canyon Creek Drive                                                Unliquidated
          Richardson, TX 75080
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,325.00
          Land Dept. Justin White                                               Contingent
          212 Olivia                                                            Unliquidated
          Livingston, TX 77351
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,150.00
          Land Dept. Nola Min. Servcs. Inc                                      Contingent
          2331 Jefferson Avenue                                                 Unliquidated
          New Orleans, LA 70115
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,059.09
          Land Dept. Nola Mineral Services                                      Contingent
          2331 Jefferson Avenue                                                 Unliquidated
          New Orleans, LA 70115
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,032.11
          Land Dept. Rene J. Bergeron                                           Contingent
          236 Riverwood Drive                                                   Unliquidated
          Houma, LA 70360
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
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 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,982.58
          Land Dept. Sylvia P. Cook                                             Contingent
          707 CR 3057                                                           Unliquidated
          Crockett, TX 75835
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,625.00
          Land Dept. Victoria St. Pe                                            Contingent
          PO Box 740                                                            Unliquidated
          Marquez, TX 77865
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $79,250.00
          Lease Bank 1 - DCG LLC                                                Contingent
          2812 First Avenue North                                               Unliquidated
          Suite 510
                                                                                Disputed
          Billings, MT 59101
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,000.00
          Lease Bank 1- Dan Rovig                                               Contingent
          4273 Bitteroot Road                                                   Unliquidated
          Reno, NV 89519
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $41,025.00
          LSE Crane and Transportation                                          Contingent
          313 Westgate Road                                                     Unliquidated
          Lafayette, LA 70506
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $795,585.29
          LVC Consulting, LLC                                                   Contingent
          9723 Appin Falls Dr.                                                  Unliquidated
          Spring, TX 77379
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,376,233.29
          Lynx Production Services, Inc.                                        Contingent
          808 Prevost Dr.                                                       Unliquidated
          Houma, LA 70364
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
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 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $96,179.91
          Marquis Resources, LLC                                                Contingent
          400 E. Kaliste Saloom Road                                            Unliquidated
          Lafayette, LA 70508
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $37,800.51
          Moncla E-Line Services, Inc.                                          Contingent
          635 Rue Scholastique                                                  Unliquidated
          Scott, LA 70583
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $320,281.76
          Moncla Pressure Pumping, LLC                                          Contingent
          P. O. Box 53408                                                       Unliquidated
          Lafayette, LA 70505
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,491.72
          Mouton Law                                                            Contingent
          PO Box 82438                                                          Unliquidated
          Lafayette, LA 70598
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $571.20
          MT Unemployment                                                       Contingent
          2121 Rosebud Drive                                                    Unliquidated
          Stop B
                                                                                Disputed
          Billings, MT 59102
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,650.00
          N.O. Sewer Water Board                                                Contingent
          625 St. Joseph St., Rm 140                                            Unliquidated
          New Orleans, LA 70165
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account
          Last 4 digits of account number       1132
                                                                             Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $284.80
          NEC Financial Services, LLC                                           Contingent
          PO Box 100558                                                         Unliquidated
          Pasadena, CA 91189-0558
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
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 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,326.85
          NNW, Inc.                                                             Contingent
          39289 Tommy Moore Road                                                Unliquidated
          Suite B
                                                                                Disputed
          Gonzales, LA 70737
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,438.84
          NOLA Minerals Services, LLC                                           Contingent
          c/o Alex Gutierz                                                      Unliquidated
          2331 Jefferson Ave.
                                                                                Disputed
          New Orleans, LA 70115
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unpaid Service Fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $203,067.78
          NOV Wellsite Services                                                 Contingent
          PO Box 202631                                                         Unliquidated
          Dallas, TX 75320-2631
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,840.00
          Offshore Energy Services, Inc.                                        Contingent
          PO Box 53508                                                          Unliquidated
          Lafayette, LA 70505
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $271,055.16
          Oil Country Tubular Corp.                                             Contingent
          1301 Young Street                                                     Unliquidated
          Broussard, LA 70518
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,989.48
          Oil States Energy Services                                            Contingent
          PO Box 203567                                                         Unliquidated
          Dallas, TX 75320-3567
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,515.00
          Oilfield Innovators Limited, LLC                                      Contingent
          1232 Camellia Boulevard                                               Unliquidated
          Suite C
                                                                                Disputed
          Lafayette, LA 70508
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
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 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $147,494.86
          Oilfield Instrumentation                                              Contingent
          PO Box 51902                                                          Unliquidated
          Lafayette, LA 70505-1902
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,121.00
          Onebane Law Firm                                                      Contingent
          PO Box 3507                                                           Unliquidated
          Lafayette, LA 70502-3507
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,261.92
          P2 Energy Solutions                                                   Contingent
          1670 Broadway                                                         Unliquidated
          Suite 2800
                                                                                Disputed
          Denver, CO 80202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $574,864.90
          Patterson Rental Tools                                                Contingent
          P. O. Box 203379                                                      Unliquidated
          Dallas, TX 75320-3379
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,515.00
          Paws Energy Services, Inc.                                            Contingent
          PO Box 386                                                            Unliquidated
          Abbeville, LA 70511
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,253.28
          Peltier 2, LLC                                                        Contingent
          101 St. Luois Street                                                  Unliquidated
          Thibodaux, LA 70301
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,543.69
          Picou Welding Service                                                 Contingent
          PO Box 155                                                            Unliquidated
          Larose, LA 70373
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $179,374.20
          Pipe Pros, LLC                                                        Contingent
          1729 N. Clarkwood Road                                                Unliquidated
          Building 101
                                                                                Disputed
          Corpus Christi, TX 78409
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $54,833.83
          Platinum Chemicals, LLC                                               Contingent
          1129 Evangeline Thruway                                               Unliquidated
          Broussard, LA 70518
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $132,251.04
          Premiere, Inc.                                                        Contingent
          PO Box 2201                                                           Unliquidated
          Decatur, AL 35609-2201
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $505,244.41
          Premium Oilflield Services, LLC                                       Contingent
          P. O. Box 203763                                                      Unliquidated
          Dallas, TX 75320-3763
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $159,389.89
          Premium Tools LLC                                                     Contingent
          PO Box 677901                                                         Unliquidated
          Dallas, TX 75267
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $74,962.71
          Pro-T Company                                                         Contingent
          1034 Smede Hwy                                                        Unliquidated
          PO Box 295
                                                                                Disputed
          Broussard, LA 70518
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $375,938.19
          Procor Chemicals, Inc.                                                Contingent
          P. O. Box 80008                                                       Unliquidated
          Lafayette, LA 70598-0008
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $46,800.00
          Professional Fluid Services, LLC                                      Contingent
          PO Box 80293                                                          Unliquidated
          Lafayette, LA 70598-0293
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,171.00
          Professional NDT NDT Services                                         Contingent
          PO Box 1223                                                           Unliquidated
          Broussard, LA 70518
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,612.93
          Professional Pumping Services LL                                      Contingent
          C/O 12five Capital, LLC                                               Unliquidated
          PO Box 962
                                                                                Disputed
          South Bend, IN 46624
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $675.00
          Progent Corporation                                                   Contingent
          PO Box 254737                                                         Unliquidated
          Sacramento, CA 95865-4737
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,320.00
          Progressive Paloverde Ins. Co.                                        Contingent
          6300 Wilson Mills Road                                                Unliquidated
          Mayfield Village, OH 44143
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,628.30
          Proven Fuel - Houma, LLC                                              Contingent
          PO Box 52552                                                          Unliquidated
          Lafayette, LA 70505-2552
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,820.16
          Quail Tools                                                           Contingent
          PO Box 10739                                                          Unliquidated
          New Iberia, LA 70562-0739
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $92,672.39
          Quality Rental Tools, Inc.                                            Contingent
          PO Box 2218                                                           Unliquidated
          Houma, LA 70361
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $440.48
          Quill Corporation                                                     Contingent
          PO Box 37600                                                          Unliquidated
          Philadelphia, PA 19101-0600
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $929.86
          Quill.com                                                             Contingent
          PO Box 37600                                                          Unliquidated
          Philadelphia, PA 19101-0600
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,300.00
          R Delaney Construction Co.                                            Contingent
          PO Box 264                                                            Unliquidated
          Natchez, MS 39121-0264
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $62,368.00
          R.P.S. Cementing Company, LLC                                         Contingent
          PO Box 176                                                            Unliquidated
          Livonia, LA 70755
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,650.00
          R.W. KREBS Prof. Land Surveying,                                      Contingent
          3445 N. Causeway Boulevard                                            Unliquidated
          #201
                                                                                Disputed
          Metairie, LA 70002-3787
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $169,686.50
          R360 Environmental Solutions, LL                                      Contingent
          PO Box 671766                                                         Unliquidated
          Dallas, TX 75267-1766
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
              Name

 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,947.76
          Reeco Rental & Supply, Inc.                                           Contingent
          PO Box 5801                                                           Unliquidated
          Thibodaux, LA 70302
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $175,509.00
          Reliable Production Service, LLC                                      Contingent
          PO Box 176                                                            Unliquidated
          Livonia, LA 70755
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,690.00
          Rice City Trucking, Inc.                                              Contingent
          PO Box 647                                                            Unliquidated
          Crowley, LA 70527
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $481.24
          Rig Tools, Inc.                                                       Contingent
          2200 Highway 90 E                                                     Unliquidated
          Jennings, LA 70546
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,658.84
          Rig-Chem LLC                                                          Contingent
          132 Thompson Road                                                     Unliquidated
          Houma, LA 70363
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $123,309.82
          River Rental Tools, Inc.                                              Contingent
          109 Derrick Road                                                      Unliquidated
          Belle Chasse, LA 70037
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $323.29
          Rodrigue's Electric, Inc.                                             Contingent
          1435 Tiger Dr.                                                        Unliquidated
          Thibodaux, LA 70301-6096
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
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 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $51,320.00
          Roustabouts, Inc.                                                     Contingent
          PO Box 730                                                            Unliquidated
          Bourg, LA 70343
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,723.24
          Rusco Services, Inc.                                                  Contingent
          1050 QCP Park Drive                                                   Unliquidated
          Broussard, LA 70518
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,789.75
          Rusty Clark Survey Company, Inc.                                      Contingent
          PO Box 100                                                            Unliquidated
          Breaux Bridge, LA 70517
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $45,144.84
          Schlumberger Technology Corp.                                         Contingent
          3750 Industrial Boulevard                                             Unliquidated
          Laurel, MS 39440
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,473.03
          Solids Control Technologies, LLC                                      Contingent
          102 Turtle Creek Drive                                                Unliquidated
          Lafayette, LA 70506
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $163,802.46
          Southern Rental Services, LLC                                         Contingent
          PO Box 959                                                            Unliquidated
          Youngsville, LA 70592
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,112.00
          SPC Rentals                                                           Contingent
          1063 Petroleum Parkway                                                Unliquidated
          Broussard, LA 70518
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
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 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $718.11
          Spectrum                                                              Contingent
          220 Banker Drive SB                                                   Unliquidated
          Thibodaux, LA 70301-8016
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,049.96
          Stabil Drill Specialties, LLC                                         Contingent
          110 Consolidated Drive                                                Unliquidated
          Lafayette, LA 70508
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $755,311.02
          Stage 3 Separation, LLC                                               Contingent
          2000 Silber Rd.                                                       Unliquidated
          Houston, TX 77055-2623
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $488,249.05
          Stallion Oilflield Construction                                       Contingent
          402 Service Rd.                                                       Unliquidated
          Rayne, LA 70578
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $102.00
          State Farm Insurance                                                  Contingent
          PO Box 680001                                                         Unliquidated
          Dallas, TX 75368-0001
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,150.00
          State of LA - DEQ                                                     Contingent
          PO Box 733676                                                         Unliquidated
          Dallas, TX 75373-3676
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          State of LA - Fisherman's Gear C                                      Contingent
          PO Box 44487                                                          Unliquidated
          Baton Rouge, LA 70804-4487
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
              Name

 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,230.97
          State of LA - Ofc. of Mineral Re                                      Contingent
          617 North 3rd Street                                                  Unliquidated
          Baton Rouge, LA 70802
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $204,538.48
          Steel Services Oilfield Tubular                                       Contingent
          8138 E. 63rd Street                                                   Unliquidated
          Tulsa, OK 74133
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $151,600.61
          Stric-Lan Companies LLC                                               Contingent
          PO Box 62288                                                          Unliquidated
          Lafayette, LA 70596
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,525.00
          Superior Performance Inc.                                             Contingent
          PO Box 1080                                                           Unliquidated
          Broussard, LA 70518
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,100.70
          Swivel Rental                                                         Contingent
          PO Box 82539                                                          Unliquidated
          Lafayette, LA 70598
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $122,516.10
          T Baker Smith, LLC                                                    Contingent
          PO Box 2266                                                           Unliquidated
          Houma, LA 70361
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,781.00
          T&A Services of BB, LLC                                               Contingent
          1094 Bergeron Rigs Road                                               Unliquidated
          Breaux Bridge, LA 70517
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
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 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,780.00
          T&T Welding Service                                                   Contingent
          PO Box 279                                                            Unliquidated
          Ellisville, MS 39437
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,703.43
          Tank Specialties, LLC                                                 Contingent
          PO Box 1390                                                           Unliquidated
          Larose, LA 70373
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,115.40
          TanMar Companies, LLC                                                 Contingent
          PO Box 1376                                                           Unliquidated
          Eunice, LA 70535
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,573,530.94
          Tanner Services, LLC                                                  Contingent
          P. O. Box 1434                                                        Unliquidated
          Eunice, LA 70535
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,197.67
          Tarpon Rental, Inc.                                                   Contingent
          PO Box 9023                                                           Unliquidated
          Houma, LA 70361
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $687.00
          Texas Mutual Insurance Company                                        Contingent
          PO Box 841843                                                         Unliquidated
          Dallas, TX 75284-1843
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,154.45
          Thomas Tools                                                          Contingent
          PO Box 732868                                                         Unliquidated
          Dallas, TX 75373-2868
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
              Name

 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $914,965.68
          Tim Carson                                                            Contingent
          281 Ibis St.,                                                         Unliquidated
          Fort Myers Beach, FL 33931
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,016.94
          Transtex Treating                                                     Contingent
          400 Louisiana Street                                                  Unliquidated
          Suite 700
                                                                                Disputed
          Houston, TX 77002
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,180.00
          Tri Drill, LLC                                                        Contingent
          1001 Briar Patch Road                                                 Unliquidated
          Broussard, LA 70518
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $738,612.71
          Tri-City Services, Inc.                                               Contingent
          P. O. Box 81858                                                       Unliquidated
          Lafayette, LA 70598
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,420.70
          Tri-State Environmental, LLC                                          Contingent
          141 Thompson Road                                                     Unliquidated
          Houma, LA 70363
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,677.07
          Tubular Accessories Corporation                                       Contingent
          1301 Young Street                                                     Unliquidated
          Broussard, LA 70518
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $70.68
          United Rentals (North America),                                       Contingent
          6125 Lakeview Road                                                    Unliquidated
          Suite 700
                                                                                Disputed
          Charlotte, NC 28269
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
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 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $251.22
          UPS                                                                   Contingent
          PO Box 660650                                                         Unliquidated
          Dallas, TX 75266-9707
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $832.88
          US Bank Montana Indirect Lending                                      Contingent
          PO Box 790179                                                         Unliquidated
          Saint Louis, MO 63179-0179
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $235.00
          US Postmaster                                                         Contingent
          841 S. 26th Street                                                    Unliquidated
          Billings, MT 59101
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $121.72
          US Treasury                                                           Contingent
          Internal Revenue Service                                              Unliquidated
          Ogden, UT 84201-0039
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,292.73
          Valve & Wellhead Specialists LLC                                      Contingent
          321 Apollo Road                                                       Unliquidated
          Scott, LA 70583
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,135.63
          Vanguard Vaccum Trucks LLC                                            Contingent
          PO Box 4276                                                           Unliquidated
          Houma, LA 70361
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,213.46
          Variable Bore Rams, Inc.                                              Contingent
          1086 Aillet Road                                                      Unliquidated
          Broussard, LA 70518
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 30 of 32
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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
              Name

 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,117.11
          Verizon Wireless                                                      Contingent
          PO Box 660108                                                         Unliquidated
          Dallas, TX 75266-0108
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $158,420.74
          Vesco Rental & Pressure Control                                       Contingent
          PO Box 11612                                                          Unliquidated
          New Iberia, LA 70562-1612
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $49,087.14
          Waguespack Oil Company, Inc.                                          Contingent
          PO Box 326                                                            Unliquidated
          Thibodaux, LA 70302
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $97,413.29
          Warrior Energy Services                                               Contingent
          PO Box 122114                                                         Unliquidated
          Dallas, TX 75312-2114
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $966.80
          Waste Management                                                      Contingent
          PO Box 55558                                                          Unliquidated
          Boston, MA 02205-5558
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $309.84
          Waste Pro                                                             Contingent
          PO Box 865487                                                         Unliquidated
          Orlando, FL 32886-5487
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $70,041.77
          Wild Well Control, Inc.                                               Contingent
          2202 Oil Center Court                                                 Unliquidated
          Houston, TX 77073
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       ROVIG MINERALS, INC.                                                                    Case number (if known)            19-51133
              Name

 3.215     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $68,983.76
           Wireline Control Systems                                             Contingent
           5033 US Hwy 90 E                                                     Unliquidated
           Broussard, LA 70518
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.216     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $56,951.14
           Zedi                                                                 Contingent
           PO Box 51475                                                         Unliquidated
           Lafayette, LA 70505-1475
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                            0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                   23,171,657.47

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                      23,171,657.47




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 32 of 32
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 Fill in this information to identify the case:

 Debtor name         ROVIG MINERALS, INC.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)         19-51133
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      David Rovig                       3345 Tahoe Drive                                  US Bank                            D   2.4
                                               Billings, MT 59102                                                                   E/F
                                                                                                                                    G




    2.2      David Rovig                       3345 Tahoe Drive                                  First Interstate Bank              D   2.1
                                               Billings, MT 59102                                                                   E/F
                                                                                                                                    G




    2.3      David Rovig                       3345 Tahoe Drive                                  American Express                   D
                                               Billings, MT 59102                                                                   E/F       3.4
                                                                                                                                    G




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         ROVIG MINERALS, INC.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)         19-51133
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $6,175,790.00
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                           $11,807,899.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $1,845,864.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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 Debtor       ROVIG MINERALS, INC.                                                                      Case number (if known) 19-51133



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Daniel Hughes                                               8-13-19 and                      $29,999.92           Secured debt
                                                                           9-18-19                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.2.
               Vanguard                                                    10-18-19,                        $30,613.00           Secured debt
                                                                           8-5-19                                                Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.3.
               Southern Rental                                             8-30-19                            $7,500.00          Secured debt
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.4.
               Jewel Specialty                                             8-30-19                            $7,500.00          Secured debt
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.5.
               Tim Carson                                                  8-20-19,                        $435,000.00           Secured debt
                                                                           9-20-19,                                              Unsecured loan repayments
                                                                           9-25-19
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.6.
               Schlumberger                                                8-30-19                          $10,000.00           Secured debt
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.7.
               P.2 Solutions                                               9-30-19                          $13,300.00           Secured debt
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Short term loan


       3.8.
               Lynx Productions                                            10-2-19                            $8,700.00          Secured debt
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




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 Debtor       ROVIG MINERALS, INC.                                                                      Case number (if known) 19-51133



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.9.
               Ed Tuttle                                                   9-16-19                          $15,000.00                Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other Return investment


       3.10
       .
            Moncla E-Line Services                                         8-19-19                            $8,000.00               Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.11
       .
            Tanner Services                                                8-26-19                          $18,816.00                Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    David Rovig                                                 10/2018                          $77,430.20           Salary
               3345 Tahoe Drive                                            through
               Billings, MT 59102                                          9/30/2019
               President

       4.2.    Tysen Rovig                                                 10/1/2018 -                      $45,783.14           Salary
               TRD Global, LLC                                             10/31/2019

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

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 Debtor       ROVIG MINERALS, INC.                                                                      Case number (if known) 19-51133



7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

               Case title                                        Nature of case            Court or agency's name and          Status of case
               Case number                                                                 address
       7.1.    Rovig Minerals, Inc. v. LVC                                                 17th Judicial District Court            Pending
               Consulting, LLC and Leroy J.                                                                                        On appeal
               Callais, et al
                                                                                                                                   Concluded
               138642-E

       7.2.    Justiss Oil Company, Inc. v.                      Damages                   28th Judicial District Court            Pending
               Rovig Mineals, Inc., and                                                                                            On appeal
               Rovig Minerals, LLC of MT
                                                                                                                                   Concluded
               41309

       7.3.    Vesco Rental & Pressure                                                                                             Pending
               Control v. Rovig Minerals, Inc.                                                                                     On appeal
                                                                                                                                   Concluded

       7.4.    Reliable Production Services,                                                                                       Pending
               LLC v. Rovig Minerals, Inc.                                                                                         On appeal
                                                                                                                                   Concluded

       7.5.    Premium Oilfield Services v.                                                                                        Pending
               Rovig Minerals, Inc.                                                                                                On appeal
                                                                                                                                   Concluded

       7.6.    Cajun Well Service, Inc. v.                                                                                         Pending
               Rovig Minerals, Inc.                                                                                                On appeal
                                                                                                                                   Concluded

       7.7.    Cardinal Coil Tubing, LLC v.                                                                                        Pending
               Rovig Minerals, Inc.                                                                                                On appeal
                                                                                                                                   Concluded

       7.8.    Cardinal Slickline, LLC v.                                                                                          Pending
               Rovig Minerals, Inc.                                                                                                On appeal
                                                                                                                                   Concluded

       7.9.    BSC Fluids, LLC v. Rovig                                                                                            Pending
               Minerals, Inc.                                                                                                      On appeal
                                                                                                                                   Concluded

       7.10 Intracoastal Liquid Mud, Inc.                                                                                          Pending
       .    v. Rovig Minerals, Inc.                                                                                                On appeal
                                                                                                                                   Concluded

       7.11 Oil Country Tubular                                                                                                    Pending
       .    Corporation v. Rovig                                                                                                   On appeal
               Minerals, Inc.                                                                                                      Concluded


       7.12 FDF Energy Services, LLC v.                                                                                            Pending
       .    Rovig Minerals, Inc.                                                                                                   On appeal
                                                                                                                                   Concluded



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 Debtor      ROVIG MINERALS, INC.                                                                       Case number (if known) 19-51133



               Case title                                        Nature of case            Court or agency's name and          Status of case
               Case number                                                                 address
       7.13 Aldonsa, Inc. d/b/a Oilfield                                                                                           Pending
       .    Instrumentation USA v. Rovig                                                                                           On appeal
               Minerals, Inc.                                                                                                      Concluded


       7.14 Tri-City Services, Inc. v. Rovig                                                                                       Pending
       .    Minerals, Inc.                                                                                                         On appeal
                                                                                                                                   Concluded

       7.15 D.J. Rock Bit, Inc. v. Rovig                                                                                           Pending
       .    Minerals, Inc.                                                                                                         On appeal
                                                                                                                                   Concluded

       7.16 Cased Hole Well Service, Inc.                                                                                          Pending
       .    v. Rovig Minerals, Inc.                                                                                                On appeal
                                                                                                                                   Concluded

       7.17 Gaubert Oil Company, Inc. v.                                                                                           Pending
       .    Rovig Minerals, Inc.                                                                                                   On appeal
                                                                                                                                   Concluded

       7.18 Elite Wellhead Solutions, Inc.                                                                                         Pending
       .    v. Rovig Minerals, Inc.                                                                                                On appeal
                                                                                                                                   Concluded

       7.19 Patterson Services, Inc. d/b/a                                                                                         Pending
       .    Patterson Rental Tools v.                                                                                              On appeal
               Rovig Minerals, Inc.                                                                                                Concluded


       7.20 Drill Labs, Inc. v. Rovig                                                                                              Pending
       .    Minerals, Inc.                                                                                                         On appeal
                                                                                                                                   Concluded

       7.21 T. Baker Smith v. Rovig                                                                                                Pending
       .    Minerals, Inc.                                                                                                         On appeal
                                                                                                                                   Concluded

       7.22 Crehshaw Enterprises d/b/a                                                                                             Pending
       .    Tigar Industrial Rentals v.                                                                                            On appeal
               Rovig Minerals, Inc.                                                                                                Concluded


       7.23 Stage 3 Separation, LLC v.                                                                                             Pending
       .    Rovig Minerals, Inc.                                                                                                   On appeal
                                                                                                                                   Concluded

       7.24 Rusco Services, Inc. v. Rovig                                                                                          Pending
       .    Minerals, Inc.                                                                                                         On appeal
                                                                                                                                   Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.




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 Debtor        ROVIG MINERALS, INC.                                                                         Case number (if known) 19-51133



           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                Dates given                      Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss       Value of property
       how the loss occurred                                                                                                                               lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates           Total amount or
                the transfer?                                                                                                                           value
                Address
       11.1.    Daniel Hughes
                P. O. Box 51595
                Lafayette, LA 70505-1595                                                                                                           $54,887.00

                Email or website address


                Who made the payment, if not debtor?




       11.2.    H. Kent Aguillard
                P. O. Box 391
                Eunice, LA 70535                                     Attorney Fees                                                                 $10,000.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.


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 Debtor      ROVIG MINERALS, INC.                                                                        Case number (if known) 19-51133




           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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 Debtor      ROVIG MINERALS, INC.                                                                       Case number (if known) 19-51133




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 8
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 Debtor      ROVIG MINERALS, INC.                                                                       Case number (if known) 19-51133



            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Rovig Minerals LLC of MT                                                                          EIN:

                                                                                                               From-To


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory         The dollar amount and basis (cost, market,
               inventory                                                                                              or other basis) of each inventory

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 Debtor      ROVIG MINERALS, INC.                                                                       Case number (if known) 19-51133



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         November 14, 2019

 /s/ David B. Rovig                                                     David B. Rovig
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Western District of Louisiana
 In re       ROVIG MINERALS, INC.                                                                             Case No.      19-51133
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                          **
             Prior to the filing of this statement I have received                                        $                 10.000.00
             Balance Due                                                                                  $                          **

2.     $        of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                  Debtor                 Other (specify):

4.     The source of compensation to be paid to me is:
                  Debtor                 Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 The debtor has agreed to pay to H. Kent Aguillard at the rate of $425 an hour for any and all services rendered in
                 connection with this case and any and all adversary proceedings and contested matters involving the debtor or
                 debtor's estate. The debtor paid to H. Kent Aguillard a $10,000.00 retainer which he still holds in trust the
                 balance of $2,983.50.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     November 13, 2019                                                           /s/ H. Kent Aguillard
     Date                                                                        H. Kent Aguillard
                                                                                 Signature of Attorney
                                                                                 H. Kent Aguillard
                                                                                 P. O. Box 391
                                                                                 Eunice, LA 70535
                                                                                 337-457-9331 Fax: 337-457-2917
                                                                                 Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Western District of Louisiana
 In re      ROVIG MINERALS, INC.                                                                                      Case No.       19-51133
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date November 14, 2019                                                      Signature /s/ David B. Rovig
                                                                                            David B. Rovig

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                         1983 C.R. Cloudt Family Trust
                         446 Augusta Drive
                         Rockport, TX 78382



                         Aaron M Foret
                         107 Louise Drive
                         Raceland, LA 70394



                         Aaron or Peggy Selber Oil Company, LP
                         Dewey W Corley
                         333 Texas Street, Suite 1250
                         Shreveport, LA 71101



                         Abraham Breaux
                         101 Jasmine Lane
                         Waggaman, LA 70094



                         Acadiana Coatings & Supply, Inc.
                         925 Ridge Road
                         Duson, LA 70529



                         Acie J & Della Kelley
                         133 Constant Dr
                         Thibodaux, LA 70301



                         Addie J Thibodaux Kearns
                         110 Nicholls Dr
                         Thibodaux, LA 70301



                         Adolph J Parro
                         8127 La Salle Ave
                         Baton Rouge, LA 70802



                         Adrian M & Thelma Meads
                         302 David Dr
                         Thibodaux, LA 70301




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                     Adriel Toups Chenier
                     216 Norht 12th Street
                     Thibodaux, LA 70301



                     Albert H. & Marion C. Bertaut
                     213 Westide Blvd.
                     Thibodaux, LA 70301



                     Albert J Davis JR & Mary A Freet
                     111 East Killarney Dr
                     Thibodaux, LA 70301



                     Albert P Guarisco and Arlette Maerten Gu
                     1274 HWY 1
                     Thibodaux, LA 70301



                     Alceste A. Arabie Jr
                     115 Destrahan Dr
                     Destrehan, LA 70047



                     Alexander & Cynthia Johnson
                     400 Brandywine BLVD
                     Thibodaux, LA 70301



                     Alexis Ann Burgess Ross
                     1350 Cypress Bend
                     Many, LA 71449



                     Alfred G Robichaux, III
                     1912 State Street
                     New Orleans, LA 70118



                     Alfred Jean Maclean
                     621 Highway 308
                     Thibodaux, LA 70301




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                     Alfred L. Bourgeois
                     309 Levert Drive
                     Thibodaux, LA 70301



                     Alfred L. Bourgeois & Robin M. Templet
                     309 Levert Drive
                     Thibodaux, LA 70301



                     Alice Breaux Breaux
                     140 Ehert Place
                     Marrero, LA 70072



                     Alida A Naquin
                     620 Menard St
                     Thibodaux, LA 70301



                     Alison Vicknair Jennings
                     1104-B HWY 1
                     Thibodaux, LA 70301



                     All Phase Electrical Service, In
                     P.O. Box 61474
                     Lafayette, LA 70596-2170



                     Allen C Peltier
                     1755 Gendarme Road
                     Carencro, LA 70520



                     Allen C Peltier
                     1755 Gendarme Rd
                     Carencro, LA 70520



                     Allen J Foret, Jr.
                     101 Louise Drive
                     Raceland, LA 70394




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                     Allen P Landry
                     4061 HWY 1
                     Napoleonville, LA 70390



                     Allen W & Emily Vander
                     203 East Lakeshore
                     Thibodaux, LA 70301



                     Allison A. Subervielle
                     436 Maple Loop
                     La Place, LA 70068



                     Allison Ann Rablee Bryant
                     505 Edgewood Drive
                     Thibodaux, LA 70301



                     Allison Marie T. Chauvin & Bradley
                     219 Joshua Reed Dr
                     Houma, LA 70360



                     Alma T Robichaux Jackson
                     107 Garden Circle
                     Thibodaux, LA 70301



                     Amanda Matranga
                     147 Dixie Dr
                     Des Allemands, LA 70030



                     American Eagle Logistics
                     P.O. Box 679558
                     Dallas, TX 75267-9558



                     American Express
                     PO Box 297812
                     Fort Lauderdale, FL 33329-7812




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                     American Heart Association, Inc.
                     Justin Rogers, Finance
                     7272 Greenville Ave
                     Dallas, TX 75231



                     Amy R Harang
                     1343 HWY 1 South
                     Donaldsonville, LA 70346



                     Andre G Babin, Etux
                     101 Elvige Dr
                     Thibodaux, LA 70301



                     Andrew A Toups
                     423 Church Street
                     Raceland, LA 70394



                     Andrew Fontenot
                     3607 Grand Prairie Highway
                     Washington, LA 70589



                     Andrew William Wise
                     140 Ashton Drive
                     Thibodaux, LA 70301



                     Angela Ann Kerne Trahan
                     1508 Bentlake Lane
                     Pearland, TX 77581



                     Angela Robichaux Picciola
                     P.O. Box 132
                     Cutt Off, LA 70345



                     Angela Scott-Guillot
                     508 DAX Place
                     Thibodaux, LA 70301




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                     Angela Thibodaux Pitre
                     101 S Dennis St
                     Thibodaux, LA 70301



                     Angelle Marie Falgoust
                     739 HWY 308
                     Thibodaux, LA 70301



                     Ann Ayo Harris
                     5455 Styers Ferry Road
                     Clemmons, NC 27012



                     Ann Elizabeth Florence McDonald
                     206 Dwight Drive
                     Thibodaux, LA 70301



                     Ann Foret Bruno
                     412 Bayou Folse Road
                     Raceland, LA 70394



                     Ann Gaudet Trosclair & Anthony
                     1300 Renee Drive
                     Thibodaux, LA 70301



                     Ann Naquin Hood & Jack W
                     3668 Ridgemont Dr
                     Baton Rouge, LA 70814



                     Anna Mae Robichaux
                     420 Trailhead Dr
                     Abita Springs, LA 70420



                     Anna Mae Theriot
                     4125 Palmyra St
                     New Orleans, LA 70119




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                     Annadell T Lagarde
                     P.O. Box 622
                     Thibodaux, LA 70301



                     Annadell T Lagarde
                     P.O. Box 622
                     Thibodaux, LA 70302



                     Anne Austin Blanchard Richard
                     9 Woodelves Place
                     The Woodlands, TX 77381



                     Anne Ayo Harris
                     5455 Styers Ferry Road
                     Clemmons, NC 27012



                     Anne Champagne Breaux
                     207 West 16th Street
                     Larose, LA 70373



                     Anne Champagne Breaux
                     207 West 16th St
                     Larose, LA 70373



                     Anne Field Jobson
                     110 Garden Circle
                     Thibodaux, LA 70301



                     Anne Higgins Foley
                     40 Jason Street
                     Arlington, MA 02476



                     Anne Knobloch Dufrene
                     2771 HWY 308
                     Raceland, LA 70394




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                     Anne M Roberthon
                     36768 LA hwy. 16, Lot 19
                     Denham Springs, LA 70706



                     Anne Marie Matherne
                     4934 Inspiration Drive
                     Albuquerque, NM 87108



                     Anne Toups Duke
                     3222 Plantation Ct.
                     Baton Rouge, LA 70820



                     Annette L Hill
                     4870 Avoca Street
                     Los Angeles, CA 90041



                     Annette Lucille Arcement
                     414 Justin Street
                     Lockport, LA 70374



                     Annette T Porche
                     262 David Dr
                     Thibodaux, LA 70301



                     Anthony J Vesich, III and Marilyn Zering
                     513 Edgewood Drive
                     Thibodaux, LA 70301



                     Anthony Ledet
                     2244 HWY 307
                     Thibodaux, LA 70301



                     Anthony Murzi
                     55 Ridge Drive
                     Exeter, RI 02822




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                     Antoinette Morello
                     710 HWY 308
                     Thibodaux, LA 70301



                     Aper Developement Co Inc
                     Richard G Weimer, President
                     241 Riemzi Dr
                     Thibodaux, LA 70301



                     Apex Spectral Technology, Inc.
                     10350 Richmond Road
                     Suite 525
                     Houston, TX 77042



                     April M Landry aka April A Glynn
                     313 Price Lane
                     Thibodaux, LA 70301



                     April Marie Panvelle Gamble & Brian Scot
                     112 Flamingo Rd
                     Morgan City, LA 70380



                     Archie R & Esther M Julian
                     508 Edgewood Dr
                     Thibodaux, LA 70301



                     Archrock Partners
                     PO Box 201160
                     Dallas, TX 75320-1160



                     Arlene Rodriguez
                     970 Burma Rd
                     Thibodaux, LA 70301



                     Arlon Jude Foret
                     1834 Dauphine Street
                     New Orleans, LA 70116




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                     Aryn Drake
                     1085 Chawee Road
                     Breaux Bridge, LA 70517



                     Ashley Carse
                     1713 Copper Point Lane
                     Pflugerville, TX 78660



                     Ashley Fontenot Latoilais
                     209 Abaco Lane
                     Lafayette, LA 70508



                     Ashley Guidry Yousey
                     2241 Highway 182
                     Raceland, LA 70394



                     Audie Hebert and Rosa Chicky Hebert
                     184 Kleinpeter Drive
                     Thibodaux, LA 70301



                     Audra Choate
                     1377 Magazine Street
                     New Orleans, LA 70130



                     Audrey Knobloch Reynolds
                     418 Lake David Drive
                     Picayune, MS 39466



                     Audrey Lee M Boudreaux
                     2924 HWY 308
                     Raceland, LA 70394



                     Audrey Mae Boudreaux
                     324 Ledet Dr
                     Thibodaux, LA 70301




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                     Audrey Peltier Mendel
                     #6 Bradley Place
                     Kenner, LA 70065



                     Aysenne Real Estate Agency
                     105 Oak Street
                     Napoleonville, LA 70390



                     Aysenne Real Estate Agency, LLC
                     105 Oak Street
                     Napoleonville, LA 70390



                     B&B Rentals & Mfg., Inc.
                     2217 Bayou Blue Road
                     PO Box 2605
                     Houma, LA 70361



                     B-ENT KMATT LLC
                     PO Box 185
                     Dequincy, LA 70633



                     B.F.W. Land Company Inc.
                     2247 Highway 18
                     Vacherie, LA 70090



                     Baker Hughes Oilfield Operations
                     17021 Aldine Westfield Road
                     Houston, TX 77073-5101



                     Banded Iron Group
                     PO Box 51475
                     Lafayette, LA 70505-1475



                     Barbara A Lanier
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                     Thibodaux, LA 70302




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                     Barbara A. Billings
                     114 Amelia St
                     Destrehan, LA 70047



                     Barbara Ayo
                     419 Rue Grand Chene
                     Thibodaux, LA 70301



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                     302 Fairfield Dr
                     Thibodaux, LA 70301



                     Barbara Toups Miller
                     601 Terrace Street
                     Jefferson, LA 70121



                     Barbara Toups Miller
                     1212 N Gayoso Street, Apt. 201
                     New Orleans, LA 70119



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                     Lumberton, MS 39455



                     Barry Anthony Gaubert
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                     Lockport, LA 70374



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                     Westwego, LA 70094




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                     Barry J & Jerry Fremin
                     512 Blake CT
                     Thibodaux, LA 70310



                     Barry L & Susan H Verdun
                     1266-B Highway 1
                     Thibodaux, LA 70301



                     Barry L. LeBoeuf & April Michel LeBoeuf
                     1004 Forty Arpent Road
                     Thibodaux, LA 70301



                     Barry T Dreyfus JR & Deborah Dreyfus
                     101 Wisteria Drive
                     Pass Christian, MS 39571



                     Barry W & Mercedes B Bennett
                     113 E. Killarney Dr
                     Thibodaux, LA 70301



                     Bart Dupuy
                     187 Reserve Drive
                     Georgetown, TN 37336



                     Bayou Fire and Sprinkler, LLC
                     4428 Hwy 56
                     Chauvin, LA 70344



                     BCS Fluids, LLC
                     PO Box 1120
                     Mandeville, LA 70470-1120



                     Beatrice Constant Naquin
                     c/o Rudy Naquin
                     2355 St Mary Street
                     Thibodaux, LA 70301




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                     Beatrice Constant Naquin
                     2352 St Mary St
                     Thibodaux, LA 70301



                     Beatrice E. & Clyde Joseph Naquin
                     117 Rubaiyat Drive
                     Thibodaux, LA 70301



                     Becky Blanco Boudreaux
                     2372 St. Mary Street
                     Thibodaux, LA 70301



                     Becky Blanco Boudreaux and Johnny P. Bou
                     2372 St. Mary St
                     Thibodaux, LA 70301



                     Becky D Nunn Watkins
                     141 Deer Run Rd
                     McAlester, OK 74501



                     Belinda June T. Naquin
                     226 Midway St
                     Thibodaux, LA 70301



                     Benjamin J Morello
                     825 North Atlanta Street
                     Metairie, LA 70003



                     Benjamin M & Belinda A Talbot
                     289 David Dr
                     Thibodaux, LA 70301



                     Benjamin R Morello
                     126 Mytrle Dr #7406
                     Rockport, LA 70374




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                     Benjamin R Morello
                     126 Mytrle Dr #7406
                     Rock Port, LA 70374



                     Benjamin Wade Foret
                     530 W Vine Ave
                     Eunice, LA 70535



                     Benjy J Pitre
                     135 Margaret St
                     Thibodaux, LA 70301



                     Bennett & Andrea Cunningham
                     514 DAX's Place
                     Thibodaux, LA 70301



                     Bennett P. deBoisblanc
                     6 Ani Street
                     New Orleans, LA 70124



                     Bennie Baker Bourgeois
                     103 Plater Court
                     Thibodaux, LA 70301



                     Bennie M Baker
                     103 Plater Court
                     Thibodaux, LA 70301



                     Benoit Premium Threading, LLC
                     PO Box 2618
                     Houma, LA 70361



                     Benton Paul Arcement
                     242 Rue De Levert Drive
                     Raceland, LA 70394




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                     Bernadette Frances Dugas
                     1568 Highway 1,
                     Thibodaux, LA 70301



                     Bernadette M Foret Terrebonne
                     1222 Renee Drive
                     Thibodaux, LA 70301



                     Bernadine Hampton
                     P.O. Box 636
                     Des Allemands, LA 70030



                     Bernice Harang Talbot
                     306 Bayou Lane
                     Thibodaux, LA 70301



                     Beryl Gaubert Guidry
                     1078 Highway 1
                     Thibodaux, LA 70301



                     Beryl Gaubert Guidry
                     1078 HWY 1
                     Thibodaux, LA 70301



                     Beryl Gaubert Guidry and Charles J Guidr
                     1078 HWY 1
                     Thibodaux, LA 70301



                     Beryl T Sullivan
                     1209 Cardinal Drive, Apt. 108
                     Thibodaux, LA 70301-4867



                     Besco Tubular
                     PO Box 3775
                     Houma, LA 70361




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                     Bessie Babin Legendre
                     100 Oaklawn Dr.
                     Thibodaux, LA 70301



                     Bessie Blanchard Danos
                     1904 Bayou Road
                     Thibodaux, LA 70301



                     Bethany Brignac Duplechin
                     200 Denette Drive
                     Duson, LA 70529



                     Betty Ann Every
                     112 Half Oak Drive
                     Thibodaux, LA 70301



                     Betty B & Michael Lirette SR
                     107 X By Pass Road
                     Raceland, LA 70394



                     Betty Blanchard Arceneaux
                     P.O. Box 545
                     Thibodaux, LA 70302



                     Betty Foret Adams
                     3062 HWY 308
                     Raceland, LA 70394



                     Betty Jean Tardo Drummond
                     516 Pine Crest Drive
                     Hammond, LA 73314



                     Betty Maureaux Brogna
                     248 Vintage DR
                     Covington, LA 70433




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                     Betty Maureaux Brogna
                     248 Vintage Drive
                     Covington, LA 70433



                     Beverly Ann Batiste
                     213 Cortez Street
                     Thibodaux, LA 70301



                     Beverly J Salassi
                     322 Country Club Blvd.
                     Thibodaux, LA 70301



                     Beverly Ledet Melancon
                     31 Chateau Rothchild
                     Kenner, LA 70065



                     Beverly McDonald Brown
                     P.O. Box 19318
                     Panama City Beach, FL 32417



                     Beverly Turner
                     208 Rue Grand Chene
                     Thibodaux, LA 70301



                     Beverly Zeringue Koelliker
                     956 Hesper Ave
                     Metairie, LA 70005



                     Big Sky Mineral Trust
                     P. O. Box 3788
                     Arlington, TX 76007



                     Bill Hargrave
                     1133 Valence Street
                     New Orleans, LA 70115




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                     BKS Shops LLC
                     1350 Ridgefield Rd.
                     Thibodaux, LA 70301



                     BKS Shops, LLC
                     1350 Ridgefield Rd.
                     Thibodaux, LA 70301



                     Black Stone Minerals Co., LP
                     1001 Fannin, Suite 2020; P.O. Box 301267, Dallas,
                     Houston, TX 77002



                     Blaine Steven Richard
                     1513 Filmore Street
                     Morgan City, LA 70380



                     Bobbie N Morris Galjour DDS
                     402 Church St
                     Lockport, LA 70374



                     Bobby J Hebert
                     676 Highway 308
                     Thibodaux, LA 70301



                     Bobby J Zeringue et ux
                     112 Marcello Blvd
                     Thibodaux, LA 70301



                     Bobby M & Heather Bergeron
                     113 Constant Dr
                     Thibodaux, LA 70301



                     Bonnie A. Bourgeois
                     307 Levert Drive
                     Thibodaux, LA 70301




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                     Bonnie Rita Brignac Smith
                     6 Chateau Pl
                     Dothan, AL 36303



                     Bordelon Ranch LLC
                     Benjamin G. Bordelon
                     P.O.Box 250
                     Lockport, LA 70374



                     Bordelon Ranch LLC
                     P.O.Box 250
                     Lockport, LA 70374



                     Boudreaux Properties
                     c/o Calvin Boudreaux
                     P. O. Box 1863
                     Thibodaux, LA 70302



                     Boudreaux Properties, Inc.
                     Calvin P Boudreaux, Jr.
                     P. O. Box 1863
                     Thibodaux, LA 70302



                     Bowie Lumber Associates
                     650 Poydras Street, Suite 2125
                     New Orleans, LA 70130



                     Brad Michael Fields
                     3361 Highway 308
                     Raceland, LA 70394



                     Brad Michael Fields
                     3361 Hwy 308
                     Raceland, LA 70394



                     Bradford C Hymel & Debra Barnett Hymel
                     10156 Chambers Road
                     Raleigh, NC 27603



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                     Bradley S. & Rhonda M. Avants
                     203 E. Oaklawn Drive
                     Thibodaux, LA 70301



                     Brandon and Nikia Knight
                     514 Brandywine Blvd.
                     Thibodaux, LA 70301



                     Brandon Petroleum Properties
                     P.O. Box 5098
                     Brandon, MS 39042



                     Brandt J Defrene Jr
                     P.O. Box 512
                     Boutte, LA 70039-0512



                     Brandt J. Dufrene, Jr, et al
                     Brandt Dufrene
                     P.O. Box 512
                     Boutte, LA 70039



                     Brandy F. Painter & Scott Cole
                     PO Box 24604
                     New Orleans, LA 70184



                     Bred Properties, LLC
                     2035 HWY 308
                     Raceland, LA 70394



                     Brenda A. Saucier
                     126 Mary St
                     Norco, LA 70079



                     Brenda Ann Vicknair
                     506-A Parkside Drive
                     Thibodaux, LA 70301




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                     Brenda Barrios Roberts
                     1070 HWY 1
                     Thibodaux, LA 70301



                     Brenda Gaubert Hansen
                     233 Rienzi Drive
                     Thibodaux, LA 70301



                     Brenda Sanchez
                     184 Joile Oaks Blvd
                     Thibodaux, LA 70301



                     Brennan Brignac
                     607 Nation Road
                     Rayne, LA 70578



                     Brent J Fields
                     163 Constant Dr
                     Thibodaux, LA 70301



                     Brent Michael Babin
                     101 Eagle Drive
                     Raceland, LA 70394



                     Brett A Cazenave
                     1172 Cazenave Street
                     Vacherie, LA 70090



                     Brett Dupuy
                     1212 Barbe Drive
                     Westwego, LA 70094



                     Brian A and Sonnie P Harris
                     301 Fairfield
                     Thibodaux, LA 70301




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                     Brian A. & Darlene B. Rodrigue
                     267 Rue Pelletier
                     Thibodaux, LA 70301



                     Brian A. Roussel & Cynthia Riley
                     504 Levert Drive
                     Thibodaux, LA 70301



                     Brian D Donewar
                     1905 Elm St
                     Harvey, LA 70058



                     Brian E Chiasson
                     1733 lynn st Apt 2
                     Thibodaux, LA 70301



                     Brian Ong
                     7806 Jewt Lane
                     Pensacola, FL 32526



                     Bridget Brignac Fitch
                     337 Bacque Crescent Dr.
                     Lafayette, LA 70503



                     Brittany Brignac Hains
                     319 La Rue Christ Roi
                     Carencro, LA 70520



                     Brothers Oilfield Service & Supp
                     PO Box 53408
                     Lafayette, LA 70505



                     Bruce Hampton
                     1601 Emily Street
                     New Iberia, LA 70560




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                     Bruce M Robinson, Dean L.W. Robinson, Sh
                     307 College Lane
                     Thibodaux, LA 70301



                     Bruce P & Tammy B Benoit
                     102 East Oaklawn Dr
                     Thibodaux, LA 70301



                     Bryan A & Marsha Holmes
                     408 Ledet Dr
                     Thibodaux, LA 70301



                     Bryan Brignac
                     198 Oak Knoll Dr.
                     Ville Platte, LA 70586



                     Bryan Francis Energy Services, L
                     PO Box 3729
                     Houma, LA 70361-3729



                     Bryan H Harang
                     307 Bayou Lane
                     Thibodaux, LA 70301



                     Bryan P Ledet & Tammy Tregre
                     113 East Oaklawn Dr
                     Thibodaux, LA 70301



                     Bryant Larose II and Denise D Larose
                     202 Dwight Drive
                     Thibodaux, LA 70301



                     BSB Development Center
                     305 W. Mercury St.
                     Butte, MT 59701




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                     BSS Energy, LLC
                     650 Poydras Street, Suite 2660
                     New Orleans, LA 70130



                     BT Ventures Partnership
                     P.O. Box 537
                     Carencro, LA 70520



                     Bully G's LLC
                     Charlotte Anne Damos Gaubert
                     305 Ashland Drive
                     Thibodaux, LA 70301



                     Burley Oilfield Services
                     6002 Oilfield Services
                     Ferriday, LA 71334



                     Burton Paul Gaubert
                     152 St. Ann Street
                     Raceland, LA 70394



                     Butte Business Development Cente
                     305 W. Mercury Street
                     Butte, MT 59701



                     Butte South, LLC
                     928 Bandmann Trail
                     Missoula, MT 59802



                     Byron Charles Ledet
                     201 Dwight Dr.
                     Thibodaux, LA 70301



                     Byron E Talbot
                     P.O. Box 5658
                     Thibodaux, LA 70301




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                     Byron E Talbot Farms LLC,
                     301 Main Project Road
                     Schriever, LA 70395



                     Byron E Talbot Farms LLC,
                     301 Main Project Road
                     Schriever, LA 70301



                     Byron E Talbot Jr
                     306 Bayou Lane
                     Thibodaux, LA 70301



                     Byron E Talbot, LLC
                     P.O. Box 5658
                     Thibodaux, LA 70301



                     Byron E. Talbot Grandchildren Holdings,
                     Elizabeth Talbot Gros
                     P.O. Box 5658
                     Thibodaux, LA T15S-R17E



                     Byron L Arceneaux
                     415 Lafourche Street
                     Lockport, LA 70374



                     C.R. Dream, LLC
                     928 Bandmann Trail
                     Missoula, MT 59802



                     Cajun Well Service
                     1088 Bergeron Rigs Road
                     Breaux Bridge, LA 70517



                     Calvin A Lagarde
                     1343 HWY 1
                     Thibodaux, LA 70301




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                     Calvin J & Paula Ann Hebert
                     125 David Dr
                     Thibodaux, LA 70301



                     Calvin J Plaisance & Susan Vice Plaisanc
                     270 David Dr
                     Thibodaux, LA 70301



                     Calvin Norice Folse
                     208 Parkside Drive
                     Thibodaux, LA 70301



                     Calvin P Boudreaux et ux
                     1913 Hwy 308
                     Thibodaux, LA 70301



                     Canary Drilling Services, LLC
                     17207 North Perimeter Drive
                     Suite 120
                     Scottsdale, AZ 85255



                     Cancer Association of Greater New Orlean
                     824 Elmwood Park Blvd., Suite 154
                     New Orleans, LA 70123-3347



                     Cancer Association of New Orleans, Inc.
                     Tammy L. Swindle
                     824 Elmwood Park Blvd, Suite 154
                     New Orleans, LA 70123-3347



                     Canon Financial Services, Inc.
                     14904 Collections Center Drive
                     Chicago, IL 60693-0149



                     Cardinal Coil Tubing, LLC
                     PO Box 12140
                     New Iberia, LA 70562




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                     Cardinal Slickline, LLC
                     PO Box 11510
                     Houma, LA 70364



                     Carl Bertholot and Audrey T Bertholot
                     313 Windsor Dr
                     Thibodaux, LA 70301



                     Carl Breaux
                     205 Victory Ct.
                     Gary, LA 70359-6112



                     Carl Heck, Jr. & Amelia C Heck
                     302 Cherokee Ave.
                     Thibodaux, LA 70301



                     Carl Thomas
                     322 California Street
                     Thibodaux, LA 70301



                     Carla Ingram
                     320 Richmond Ave., Apt. 1
                     Houma, LA 70363



                     Carla J Pierce
                     125 TJV Lane
                     Thibodaux, LA 70301



                     Carlo J Marcello Jr
                     156 W. Main
                     Thibodaux, LA 70301



                     Carlo J. Marcello, Jr.
                     156 W. Main Street
                     Thibodaux, LA 70301




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                     Carmen Faye Bourque
                     3921 Grand Prairie HWY
                     Washington, LA 70589



                     Carmen Winchester
                     217 Churchill Drive
                     Lafayette, LA 70506



                     Carol A JR & Paula Chiasson
                     115 Supercharge Dr
                     Thibodaux, LA 70301



                     Carol Gaubert Caire
                     11919 Middlebury Dr
                     Tampa, FL 33626-2521



                     Carol Joseph Robichaux III
                     254 David Dr
                     Thibodaux, LA 70301



                     Carol Leblanc Babin
                     1759 Oakley Street
                     Thibodaux, LA 70301



                     Carol Macor Jaffarjee
                     31 Hamilton Ave.
                     Weehawken, NJ 07086



                     Carol McDonald Giurintano
                     12579 Warwick Ave.
                     Baton Rouge, LA 70815



                     Carol Verdun Kerne and Karl I Kerne, Jr.
                     2520 Country Club Drive
                     Pearland, TX 77581




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                     Carol Verdun Kerne et al
                     2520 Country Club Drive
                     Pearland, TX 77581



                     Carole Parro Knobloch
                     120 Belle Helene Street
                     Thibodaux, LA 70301



                     Carole Van Sickel Badeaux
                     Carole George
                     205 Dwight Drive
                     Thibodaux, LA 70301



                     Carolyn Ann Foret & Barry Michael Foret
                     4719 N. Dawn Meadow Ct
                     Plant City, FL 33565



                     Carolyn Foret Marino
                     15041 Canyon Hill Drive
                     Walker, LA 70785



                     Carolyn Harang Winder
                     866 Woodgate Blvd
                     Baton Rouge, LA 70808



                     Carolyn K. Bourgeois, Minor
                     P.O. Box 1139
                     Raceland, LA 70394



                     Carolyn Navarre Boudreaux
                     2525 Ramsey St
                     Marrero, LA 70072



                     Carolyn Pittman Labruzzo
                     10312 Green Links Drive
                     Tampa, FL 33626




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                     Carolyn Soileau Humphries
                     1009 Dejean Street,
                     Washington, LA 70589



                     Carolyn Torres Colomb
                     9204 HWY 339
                     Abbeville, LA 70510



                     Carrie Bonin Dondis
                     5684 Monarch Way
                     Lake Charles, LA 70607



                     Carroll Acosta JR
                     141 Throughbred Park
                     Thibodaux, LA 70301



                     Cased Hole Well Services, LLC
                     2020 Bayou Blue Rd.
                     Houma, LA 70364



                     Catherine Kay Kershaw, et al
                     1110 Westover St
                     College Station, TX 77840



                     Catherine A Bilello
                     6815 Woodgate Court
                     Baton Rouge, LA 70808



                     Catherine Clerc Eagan
                     110 Elmwood Drive
                     Pass Christian, MS 39571



                     Catherine Doucet Smith
                     Group C Isabela Doucet
                     302 Cedar Hill Street
                     Washington, LA 70589




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                     Catherine Hebert Clement
                     288 East Bayou Road
                     Thibodaux, LA 70301



                     Catherine McDonald Dardenne
                     8855 Brookwood Drive
                     Baton Rouge, LA 70809



                     Catherine Zeringue Plaisance
                     2475 HWY 308
                     Raceland, LA 70394



                     Cathleen Christl Rice
                     25009 Valley Place
                     Carmel, CA 93923



                     Cathleen Christl Rice
                     25009 Valley Pl.
                     Carmel, CA 93923



                     Cecile M Diaz
                     1307 W Willow St APT 111-B
                     Lafayette, LA T15S-R17E



                     Cecile Marie Diaz
                     1307 W. Willow Street, Apt. 111 B
                     Lafayette, LA 70506



                     Cecilia Leonard Richard
                     201 Abby Rd
                     Thibodaux, LA 70301



                     Celeste J Price
                     198 Evalyn St
                     Madison, AL 35758




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                     Celeste Peltier Loyd
                     209 Glenwood Drive
                     Houma, LA 70364



                     Celeste Peltier Loyd
                     209 Glenwood Drive
                     Houma, LA 70363



                     CH Fenstermaker & Assoc., LLC
                     PO Box 52106
                     Lafayette, LA 70505



                     Chad & Annadelle P Hebert
                     211 Ledet Dr
                     Thibodaux, LA 70301



                     Chad Bourgeois
                     506 Ledet Dr
                     Thibodaux, LA 70301



                     Chad M Dugas
                     511 Menard Street
                     Thibodaux, LA 70301



                     Chad P Knobloch & Dayna T Knobloch
                     684 Highway 308
                     Thibodaux, LA 70301



                     Chadwick H Young and Kaisa M Young
                     306 Price Lane
                     Thibodaux, LA 70301



                     Charity Knoblock
                     641 Lancaster Dr
                     Houma, LA 70360




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                     Charlene Margaret Martin Robertson
                     209 Isle of Cuba Road
                     Schriever, LA 70395



                     Charlene Martin Robertson
                     209 Ilse of Cuba Road
                     Schriver, LA 70395-4401



                     Charlene O Ordoyne
                     580 Choctaw Road
                     Thibodaux, LA 70301



                     Charles D Spera, Etux
                     309 Marcello Blvd
                     Thibodaux, LA 70301



                     Charles J Bilello
                     16170 East Minnesota Park Road
                     Hammond, LA 70403



                     Charles J Rome
                     17 Sedgefield Drive
                     Harahan, LA 70123



                     Charles Keith Fontenot
                     3766 Grand Prairie Highway
                     Washington, LA 70589



                     Charles L Neill, III
                     20930 81st Place West
                     Edmonds, WA 98026



                     Charles R Ordoyne et ux
                     210 Marcello Blvd
                     Thibodaux, LA 70301




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                     Charles R. Landry
                     P.O. Box 1362
                     Thibodaux, LA 70302-1362



                     Charles Raymond King, Jr.
                     3022 General Marsall Drive
                     Lake Charles, LA 70615



                     Charles Vincent Bilello
                     203 Pamela Place
                     Thibodaux, LA 70301



                     Charles W Hayes Jr
                     3499 Rawhide Rd
                     Levelland, TX 79336



                     Charlotte Danos Gaubert
                     Bully G's
                     305 Ashland Drive
                     Thibodaux, LA 70301



                     Charlotte Owen Kiene
                     110 S. KNIGHTSBRIDGE CT
                     SANTA ROSA BEACH, FL 32459



                     Cheryl Boudreaux
                     1120 HWY 1
                     Thibodaux, LA 70301



                     Cheryl Breaux Robichaux
                     208 Fairfield Dr.
                     Thibodaux, LA 70301



                     Cheryl Lynn Molaison Kaye
                     2339 Pecan Grove Way
                     Rancho Cordova, CA 95670




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                     Cheryl Rome Blakeslee
                     P.O. Box 86
                     Needville, TX 77461



                     Chester Sheffield
                     303 Marcello Blvd
                     Thibodaux, LA 70301



                     Chet Michael Clement & Jaclyn H
                     144 Hwy 304
                     Thibodaux, LA 70301



                     Chris A & Sheila Grabert
                     345 David Dr
                     Thibodaux, LA 70301



                     Chris A Guidry
                     debra kiffe guidry
                     125 West 80th street
                     Cut OFF, LA 70345



                     Chris A. Guidry
                     Debra Kiffe Guidry
                     125 West 80Th street
                     Cut Off, LA 70345



                     Chris Hebert
                     97714 Albatross Dr
                     Yulee, FL 32097



                     Chris Nicholas Boudreaux
                     16 Daisy Lane
                     Waggaman, LA 70094



                     Christine A Dupre
                     2009 butternut ave
                     metairie, LA 70001




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                     Christine A Naquin
                     283 Kleinpeter Drive
                     Thibodaux, LA 70301



                     Christine R Proctor Crist
                     604 Palfrey Pkwy
                     Youngsville, LA 70592



                     Christopher J & Mary W Terracina
                     503 Country Club Blvd.,
                     Thibodaux, LA 70301



                     Christopher J Terracina
                     503 Country Club Blvd.
                     Thibodaux, LA 70301



                     Christopher Roch Gaudet & Kay Cannon Gau
                     7055 Bayou Paul Rd
                     ST Gaberiel, LA 70776



                     CHW Holdings, LLC
                     866 Woodgate Blvd
                     Baton Rouge, LA 70808



                     CHW Holdings, LLC
                     866 Woodgate Blvd.
                     Baton Rouge, LA 70808



                     Ciarah Burdis
                     506 Brandywine Blvd.
                     Thibodaux, LA 70301



                     Cindy Brown
                     4937 Arthur Lane
                     Barataria, LA 70036




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                     Cindy Levron
                     435 Donald Drive
                     Thibodaux, LA 70301



                     City of Thibodeaux
                     PO Box 5418
                     Thibodaux, LA 70302



                     Claire A Carmouche
                     107 Rue L'Amitte
                     Thibodaux, LA 70301



                     Clancy E Kirk
                     208 David Dr
                     Thibodaux, LA 70301



                     Clarence J & Elaine Ford
                     403 Ledet Dr
                     Thibodaux, LA 70301



                     Clarence J Leger JR & Jan L Ledet
                     109 East Gardens Dr
                     Thibodaux, LA 70301



                     Clarence M & Rose A Ledet
                     1258 Highway 1
                     Thibodaux, LA 70301



                     Clarence M. Ledet
                     1258 HWY 1
                     Thibodaux, LA 70301



                     Clark J Ponville
                     123 Constant Dr
                     Thibodaux, LA 70301




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                     Claude J Davaine
                     102 N Leon Dr
                     Gheens, LA 70355



                     Claude J. Davaine
                     102 N Leon Dr
                     Gheens, LA 70355



                     Claude R & Eloise M Clement
                     311 Plater Dr
                     Thibodaux, LA 70301



                     Claudette Ledet Pitre
                     3158 HWY 308
                     Raceland, LA 70394



                     Claudia B Berman
                     2709 Knoll Trail
                     Euless, Tx 76039



                     Clayton P Durocher, Etux
                     217 Marcello Blvd
                     Thibodaux, LA 70301



                     Clearie Washington
                     Previously Known as Cleonia Huger
                     1563 Metropolitan Ave., Spt. 1D
                     Bronx, NY 10462



                     Clement Family Dentistry
                     850 N. Canal Boulevard
                     Thibodaux, LA 70301



                     Cleveland J Billiot III
                     P.O. Box 3572
                     Morgan City, LA 70381




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                     Cleveland J Breaux
                     234 Ayo Street
                     Raceland, LA 70394



                     Cleveland J III & Lauren Billiot
                     P.O. Box 3572
                     Morgan City, LA 70381



                     Clifford Walker, Jr. & Gertie Mae Walker
                     342 California Street
                     Thibodaux, LA 70301



                     Clifton J & Nancy L Benoit
                     903 Tiger Dr
                     Thibodaux, LA 70301



                     Cole Joseph Rodriguez
                     112 Rodriguez Dr
                     Raceland, LA 70394



                     Compact Pumping & Coil Specialis
                     2801 SE Evangeline Thruway
                     Lafayette, LA 70508



                     Connie C & Jeffery A Daigle
                     10250 HWY 182 W
                     Franklin, LA 70538



                     Connie Roussel Plonsky
                     284 Meadow Circle
                     Opelousas, LA 70570



                     Constance Bernard Gagneaux
                     114 Longwood Dr.
                     Clinton, MS 39056




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                     Constance Winchester McCann
                     1020 Palm Street
                     Morgan City, LA 70380



                     Constancio & Elida Izaguirre
                     109 Superchare Drive
                     Thibodaux, LA 70301



                     Constant Smith DeFelice
                     539 Goode Street
                     Thibodaux, LA 70301



                     Corum Production Company
                     1212 Antoine Drive
                     Houston, TX 77055



                     Courtney Blouin Moss
                     6139 Lynbrook Dr.
                     Houston, TX 77057



                     Courtney Catherine Blouin Moss
                     6139 Lynbrook Dr
                     Houston, Tx 77057



                     Courtney Catherine Blouin Moss
                     6139 Lynbrook Drive
                     Houston, TX 77057



                     Coy Winchester
                     205 Anslem Drive
                     Youngsville, LA 70592



                     Craig A & Tammy C Bergeron
                     329 David Drive
                     Thibodaux, LA 70301




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                     Craig Anthony Zeringue
                     2951-A HWY 308
                     Raceland, LA 70394



                     Craig C. Bland
                     208 East Oaklawn Drive
                     Thibodaux, LA 70301



                     Craig J Bilello
                     7909 North Hills Blvd.
                     North Little Rock, AK 72116



                     Craig J Hebert
                     1316 Tiger Drive
                     Thibodaux, LA 70301



                     Craig M Marcello
                     6 Crane St.
                     New Orleans, LA 70124



                     Craig M Marcello
                     6 Cane Street
                     New Orleans, LA 70471



                     Craig M Marcello
                     6 Crane Street
                     New Orleans, LA 70471



                     Crenshaw Enterprises LLC (Tiger
                     PO Box 733253
                     Dallas, TX 75373



                     Crossing North, LLC
                     Kirk D St Pierre
                     P.O. Box 1464
                     Larose, LA 70373




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                     CSI Inspection, LLC
                     118 Kol Drive
                     Broussard, LA 70518



                     Curt M Matherne
                     Pousada Graciosa, KM 8, CXP 78
                     Morretes, Brazil 08335-0000



                     Curt Michael Ockman & Sunny Manning Ockm
                     313 College Lane
                     Thibodaux, LA 70301



                     Curtis A Arcement
                     284 Elizabeth Street
                     Lockport, LA 70374



                     Curtis Duplechain
                     118 Nicholls Dr
                     Thibodaux, LA 70301



                     Curtis James Panvelle
                     1020 Jackson Street
                     Thibodaux, LA 70301



                     Curtis Oilfield Services
                     751 Plaza Boulevard
                     Coppell, TX 75019



                     Cynthia Anne Arcement Folse
                     7759 Barataria Blvd
                     Marrero, LA 70072



                     Cynthia Lagarde Riley
                     5857 Garnier Road
                     Bastrop, LA 71220




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                     Cynthia Ledet Parro
                     1419 Lee Dr
                     Thibodaux, LA 70301



                     Cynthia M Delise
                     821 Harrison Street
                     Thibodaux, LA 70301



                     Cynthia M Roppolo
                     300 Rosa Avenue
                     Metairie, LA 70005



                     Cynthia Marcello Roppolo
                     300 Rosa Avenue
                     Metairie, LA 70005



                     Cynthia Martinez Abadie
                     P.O. Box 6591
                     Lake Charles, LA 70606



                     Cynthia Tuverson
                     8333 Turtle Creek Circle
                     Las Jeans, NJ 89113



                     Cynthia W Leblanc
                     205 Anslem Drive
                     Youngsville, LA 70592



                     Cyril F Landry
                     300 Wexford St
                     Carencro, LA 70520



                     Dale J Ledet & Tara C Ledet
                     102 TJV Lane
                     Thibodaux, LA 70301




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                     Dale J. & Joan Melancon
                     303 Edgewood Drive
                     Thibodaux, LA 70301



                     Dale Louise Constant Authement & Joel P
                     909 Broadmoor Blvd
                     Lafayette, LA 70503



                     Dale P Thibodaux
                     1238 Highway 1
                     Thibodaux, LA 70301



                     Dan A Naquin & Shaunda Revere
                     100 Aragon Dr
                     Thibodaux, LA 70301



                     Dana B Hannawacker
                     3361 Zubin Lane
                     Katy, TX 77493



                     Dana Blanchard Duet
                     9215 Jordan Dr
                     Denham Springs, LA 70726



                     Dana J & NancyThibodaux
                     161 Constant Dr
                     Thibodaux, LA 70301



                     Dana M. Allen & Gary P. Allen
                     2622 Claiborne St
                     Mandeville, LA 70448



                     Danette Legnon
                     112 Tut St
                     Pierre Part, LA 70339




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                     Daniel A Navarre
                     1914 Fordham Place
                     Terrytown, LA 70056



                     Daniel J Diaz
                     316 Elizabeth St
                     Lockport, LA T15S-R17E



                     Daniel J Morvant et ux
                     651 Highway 308
                     Thibodaux, LA 70301



                     Daniel J. Goulas and Lydia Frances Jones
                     905 Crestview Drive
                     Coppell, TX 75019



                     Daniel Jules Diaz
                     316 Elizabeth St
                     Lockport, LA 70374



                     Daniel L Toups
                     121 Rue de la Paix
                     Slidell, LA 70461



                     Daniel Ledet
                     2133 Highway 308
                     Thibodaux, LA 70301



                     Daniel Ledet
                     2133 Highway 308
                     Thibodaux, LAq 70301-0000



                     Daniel P. Blanchard, Jr.
                     5620 Priest Road
                     Acworth, Georgia 30102-0000




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                     Daniel Pittman
                     5235 Cirus Blvd.
                     River Ridge, LA 70123



                     Daniel Pittman
                     5235 Citrus Blvd.
                     River Ridge, LA 70123



                     Daniel R Doucet
                     Group C Isabela Doucet
                     302 Cedar Hill Street
                     Washington, LA 70589



                     Danny M & Rachel B Dufrene
                     1561 Highway 1
                     Thibodaux, LA 70301



                     Danny Michael Gaubert
                     418 N Carol Street
                     Lockport, LA 70374



                     Daphne and David Jones
                     317 Legarde St.
                     Thibodaux, LA 70301



                     Darnell Gaubert Matthews
                     710 Lafourche Street
                     Lockport, LA 70374



                     Darolyn D Johnson
                     505 Ledet Dr
                     Thibodaux, LA 70301



                     Darrel G. & Deborah B. Dupre
                     562 Point Verte Road
                     Washington, LA 70589




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                     Darrell J Giroir et ux
                     118 Marcello Blvd
                     Thibodaux, LA 70301



                     Darrell W. Davis Oil & Gas Consu
                     9993 Knob Hollow Way
                     Conroe, TX 77385



                     Darren M Thibodaux & Rebecca C Bourg
                     171 Olivia Dr.
                     Thibodaux, LA 70301



                     Darryl J Owen
                     530 Coffee
                     Mandeville, LA 70448



                     Darryl J Owen
                     530 Coffee Street
                     Mandeville, LA 70448



                     Dave Reed
                     31 Eastlake Circle
                     Billings, MT 59105-3536



                     David & Deborah Hotard
                     510 Victoria CT
                     Thibodaux, LA 70301



                     David & Yris Duchow
                     1111 Rosedown Drive
                     Thibodaux, LA 70301



                     David A & Kara R Svoboda
                     106 Garden Circle
                     Thibodaux, LA 70301




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                     David A Rini
                     263 David Dr
                     Thibodaux, LA 70301



                     David A. Marcello
                     1936 South Carrollton Avenue
                     New Orleans, LA 70118



                     David Allen Lloyd, Jr. & Tammy Armond Ll
                     304 East Killarney Road
                     Thibodaux, LA 70301



                     David and Judy Fournier
                     400 Ledet Drive
                     Raceland, LA 70394



                     David B. Sturlese & Sharon Schram Sturle
                     Post Office Box 51405
                     Lafayette, LA 70505



                     David C Peltier
                     500 West 3rd Street
                     Thibodaux, LA 70301



                     David C Peltier
                     500 West 3rd St
                     Thibodaux, LA 70301



                     David C. Berger
                     204 Rue Grande Chene
                     Thibodaux, LA 70301



                     David Conner Blouin
                     18501 Hood Street
                     Baton Rouge, LA 70808




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                     David Conner Blouin
                     1850 Hood Street
                     Baton Rouge, LA 70808



                     David Diaz Subdivision, Inc.
                     22 Trinidad ST
                     Kenner, LA 70065



                     David Duplantis & Cynthia R. Duplantis
                     302 East Killarney Road
                     Thibodaux, LA 70301



                     David G. Dufour & Cheri H. Dufour
                     108 Glenwood Court
                     Thibodaux, LA 70301



                     David J Lasseigne
                     696 HWY 308
                     Thibodaux, LA 70301



                     David J Leboeuf, Etux
                     307 Marcello Blvd
                     Thibodaux, LA 70301



                     David John Peltier
                     817 Montegut Street
                     New Orleans, LA 70117



                     David M and Jennifer B Adams
                     400 Parkside Drive
                     Thibodaux, LA 70301



                     David M Richard
                     206 Green ST
                     Thibodaux, LA 70301




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                     David P Arcement
                     217 Elvira Drive
                     Raceland, LA 70394



                     David P Thibodaux & Belinda Thibodaux
                     1208 Highway 1
                     Thibodaux, LA 70301



                     David Rovig
                     3345 Tahoe Drive
                     Billings, MT 59102



                     David Stagni, CPA
                     214 Bankers Drive
                     Thibodaux, LA 70301



                     Davis J. & Pamela Oncale, et. al
                     305 Edgewood Drive
                     Thibodaux, LA 70301



                     Dawn Blanchard Morvant
                     628 Parkside Dr
                     Thibodaux, LA 70301



                     Dawn Guidry Hodges
                     111 Guidry Ln
                     Raceland, LA 70394



                     Dawn M. Folse Cordero & Norberto Cordero
                     122 Mariah Lane
                     Belle Chasse, LA 70037



                     Dawn Thibodaux
                     203 Julia Street
                     Thibodaux, LA 70301




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                     Dawn Z. Leger Schexnaydre
                     205 E. Oaklawn Drive
                     Thibodaux, LA 70301



                     DC Integrated Systems
                     6508 Geneseo Circle
                     Plano, TX 75023



                     Deanna Doucet Ardoin
                     Group C Isabela Doucet
                     302 Cedar Hill Street
                     Washington, LA 70589



                     Debora Clement Naquin & Terry Naquin
                     137 Mockingbird Lane
                     Thibodaux, LA 70301



                     Deborah A. Lillie
                     1044 Highway 1
                     Thibodaux, LA 70301



                     Deborah Himel
                     103 Maison Deville Court
                     Thibodaux, LA 70301



                     Deborah Ledet Gould
                     1942 Illinois Ave.
                     Kenner, LA 70062



                     Deborah Sikes Ostheimer
                     217 Smith Hill Road
                     Columbia, MS 39429



                     Debra Bilello
                     412 Plantation Road
                     Thibodaux, LA 70301




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                     Debra Bourg Chauvin
                     916 Eagle Drive
                     Houma, LA 70364



                     Debra G. Fornet and David Anthony Fornet
                     112 Goode Street
                     Thibodaux, LA 70301



                     Debra Ledet Pitre
                     125 Elm Drive
                     Raceland, LA 70394



                     Debra Lytal
                     101 Palmetto
                     Kenner, LA 70065



                     Debra T Powell
                     5502 Hall Road
                     Hahira, GA 31632



                     Debra T Webre
                     420 Country Club Blvd.
                     Thibodaux, LA 70301



                     Debra Terracina Webre
                     420 country club blvd
                     thibodaux, LA 70301



                     Debra Tesson Powell
                     5502 Hall Road
                     Hahira, Georgia 31632-0000



                     Deep Lake Boeuf Ventures, LLC
                     340 9th Street North
                     Naples, FL 34102




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                     Deep South Chemical, Inc.
                     PO Box 80657
                     Lafayette, LA 70598-0657



                     Delores Legendre Landry
                     2537 Kismet Street
                     Marrero, LA 70072



                     Delta Oil Tools
                     4492 Highway 84 West
                     Vidalia, LA 71373



                     Delvin Jr. & Nancy Portier
                     207 E. Oaklawn Drive
                     Thibodaux, LA 70301



                     Demi Nicole Kliebert
                     1043 HWY 1
                     Thibodaux, LA 70301



                     Demitria Hampton
                     766 St. Louis Street
                     Raceland, LA 70394



                     Denice Breaux Collins
                     203 Danos Street
                     Raceland, LA 70394



                     Denis P, Jr. and Debra Folse Knobloch
                     2783 HWY 308
                     Raceland, LA 70394



                     Denise Brignac Family Trust
                     Denise E. Brignac, Trustee
                     709 Harrell Drive
                     Lafayette, LA 70503




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                     Denise Landry Hebert
                     5210 Courtyard Dr
                     Gonzales, LA 70737



                     Denise R. Webb, formerly Rhodes
                     12118 Winter Brook Drive
                     Houston, TX 77066



                     Denny M Arcement
                     107 Myrtle Delaune Street
                     Lockport, LA 70374



                     Derek Todd Enterprises, LLC
                     15110 Leafy Lane
                     Dallas, TX 75248



                     Derrick Corporation
                     590 Duke Road
                     Buffalo, NY 14225



                     Desiree Arcement Sampey
                     117 Sunset
                     Lockport, LA 70374



                     Deven J & Jennifer W Albert
                     135 Madeline DR
                     Thibodaux, LA 70301



                     Dexter A & Carleen B Babin
                     108 Palm Place; 804 Barbier Avenue
                     Thibodaux, LA 70301



                     DH Rock Bit, INC.
                     502 W. Montgomery No. 306
                     Willis, TX 77378




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                     Diana M Schaubhut
                     2628 Somerset Drive
                     New Orleans, LA 70131



                     Diane Foret Stevens
                     138 Estates Lane
                     Youngsville, LA 70592



                     Diane Pierre
                     193 Castle Drive
                     Edgard, LA 70049



                     Diaz Family Investment Co
                     Edgardo R Diaz and Mildred F Diaz Co-Managers
                     103 Acadia Point Dr
                     Thibodaux, LA 70301



                     Dirk A Arceneaux
                     1038 St Clair Street
                     Morgan City, LA 70380



                     Dishman & Bennett Specialty Co.
                     PO Box 287
                     Houma, LA 70361



                     Distribution Now L.P.
                     1824 Grand Caillou Road
                     Houma, LA 70363



                     Don G Gaudet
                     PO BOX 284
                     Thibodaux, LA 70302



                     Don Gerard Gaudet & Cindy H
                     406 Parkside Dr PO BOX 284 according to W9
                     Thibodaux, LA 70301




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                     Donad J Blanco, Jr.
                     117 Omega Street
                     Thibodaux, LA 70301



                     Donald Carl Yates & Elizabeth Dering Yat
                     54 Highland Hollow Drive
                     Conroe, TX 77304



                     Donald F Thibodeaux JR
                     303 Kleinpeter DR
                     Thibodaux, LA 70301



                     Donald G Robichaux
                     PO Box 414
                     Raceland, LA 70394



                     Donald H Hebert, Et al
                     403 Brandywine Blvd
                     Thibodaux, LA 70301



                     Donald J. Blanco, Jr. and Sherri N. Blan
                     117 Omega St
                     Thibodaux, LA 70301



                     Donald L Peltier III
                     601 Bedico Parkway
                     Madisonville, LA 70447



                     Donald L Peltier, III
                     304 De Zaire Drive
                     Madisonville, LA 70447



                     Donald P Bruton
                     10724 East 35th Street
                     Yuma, AZ 85365




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                     Donald T Carmouche
                     103 WEBRE DRIVE
                     Thibodaux, LA 70301



                     Donna B. and Donnie Barnes
                     PO BOX 1517
                     Thibodaux, LA 70302



                     Donna Blanco Barnes
                     PO BOX 1517
                     Thibodaux, LA 70302



                     Donna C Smith
                     105 Gros Street
                     Schriever, LA 70395



                     Donna G. Naquin and Peter Naquin
                     167 St. Joseph Street
                     Thibodaux, LA 70301



                     Donna Lynn Champagne Mire
                     P.O. Box 1747
                     Raceland, LA 70394



                     Donna Marie Gueno Richard
                     P.O. Box 1707
                     Slidell, LA 70459



                     Donna Marie Martin Ponson
                     28295 Pea Gravel Road
                     Franklinton, LA 70438



                     Donna Martin Ponson
                     28295 Pea Gravel Road
                     Franklinton, LA 70438




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                     Donnell Theriot Desandro
                     DONNELL D HATFIELD
                     164 Kleinpeter Drive
                     Thibodaux, LA 70301



                     Donnie Barnes
                     Donna Blanco Barnes Individually and as agent & at
                     PO BOX 1517
                     Thibodaux, LA 70302



                     Donnie Joseph Foret
                     313 St. Anthony Street
                     Raceland, LA 70394



                     Donovan J Boudreaux
                     134 Madeline ST
                     Thibodaux, LA 70301



                     Donovan Vincent Galey
                     207 Parkside Drive
                     Thibodaux, LA 70301



                     Dooley J Lagarde
                     104 Bayou Vista Dr
                     Thibodaux, LA 70301



                     Dooley J Lagarde
                     104 Bayou Vista Drive
                     Thibodaux, LA 70301



                     Doris Hampton Verrett
                     600 St. Phillip Street
                     Raceland, LA 70394



                     Doris Kearns Stanga
                     Craig Stanga
                     207 W 3rd St
                     Thibodaux, LA 70301



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                     Doris M and Wilson J Bourgeois
                     Jay Bourgeois POA
                     9437 Sullivan Rd
                     Baton Rouge, LA 70818



                     Dorothy A. King
                     11948 Wilmington Way
                     Mukilteo, WA 98275



                     Dorothy B Kleinpeter
                     820 East 1st Street
                     Thibodaux, LA 70301



                     Dorothy Johnson Lagarde
                     229 Saint Charles Bypass Road
                     Thibodaux, LA 70301



                     Dorsey Leanne Legendre
                     3306 Rosemont Drive
                     Midland, TX 79707



                     Dou Yusheng
                     507 Brandywine Blvd.
                     Thibodaux, LA 70301



                     Douglas A Benoit
                     108 Bayou Vista Drive
                     Thibodaux, LA 70301



                     Douglas A Moore
                     278 Highpoint DR
                     Diamond, MS 39525



                     Douglas D and Rebecca R Pitts
                     310 Parkside Drive
                     Thibodaux, LA 70301




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                     Doyle J & Lisa Martin
                     500 Victoria Court
                     Thibodaux, LA 70301



                     Dr James Jackson
                     114 Nicholls DR
                     Thibodaux, LA 70301



                     Dr. Albert J. Ortego, Jr. & Marguerite S
                     154 Lopez Road
                     Washington, LA 70589



                     Drill Labs Inc.
                     915 Talbot Ave.
                     Thibodaux, LA 70301



                     Drill-Tech Environmental Service
                     PO Box 177
                     Schriever, LA 70395-0177



                     Dustin C & Julie L Gendusa
                     504 Edgewood Drive
                     Thibodaux, LA 70301



                     Dustin M. Boudreaux & Lindsey Lejeune Bo
                     502 Edgewood Drive
                     Thibodaux, LA 70301



                     Dwayne & Mary Latiolais
                     2716 Grand Prairie Hwy
                     Washington, LA 70589



                     Dwayne M Grainer, Etux
                     2 Pearl Circle
                     Thibodaux, LA 70301




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                     Dynasty Energy Services, LLC
                     P. O. Box 81566
                     Lafayette, LA 70598



                     Eagle Pressure Control
                     6000 Western Place
                     Suite 403
                     Fort Worth, TX 76107



                     Earl A & Marie M Baudoin
                     207 Fairfield Dr.
                     Thibodaux, LA 70301



                     Earl Coxen Jr
                     P.O. Box 507
                     Thibodaux, LA 70302



                     Earl JR & Carolyn Johnson
                     409 Brandywine Blvd
                     Thibodaux, LA 70301



                     Earline Soileau Fontenot(usufruct)
                     Linda F. Deville
                     3726 Faubourg Road
                     Washington, LA 70589



                     Edith Andras
                     2146 Chactaw Rd
                     Thibodaux, LA 70301



                     Edna Boudreaux Rumore
                     120 Verdin Lane
                     Thibodaux, LA 70301



                     Edward C, III & Lucille Bourgeois
                     6140 Esplanade Ave
                     Baton Rouge, LA 70806




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                     Edward Davaine JR
                     607 Vacherie Street
                     Lockport, LA 70392



                     Edward Davaine, Jr.
                     607 Vacherie Street
                     Lockport, LA 70392



                     Edward G Panvelle & Cecilia T Panvelle
                     1239 Highway #1
                     Thibodaux, LA 70301



                     Edward H Angelloz
                     112 Bamboo Lane
                     Thibodaux, LA 70301



                     Edward J JR & Janice Chiasson
                     120 Ledet Dr
                     Thibodaux, LA 70301



                     Edward J Thibodeaux SR & Judy Degruise T
                     686 Highway 308
                     Thibodaux, LA 70301



                     Edward Man Lee & Young H. Lee
                     509 Edgewood Drive
                     Thibodaux, LA 70301



                     Edward P and Carol G Caire
                     11919 Middlebury Drive
                     Tampa, FL 33626



                     Edward R & Paul N Hoffmann
                     319 Kleinpeter Dr
                     Thibodaux, LA 70301




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                     Edward S. McCollum
                     607 Fairway Drive
                     Thibodaux, LA 70301



                     Edward Shannon Howard
                     700 Alma Dr., Suite 125
                     Plano, TX 75075



                     Edwin J Davaine
                     1714 Highway 654
                     Gheens, LA 70355



                     Edwin J. Davaine
                     1714 HWY 654
                     Gheens, LA 70355



                     Eide Bailly
                     PO Box 7112
                     Billings, MT 59103-7112



                     Eileen Marie Christl
                     225 Crossroads Blvd., #172
                     Carmel, CA 93923



                     Eileen Zeringue Sampey
                     105 Bobcat Lane
                     Thibodaux, LA 70301



                     Elaine Dupre, single
                     124 Daniel Meche Rd.
                     Opelousas, LA 70570



                     Elaine McDonald Vaugh
                     118 Verdin Lane
                     Thibodaux, LA 70301




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                     Elaine McDonald Vaughn
                     118 Verdin Lane
                     Thibodaux, LA 70301



                     Elaine R. Musso
                     125 Grande Maison Blvd
                     Mandeville, LA 70471



                     Eldon J Breaux
                     2732 HWY 308
                     Raceland, LA 70394



                     Eldred J & Joann M Duroche
                     168 Constant Dr
                     Thibodaux, LA 70301



                     Eldred Martinez Durocher
                     524 Foret Street
                     Thibodaux, LA 70301



                     Elisha B. Barry Walker III & Kathy
                     P.O. Box 234
                     Luling, LA 70070



                     Elite Wellhead Solutions, LLC
                     PO Box 568
                     Youngsville, LA 70592



                     Elizabeth Bronson McCarthy
                     250 Hammond Pond Pkw #1403 North
                     Chestnut Hill, MA 02467



                     Elizabeth Bronson McCarthy
                     250 Hammond Pond Pkwy, #1403 North
                     Chestnut Hill, MA 02467




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 124 of 302
                     Elizabeth Chiasson Bonvillain et al
                     656 Highway 308
                     Thibodaux, LA 70301



                     Elizabeth Mayet
                     116 Marcello Blvd
                     Thibodaux, LA 70301



                     Elizabeth Moorhead
                     23861 Inverness Place
                     Laguna Niquel, CA 92677



                     Elizabeth Moorhead
                     23861 Inverness Pl.
                     Laguna Niguel, CA 92677



                     Elizabeth Robichaux Hodnett
                     912 Edgewood Drive
                     Thibodaux, LA 70301



                     Elizabeth Talbot Gros
                     1144 HWY 1
                     Thibodaux, LA 70301



                     Ellen Mary Toups
                     206 Marcello Blvd
                     Thibodaux, LA 70301



                     Ellen Talbot McMillen
                     14361 Villa Grove Dr
                     Baton Rouge, LA 70810-3638



                     Ellery Philip Rodrigue and Gayle Rodrigu
                     205 Garden Dr.
                     Thibodaux, LA 70301




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 125 of 302
                     Ellis D Braud, Jr. and Dora Braud
                     512 Levert Drive
                     Thibodaux, LA 70301



                     Elmer R Bourgeois
                     Rae Anne Bourgeois
                     109 Merry Moss St., Lot 1
                     Gibson, LA 70356



                     Elmus Coleman, Jr
                     111 Oaklawn Dr.
                     Thibodaux, LA 70301



                     Elodie Winchester Louvrak
                     8824 S Ainsworth
                     Tacoma, WA 98444



                     Eloise Foret Babin
                     126 Peltier Drive
                     Raceland, LA 70394



                     Elsie Hampton Poindexter
                     141 St. Louis Street
                     Raceland, LA 70394



                     Elvin J Gros
                     924 HWY 20
                     Thibodaux, LA 70301



                     Emelie Toups Willis
                     3229 Grandlake Blvd.
                     Kenner, LA 70065



                     Emelie Toups Willis
                     3229 Grandlake Blvde
                     Kenner, LA 70065




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                     Emerson
                     PO Box 2056
                     Victoria, TX 77902-9912



                     Emile J Davaine
                     1714 Highway 654
                     Gheens, LA 70355



                     Emile J. Davaine
                     1714 HWY 654
                     Gheens, LA 70355



                     Emilie H Winder
                     317 Woodgate Blvd
                     Baton Rouge, LA 70808



                     Emily Marie Kerne
                     2520 Country Club Drive
                     Pearland, TX 77581



                     Emily Martin Babin
                     175 Market Street
                     Raceland, LA 70394



                     Eminent Oil Tools, LLC
                     1224 Wall Road
                     Broussard, LA 70518



                     Energy Completion Services, LLC
                     PO Box 442031
                     Houston, TX 77244-2031



                     Energy Drilling Company
                     PO Box 905
                     Natchez, MS 39121




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                     Energy Exploration Services
                     c/o Marty Lowe
                     6775 US Highway 59 North
                     Livingston, TX 77351



                     Enola Gladys P. Goulas; Robyn G. Iver wi
                     162 St. Joseph Street
                     Thibodaux, LA 70301



                     Equipment Rentals & Service, LLC
                     5357 Goodrich Road
                     Crowley, LA 70526



                     Eric Naquin
                     16426 Southeast 21st Place
                     Bellevue, WA 98008



                     Erica L Lirette
                     2101 Ruby Drive
                     Houma, LA 70363



                     Erice P Trench & Zantise D Trench
                     288 David Dr
                     Thibodaux, LA 70301



                     Ernest A & Carolyn Ordoyne
                     142 David Dr
                     Thibodaux, LA 70301



                     Ernest A Vicknair, Jr. & Katherine P Vic
                     P.O. Box 715
                     Thibodaux, LA 70302



                     Ernest C Hansen JR
                     107 Nicholls Dr
                     Thibodaux, LA 70301




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                     Ernest P Foret
                     206 Fantastic Blvd.
                     Raceland, LA 70394



                     Ernest Triggs
                     119 California Street
                     Thibodaux, LA 70301



                     Errol Charles Brown
                     102 E. Windsor Drive
                     Thibodaux, LA 70301



                     Estate of Charles V Martinez
                     Todd C. Martinez, and Troy C. Martinez, Executors
                     203 Park Drive
                     Thibodaux, LA 70301



                     Estate of Ernest W Bieber & Anne Bieber




                     Estate of Marie A Rodriguez
                     3332 Highway 308
                     Raceland, LA 70394



                     Estate of Verna T Heck
                     c/o Carl Heck, Jr.
                     302 Cherokee Ave.
                     Thibodaux, LA 70301



                     Ethel Constant Guidry
                     6416 Bridge Port Dr
                     Greenwell Springs, LA 70739



                     Ethel Gaubert Benoit
                     722 Highway 308
                     Thibodaux, LA




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                     Ethel Gaubert Benoit
                     722 Highway 308
                     Thibodaux, LA 70301



                     Ethel Gaubert Benoit
                     722 HWY 308
                     Thibodaux, LA 70301



                     Ethel Ledet Robichaux
                     2751 Highway 308
                     Raceland, LA 70394



                     Eudolia M. Dodie Arabie
                     337 Longview Dr
                     Destrehan, LA 70047



                     Euel G Zeringue
                     2475-A HWY 308
                     Raceland, LA 70394



                     Eugene Aaron Ellis
                     319 Brandywine Blvd.
                     Thibodaux, LA 70301



                     Eugene G Robichaux
                     4550 Francisco Road
                     Pensacola, FL 32504



                     Eugene L. Eleazar, Jr.
                     105 Corona Drive
                     Lafayette, LA 70503



                     Eula Mae Dicks
                     358 Bayou Bluse Bypass Road
                     Gray, LA 70359




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 130 of 302
                     Eunice Rodriguez Arcement, deceased c/o
                     14 Marilyn Ave.
                     Jefferson, LA 70121



                     Eva Every
                     1432 HWY 1
                     Thibodaux, LA 70301



                     Evan M Schenken
                     216 South Murat
                     New Orleans, LA 70119



                     Evans JR & Kathleen T Lewis
                     302 Kleinpeter DR
                     Thibodaux, LA T15S-R17E



                     Evelyn Bumstead Jewell
                     5530 Woodway Drive
                     Houston, TX 77056



                     Eves Davaine
                     1714 HWY 654
                     Gheens, LA 70355



                     Expro Americas, LLC
                     PO Box 122080
                     Dallas, TX 75312-2080



                     Eye, Ear, Nose & Throat Foundation
                     William F. Finegan
                     111 Veterans Blvd, Suite 702
                     Metairie, LA 70005



                     Eye, Ear, Nose, & Throat Foundation
                     William F. Finegan
                     111 Veterans Blvd., STE 702
                     Metairie, LA 70005




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                     F.A.S. Environmental Services LL
                     PO Box 760
                     Pierre Part, LA 70339



                     Fancis A Bilello
                     462 Meadowview Court
                     Thibodaux, LA 70301



                     Farrell Veillion
                     P.O. Box 5314
                     Thibodaux, LA 70302



                     Fast Trac Transoprtation, LLC
                     16220 Air Center Boulevard
                     Houston, TX 77032



                     Fay Anthony Arcement, deceased
                     205 4th Street
                     Lockport, LA 70374



                     FDF Energy Services
                     P. O. Box 677438
                     Dallas, TX 75267-7438



                     FedEx Revenue Services
                     PO Box 660481
                     Dallas, TX 75266-0481



                     Felix B Belding & Kim Lusch Belding
                     402 Easy Street
                     Thibodaux, LA 70301



                     Felix J & Sheila Guidry
                     219 Ledet Dr
                     Thibodaux, LA 70301




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                     Felix J Chauvin
                     664 Highway 308
                     Thibodaux, LA 70301



                     First Bankcard Visa
                     PO Box 2818
                     Omaha, NE 68103-2818



                     First Baptist Church
                     Madison, MS




                     First Interstate Bank
                     Billings, MT 59101




                     First United Methodist Church
                     Reverend Ray Vernade
                     312 College Lane
                     Thibodaux, LA 70301



                     Flavia B Hatcher & Barbara H Morello
                     501 Arms St
                     Thibodaux, LA 70301



                     Flo Oil, LLC
                     8338 Mobud,
                     Houston, TX 77036



                     Flossie Foret Martin
                     1005 Sam's Lane
                     Raceland, LA 70394



                     Floyd & Shaun Lawson
                     511 Brandywine Blvd.
                     Thibodaux, LA 70301




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                     Floyd L. Goodman
                     P.O. Box 1096
                     Zwolle, LA 71486



                     Forefront Emergency
                     2802 Flintrock Trace #8104
                     Lakeway, TX 78738



                     Frances Rodriguez Adams
                     3332 HWY 308
                     Raceland, LA 70394



                     Frances Toups Pere
                     903 Live Oak Drive
                     Abbeville, LA 70510



                     Frances Winchester Buisson
                     811 Mire Street
                     Houma, LA 70364



                     Francine L. Waguespack
                     403 Parkside Drive
                     Thibodaux, LA 70301



                     Francis A Thibodaux
                     105 Nicholls Dr
                     Thibodaux, LA 70301



                     Francis C & Veleda Donaldson
                     108 East Oaklawn Dr
                     Thibodaux, LA 70301



                     Francis Foret
                     123 Green Acres Street
                     Larose, LA 70373




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                     Francis J. Robichaux, Jr
                     248 Peltier Drice
                     Raceland, LA 70394



                     Francis O Bourg III et al
                     1911 Tyler Avenue
                     Houma, LA 70360



                     Francis Torque Service, LLC
                     8 Dufresne Loop
                     Luling, LA 70070



                     Frank Tardo JR
                     1234 Highway 1
                     Thibodaux, LA 70301



                     Frank's international
                     PO Box 4346
                     Houston, TX 77210-4346



                     Franklin Alex Malloy and Patti Malloy
                     503 Brandywine Blvd.
                     Thibodaux, LA 70301



                     Freddie Gaines, Jr.
                     341 California Street
                     Thibodaux, LA 70301



                     Frederick B & Margaret S Sollars
                     513 Country Club Blvd
                     Thibodaux, LA 70301-3711



                     Frederick J Hebert
                     224 Sugar Plum St
                     Thibodaux, LA 70301




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                     Friday Properties LLC
                     Beryl Sullivan
                     404 Green Street
                     Thibodaux, LA 70301



                     Gail Soileau Phillips
                     810Harvest Lane
                     Opelousas, LA 70570



                     Gail Toups Keller
                     P.O. Box 1463
                     Thibodaux, LA 70302



                     Garden Road LLC
                     Nancy Amato Konrad
                     333 Rue Saint Ann,
                     Metairie, LA 70005



                     Garland Triggs and Charity Zeringue Trig
                     210 Kleinpeter Drive
                     Thibodaux, LA 70301



                     Garland Tyler and Rebecca Tyler
                     203 Kleinpeter Drive
                     Thibodaux, LA 70301



                     Gary B Angelette
                     114 Alpine Dr.
                     Pinola, MS 39149



                     Gary Babin
                     12615 Alamito Creek
                     San Antonio, TX 78254



                     Gary Hebert
                     8747 Bay Pointe Drive
                     Tampa, FL 33615




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                     Gary J Adams and Darlene A Adams
                     1097 HWY 1
                     Thibodaux, LA 70301



                     Gary J Landry
                     18560 Santa Maria Dr
                     Baton Rouge, LA 70809



                     Gary Joseph Bonin Testimary Trust for Al
                     Shirley C Bonin, Trustee
                     243 Shell Beach Drive
                     Lake Charles, LA 70601



                     Gary Joseph Bonin Testimary Trust for Ma
                     Shirley C Bonin, Trustee
                     243 Shell Beach Drive
                     Lake Charles, LA 70601



                     Gary L & Kathey H Hood
                     309 Ledet Dr
                     Thibodaux, LA 70301



                     Gary P & Amy Benoit
                     136 Margaret Street
                     Thibodaux, LA 70301



                     Gary P & Amy Benoit
                     136 Margaret Dr
                     Thibodaux, LA 70301



                     Gary Price
                     198 Evalyn Street
                     Madison, AL 35758



                     Gary T & Silvia Peraza Pouwels
                     708 Manchester Manor
                     Thibodaux, LA 70301




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                     Gary T Torres
                     38129 Oak Street
                     Slidell, LA 70458



                     Gary T. Robichaux
                     627 N. Olympia Street
                     New Orleans, LA 70119



                     Gary W Winfree
                     204 Leah Street
                     Ball, LA 71405



                     Gator Crane Services, LLC
                     1107 W. Tunnel Boulevard
                     PO Box 3298
                     Houma, LA 70361



                     Gaubert Oil
                     P. O. Box 310
                     Thibodaux, LA 70301



                     Gaudet Farms and Property
                     Paul T Gaudet & Carol Gaudet
                     733 HWY 308
                     Thibodaux, LA 70301



                     Gaudet Farms and Property
                     733 HWY 308
                     Thibodaux, LA 70301



                     Gayle Blanchard
                     316 Half Oak
                     Thibodaux, LA 70301



                     Gayle Hebert Chenier
                     802 Oak Lane
                     Thibodaux, LA 70301




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                     Gene A Garrison,Etux
                     213 Marcello Blvd
                     Thibodaux, LA 70301



                     Gene P Theriot
                     122 Overlook Drive
                     Brandon, MS 39042-2356



                     Genesis Acquisition Partners, LP
                     1601 Elm Street, Suite 3900
                     Dallas, TX 75201



                     Geoffrey S Cortes
                     329 West Esplanade Ave.
                     Metairie, LA 70005



                     George A & Joy Jacobs
                     392 David Dr
                     Thibodaux, LA 70301



                     George A Robichaux Sr et ux
                     P.O. Box 1718
                     Houma, LA 70361



                     George Adams
                     9912 Saracennia Road
                     Moss Point, MS 39452



                     George Adams
                     Jessica Mason
                     9921 Saracennia Rd.
                     Moss Point, MS 39452



                     George and Brenda Roberts
                     George P Roberts and Brenda B Roberts
                     1070 Hwy 1
                     Thibodaux, LA 70301




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                     George and Brenda Roberts
                     1070 HWY 1
                     Thibodaux, LA 70301



                     George and Brenda Roberts
                     George and Brenda Roberts
                     17463 Empress Drive
                     Greenwell Springs, LA 70739



                     George Dauzat
                     1215 Veterans Legion Dr
                     Amory, MS 38821



                     George Diedrich, III
                     109 East Oaklawn Dr
                     Thibodaux, LA 70301



                     George E & Jan M Cooke
                     308 College Ln
                     Thibodaux, LA 70301



                     George E Thibodeaux and Mary E Meyer Thi
                     7836 Rue Cache Ct.
                     Baton Rouge, LA 70808



                     George F Hull, III & Dana Ernst Hull
                     305 Fairfield Dr.
                     Thibodaux, LA 70301



                     George F Sacco, Debbie Delaune, Susan Ga
                     170 Constant Dr
                     Thibodaux, LA 70301



                     George G Martinez
                     1383 HWY 307
                     Thibodaux, LA 70301




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                     George H Diedrich, III
                     109 East Oaklawn Drive
                     Thibodaux, LA 70301



                     George T Robichaux
                     110 McAllen Drive
                     Houma, LA 70360



                     George Toups
                     1358 HWY 1
                     Thibodaux, LA 70301



                     Georgette Hebert Duet
                     103 Gwynn St
                     Thibodaux, LA 70301



                     Georgia D Elfert
                     312 Prince Lane
                     Thibodaux, LA 70301



                     Georgina Ann T. Clement
                     542 W. 8th ST
                     Thibodaux, LA 70301



                     Gerald D & Mona Baye
                     216 Ledet Dr
                     Thibodaux, LA 70301



                     Gerald J Martinez
                     3012 Clifford Drive
                     Metairie, LA 70002



                     Gerald L Peltier
                     8709 Bocage Place
                     River Ridge, LA 70123




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                     Gerald P & Donna Eaves Guillory
                     220 David Dr
                     Thibodaux, LA 70301



                     Geraldine Leblanc Pere
                     2495 Talbot Ave, #231
                     Thibodaux, LA 70301



                     Geraldine Ledet Naquin
                     111 Cedar Street
                     Thibodaux, LA 70301



                     Geralyn M. Dugas
                     500 Levert Drive
                     Thibodaux, LA 70301



                     Gerard Joseph Arcement
                     6112 York Street
                     Metairie, LA 70003



                     Gerard Leonard
                     276 Elizabeth St
                     Lockport, LA 70374



                     Gerard T & Dawn C Kraemer
                     209 Garden Drive
                     Thibodaux, LA 70301



                     Gerelyn Lytal Roth
                     141 S Southlawn Drive
                     Lafayette, LA 70503



                     Gerger Khalil & Hennessy LLP
                     1001 Fannin Street
                     Suite 2450
                     Houston, TX 77002




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                     Geri Gros Chiasson
                     116 Hackberry Street
                     Thibodaux, LA 70301



                     Gillis John Guidry JR
                     P O Box 1837
                     Natalbany, LA 70451



                     Gilmer H Ford and Maria A Baldizan Ford
                     1255 Highway 1
                     Thibodaux, LA 70301



                     Gina N Nezzio, previously Coggins
                     107 East Killarney Dr
                     Thibodaux, LA 70301



                     Glen L Gaubert
                     202 Davis Dr.
                     Thibodaux, LA 70301



                     Glenda Ledet Motes
                     125 River Canyon Road
                     Jackson, AL 36545



                     Glenn J Bergeron II
                     107 Spruce Street
                     Thibodaux, LA 70301



                     Glenn Ray George Trosclair & Kathy B
                     307 Horseshoe Rd
                     Schriever, LA 70395



                     Gloria A. Soileau
                     822 Dejean Street
                     Washington, LA 70589




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                     Glovinnia Andrea Stone
                     6103 Highland Hills Dr.
                     Austin, TX 78731



                     Glynn A Gaubert
                     117 Acadia Lane
                     Thibodaux, LA 70301



                     Grady Kevin & Kathy Schaffer Gaubert
                     330 Country Club Blvd
                     Thibodaux, LA 70301



                     Grady Kevin Gaubert
                     330 Country Club Blvd.
                     Thibodaux, LA 70301



                     Grand Isle Shipyard, LLC
                     18838 Hwy 3235
                     PO Box 820
                     Galliano, LA 70354



                     Graylin & Denise A Thomas
                     318 Kleinpeter Dr
                     Thibodaux, LA T15S-R17E



                     Greg J & Brenda G Diez
                     309 College Lane
                     Thibodaux, LA 70301



                     Greg M & Katina B Navarre
                     127 Madeline ST
                     Thibodaux, LA 70301



                     Gregory & Mary Doucet
                     814 Landreaneau Street
                     Washington, LA 70589




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                     Gregory A & Angel Portier
                     132 Madeline ST
                     Thibodaux, LA 70301



                     Gregory Doucet
                     Group C Isabela Doucet
                     302 Cedar Hill Street
                     Washington, LA 70589



                     Gregory G. Rodrigue
                     315 WISTERIA DR
                     Thibodaux, LA 70301



                     Gregory J Ayo
                     3278 HWY 1
                     Raceland, LA 70394



                     Gregory Lee Ellis
                     312 Hanson Drive
                     Houma, LA 70360



                     Gregory P Morris MD
                     847 Forty Arpent Rd
                     Raceland, LA 70394



                     Gregory P Robichaux, Etux
                     207 Marcello BLVD
                     Thibodaux, LA 70301



                     Gretchen & Tommy Grace
                     10022 Del Monte Dr
                     Houston, TX 77042



                     Guichard Operating Company, LLC
                     PO Box 2000
                     Crowley, LA 70527-2000




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                     Gulf Onshore Exploration, LLC
                     3540 Rue Michelle
                     New Orleans, LA 70131



                     Gulf-Pro Services
                     PO Box 228
                     Houma, LA 70361



                     Guy P Zeringue JR MD and Jane Graffagnin
                     735 HIghway 308
                     Thibodaux, LA 70301



                     Gwen Bilello McMillan
                     409 Lee Drive
                     Thibodaux, LA 70301



                     Gwen T Robinson
                     406 Brandywine Blvd
                     Thibodaux, LA 70301



                     Gwendolyn Lois Ellis
                     114 Palm Villa, Apt. 1
                     Thibodaux, LA 70301



                     H Stanton & Ann Blouin Jones Revocable T
                     Ann Blouin Jones
                     960 E Dryden Street
                     Glendale, CA 91207



                     H. Brown, Inc.
                     PO Box 427
                     Eunice, LA 70535



                     H. Stanton Jones and Ann B. Jones Revoca
                     H. Stanton and Ann Blouin Jones, Trustees
                     960 E Dryden Street
                     Glendale, CA 91207




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                     Haidee D. Floyed, et al
                     P.O. Box 130
                     Ville Platte, LA 70586



                     Halliburton Energy Services, Inc
                     PO Box 301341
                     Dallas, TX 75303-1341



                     Hamilton LLC
                     Nicholas Zeringue
                     P.O. Box 759
                     Thibodaux, LA 70302



                     Hanser Capital Holdings, LLC
                     2916 Thousand Oaks Street
                     Billings, MT 59102



                     Harold Adams
                     Melanie Granier
                     4237 HWY 307
                     Thibodaux, LA 70301



                     Harold J & Janice Lirette
                     236 David Dr
                     Thibodaux, LA 70301



                     Harold J Gros
                     28820 Danielle Ben Drive
                     Walker, LA 70785



                     Harold J Gros
                     506 Locust ST
                     Thibodaux, LA 70301



                     Harold J Gros
                     28820 Danielle Bend Drive
                     Walker, LA 70785




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                     Harold P & Debra L Chiasson
                     401 Ledet Dr
                     Thibodaux, LA 70301



                     Harold R Bicknell III
                     421 Drexel Dr
                     Shreveport, LA 71106



                     Harriet M Breaux
                     416 Brandywine Blvd
                     Thibodaux, LA 70301



                     Harvey A Peltier III
                     P.O. Box 1097
                     Thibodaux, LA 70301



                     Harvey A Peltier III
                     P.O. Box 1097
                     Thibodaux, LA 70302



                     Hazel Blouin Conkey
                     204 N Poinsettia Avenue
                     Manhattan Beach, CA 90266-6634



                     Hazel Blouin Conkey Family Trust
                     24666 Morningstar Lane
                     Dana Point, CA 92629



                     Heartland Compression Services
                     26894 S. Highway 50
                     Mooreland, OK 73852



                     Hebert "Bert" Ford, Jr. and Betty F. For
                     10339 Heather Lane
                     Panama City, FL 32409




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                     Hector Operating, Inc.
                     310 Hector Ave
                     Metairie, LA 70005



                     Heidi A. Marrinan
                     21075 Butte View Place
                     Colfax, CA 95713



                     Heidi Harrington
                     21075 Butte View Place
                     Colfax, CA 95713



                     Heirs of S Abraham LLC
                     1100 Paydras, Street Suite 1900
                     New Orleans, LA 70163



                     Helden Lasseigne, et al
                     315 Rue Grand Chene
                     Thibodaux, LA 70301



                     Helen B Breaux
                     134 Constant Blvd
                     Thibodaux, LA 70301



                     Helen M Davaine
                     1714 Highway 654
                     Gheens, LA 70355



                     Helen M. Davaine
                     1714 HWY 654
                     Gheens, LA 70355



                     Helen Sampey Champagne
                     151 Champagne Lane
                     Raceland, LA 70394




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                     Helen Win Houston Bourgeois
                     P.O. Box 5092
                     Thibodaux, LA 70302



                     Henry &Mary Zeringue Kothmann
                     1208 Andrews Ave
                     Metairie, LA 70005



                     Henry Etta Toups Fair
                     707 Briarwood Drive
                     New Iberia, LA 70560



                     Henry M & Jennifer N Peltier
                     128 Elder Street
                     Thibodaux, LA 70301



                     Henry M Peltier
                     128 Elder Street
                     Thibodaux, LA 70301



                     Henry M Peltier
                     128 Elder St
                     Thibodaux, LA 70301



                     Henry Matthews, Jr. & JoAnn Reado Matthe
                     107 East Oaklawn Drive
                     Thibodaux, LA 70301



                     Henry P Braud II
                     124 Constant Dr
                     Thibodaux, LA 70301



                     Hernan J. & Raetta Roger
                     1209 Cardinal Drive Apt. 201
                     Thibodaux, LA 70301




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                     Horace R. Olivier
                     1321 Beckenham Drive
                     Baton Rouge, LA 70808



                     Houston Primos & Betsy Primos
                     2929 Lakeside Drive, Suite 1425
                     Jackson, MS 39208



                     Houston Primos & Betsy Primos
                     2829 Lakeside Drive, Suite 1425
                     Jackson, MS 39208



                     Howard Gauthreaux
                     707 Levert Drive
                     Thibodaux, LA 70301-3822



                     Hudson Services, Inc.
                     798 Hwy 628
                     La Place, LA 70068



                     Hunter B Guidry
                     604 Bienville St
                     Baton Rouge, LA 70806



                     IHS Global Inc.
                     15 Inverness Way East
                     Englewood, CO 80112



                     Imogene E. Charles
                     5467 West Park Ave, Apt. 145
                     Houma, LA 70364



                     Innovex Downhole Solutions
                     4310 N. Sam Houston Parkway E
                     Houston, TX 77032




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                     Integrity Oilfield Services
                     PO Box 2116
                     Houma, LA 70361



                     Internal Revenue Service
                     P. O. Box 7346
                     Philadelphia, PA 19101-7346



                     Intracoastal Liquid Mud, Inc.
                     P. O. Box 51784
                     Lafayette, LA 70505



                     IOS PCI LLC
                     PO Box 397
                     Youngsville, LA 70592



                     Ironman Industrial LLC
                     PO Box 1833
                     Raceland, LA 70394



                     Isabel McCauley Doucet
                     302 Cedar Hill Street
                     Washington, LA 70589



                     J Ross Blouin Louisiana Minerals Trust
                     Doreen Lea Blouin, Trustee of the
                     3443 Esplanade Ave, Apt. 245
                     New Orleans, LA 70119



                     J Ross Blouin Louisiana Minerals Trust
                     Doreen Blouin
                     3443 Esplanade Ave, # 245
                     New Orleans, LA 70119



                     J. Paul Leslie and Omega Strahan Leslie
                     1302 Hwy 1
                     Thibodaux, LA 70301




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                     Jack E. Field
                     110 Garden Circle
                     Thibodaux, LA 70301



                     Jack E. Field Living Revokable Trust
                     110 Garden Circle
                     Thibodaux, LA 70301



                     Jack J Lagarde
                     668 Highway 308
                     Thibodaux, LA 70301



                     Jack J Lagarde
                     668 HWY 308
                     Thibodaux, LA 70301



                     Jackie Lee Huggins & Shirley Whitaker Hu
                     694 HIghway 308
                     Thibodaux, LA 70301



                     Jackquline Blanco
                     167 Constant Dr
                     Thibodaux, LA 70301



                     Jackquline M Blanco
                     167 Constant Drive
                     Thibodaux, LA 70301



                     Jacque P & Loretta Bergeron
                     501 Ledet Dr
                     Thibodaux, LA 70301



                     Jacque P Bergeron & Loretta Lombas
                     501 Ledet Dr
                     Thibodaux, LA 70301




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                     Jacqueline Kocke
                     101 Nichols Dr
                     Thibodaux, LA 70301



                     Jacques & Alissa Gaudet
                     731 HWY 308
                     Thibodaux, LA 70301



                     Jaguar Energy Services
                     19171 Hwy 90 West
                     Crowley, LA 70526



                     James & Jill Elizabeth Ballantyne
                     777 Teal Dr
                     Slidell, LA 70458



                     James A. Stergewald & Ruth Constant Ster
                     2443 East Winterbrook Drive
                     Hynlands Ranch, CO 80126



                     James C. Parrot
                     1000 Camelot Dr 6220
                     Harlington, Tx 78550



                     James D. Falgoust, II & Susan Gauthier F
                     1050 Canal Street
                     Thibodaux, LA 70301



                     James Durwood Falgoust
                     739 HWY 308
                     Thibodaux, LA 70301



                     James E & Annette Adams
                     306 Ledet Dr
                     Thibodaux, LA 70301




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                     James E Fannin & Kristie Fannin
                     228 David Dr
                     Thibodaux, LA 70301



                     James G Bilello
                     801 Oak Lane
                     Thibodaux, LA 70301



                     James H. Bourgeois, II Minor
                     P.O. Box 1139
                     Raceland, LA 70394



                     James J & Violet Chiasson
                     115 Constant Dr
                     Thibodaux, LA 70301



                     James J Bourgeois and Charlene S Bourgeo
                     4021 Hillcrest Dr
                     Marrero, LA 70072



                     James J. Macor
                     11 Carlson Court
                     Jackson, NJ 08527



                     James J. Robichaux, Jr.
                     P.O. Box 396
                     Raceland, LA 70394



                     James J. Rodrigue & Paulette Richard Rod
                     309 Edgewood Drive
                     Thibodaux, LA 70301



                     James John Danos
                     305 Brandywine Blvd.
                     Thibodaux, LA 70301




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                     James Leonard M.D.
                     104 West Plater Dr
                     Thibodaux, LA 70301



                     James Leonard M.D. and Joyce W Leonard
                     104 West Plater Dr
                     Thibodaux, LA 70301



                     James M Murphey & Kelly Rutledge
                     506 DAX's Place
                     Thibodaux, LA 70301



                     James Ong
                     3571 Foxwood Dr
                     Titusville, FL 32780



                     James R Moore
                     7328 False River Road
                     Oscar, LA 70762



                     James S Lirette
                     215 Ledet Drive
                     Thibodaux, LA 70301



                     James Swift
                     302 Levert Drive
                     Thibodaux, LA 70301



                     James Triggs, Jr.
                     242 Taylor James Way
                     Houma, LA 70364



                     James W Naquin Jr
                     620 Menard St
                     Thibodaux, LA 70301




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                     James W. Szush, Jr.,
                     645 Fairway DR
                     Thibodaux, LA 70301



                     Jamie Ayo Coco
                     8809 Bruin Drive
                     Metairie, LA 70003



                     Jamie Ayo Coco
                     Deceased; Waiting on Succession
                     8809 Bruin Drive
                     Metairie, LA 70003



                     Jamie P. & Catina Lowery
                     515 Brandywine Blvd.
                     Thibodaux, LA 70301



                     Jane David Clement
                     316 Talbot AVE
                     Thibodaux, LA 70301



                     Jane Gaubert Griffin
                     157 Heidi Lane
                     Thibodaux, LA 70301



                     Jane Harang Bicknell
                     421 Drexel Drive
                     Shreveport, LA 71106



                     Jane Harang Bicknell
                     421 Drexel Dr
                     Shreveport, LA 71106



                     Jane Marie Marine Rousse
                     812 West 21st Street
                     Houston, TX 77008




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                     Jane Martin Rousse
                     812 W 21st Street
                     Houston, TX 77008



                     Jane Molaison Adams
                     2104 Chatham Drive
                     Albany, GA 31721



                     Janet Anne Arcement Beeson
                     118 Camelot Drive
                     Slidell, LA 70460



                     Janet Foret Danos
                     P.O. Box 194
                     Raceland, LA 70394



                     Janet H Marcello Schwaner
                     755 N. Beau Chene Dr.
                     Mandeville, LA 70471



                     Janet H Marcello Schwaner
                     755 N Beau Chene Drive
                     Mandeville, LA 70471



                     Janet Hymel & Carroll Ponson
                     117 Constant Dr
                     Thibodaux, LA 70301



                     Janet Ledet Forest
                     1325 Field Ave.
                     Metairie, LA 70001



                     Janet Naquin Robichaux & Richard G
                     309 Cherokee Ave
                     Thibodaux, LA 70301




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                     Janey H Marcello Schwaner
                     755 N Beau Chene Drive
                     Mandeville, LA 70471



                     Janie Gaudet Cannon & Marty A. Cannon
                     112 Chemet Road
                     Youngsville, LA 70592



                     Janus Gaubert Mire
                     328 Kleinpeter Dr.
                     Thibodaux, LA 70301



                     Jared P Toups
                     1908 Savanne Road
                     Houma, LA 70360



                     Jared P Toups
                     1908 Savanne Rd
                     Houma, LA 70360



                     Jarrod J & Ashley Gregoire
                     353 David Dr
                     Thibodaux, LA 70301



                     Jarrod Triggs
                     306 California Street
                     Thibodaux, LA 70301



                     Jason A Harang
                     307 Bayou Lane
                     Thibodaux, LA 70301



                     Jason A Lagarde
                     644 Highway 308
                     Thibodaux, LA 70301




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                     Jason A Lagarde
                     644 HWY 308
                     Thibodaux, LA 70301



                     Jason A. Folse & Lori Zeringue Folse
                     205 Parkside Drive
                     Thibodaux, LA 70301



                     Jason Alfred Delatte
                     1119 Park Drive
                     Thibodaux, LA 70301



                     Jason J & Carly-Ann H LeBoeuf
                     290 Kleinpeter Dr
                     Thibodaux, LA 70301



                     Jason Keefover
                     404 Main Street
                     Franklin, LA 70538



                     Jason Landry
                     16480 Old Jefferson HWY
                     Prairieville, LA 70769



                     Jason P & Pamela B Aizen
                     122 Verdin Lane
                     Thibodaux, LA 70301



                     Jason P Thibodaux
                     102 S Dennis St
                     Thibodaux, LA 70301



                     Jason Paul Babin
                     4305 Lark Lane
                     Raceland, LA 70394




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                     Jay Anthony Guidry
                     211 East Oaklawn Drive
                     Thibodaux, LA 70301



                     Jean Anderson
                     304 Marcello Blvd
                     Thibodaux, LA 70301



                     Jean C O'Quin
                     107 California St
                     Thibodaux, LA 70301



                     Jean Duchow Solomon, widow of Martin Sol
                     1076 The Old Drive
                     Pebble Beach, CA 93953



                     Jean F Parro
                     15177 Jim Myers Road
                     Prairieville, LA 70769



                     Jean Morvant Boyer; divorced from Lyle B
                     101 Woods Road
                     Picayune, MS 39466



                     Jean Naquin Passman
                     402 Parkside Drive
                     Thibodaux, LA 70301



                     Jeanette Blanchard Arcement
                     1209 Cardnial Dr., Apt. 104
                     Thibodaux, LA 70301



                     Jeanne Evelyn Brignac Bucynski
                     DENNISE POA
                     1 Fritchman Drive
                     Jeanette, PA 15644




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                     Jeanne Harang Boughton
                     1325 Jefferson Ave
                     New Orleans, LA 70115



                     Jeanne L Roddy
                     1256 Highway 1
                     Thibodaux, LA 70301



                     Jeanne Ledet Roddy
                     1256 Highway 1
                     Thibodaux, LA 70301



                     Jeanne Lynn Roundtree Forrest & Bill
                     31 Fox Run Drive
                     Mount Laurel, NJ 08054



                     Jeanne Marie Sewell
                     304 Windsor East Drive
                     Thibodaux, LA 70301



                     Jeanne Peltier Chiasson
                     219 Rienzi Drive
                     Thibodaux, LA 70301



                     Jeanne Peltier Chiasson
                     219 Rienzi Dr
                     Thibodaux, LA 70301



                     Jeannine Pascale-Dunne
                     19 Wyeth Street
                     Selden, NY 11784



                     Jed Duplantis & LaMartine B. Duplantis
                     319 Country Club Drive
                     Thibodaux, LA 70301




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                     Jeffery G Gueno
                     312 N Boudreaux Ave.
                     Kaplan, LA 70548



                     Jeffery G. Ayo & Effie D. Ayo
                     102 Parkside Drive
                     Thibodaux, LA 70301



                     Jeffery J. Landry
                     5210 Courtyard Drive
                     Gonzales, LA 70737



                     Jeffery P and Donna Arceneaux Blanchard
                     103 Blanchard Ln
                     Thibodaux, LA 70302



                     Jeffery Winfree




                     Jeffrey G Gros
                     635 South Rife Street
                     Aransas Pass, TX 78336



                     Jeffrey J Landry
                     5210 Courtyard Dr
                     Gonzales, LA 70737



                     Jenell Dupre Robin
                     P.O. Box 177
                     Leonville, LA 70551



                     Jenna Hage Folse
                     309 Killarney Place
                     Thibodaux, LA 70301




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                     Jennifer Guillot
                     1482 Fairmont
                     Morgan City, LA 70380



                     Jennifer Hebert Benoit
                     1101 HWY 1
                     Thibodaux, LA 70301



                     Jennifer Hebert Gilbreath
                     4739 Shelter Court
                     Port Allen, LA 70767



                     Jennifer Mary Toups
                     729 Second Street, #1
                     New Orleans, LA 70130



                     Jered Daniel Oncale & Laurie Dickinson O
                     316 Marcello Blvd
                     Thibodaux, LA 70301



                     Jeremiah J Kee
                     420 Ledet Dr
                     Thibodaux, LA 70301



                     Jeremy J & Amanda Granier
                     106 Allemand Lane
                     Thibodaux, LA 70301



                     Jeremy P & Mikelle Arceneaux
                     137 David Dr
                     Thibodaux, LA 70301



                     Jeri-lyn Gaubert Vice
                     209 St. Anthony Street
                     Raceland, LA 70394




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                     Jerilyn A Hebert
                     1265 HWY 1
                     Thibodaux, LA 70301



                     Jermon Lofton
                     368 California Street
                     Thibodaux, LA 70301



                     Jerome K. Toloudis
                     306 East Windsor Drive
                     Thibodaux, LA 70301



                     Jerome L. Olivier
                     105 Parkside Dr.
                     Thibodaux, LA 70301



                     Jerome S Mckee
                     936 Laurel Valley Road
                     Thibodaux, LA 70301



                     Jerome S McKee
                     P.O. Box 702
                     Thibodaux, LA 70302



                     Jerome S. McKee
                     P.O. Box 702
                     Thibodaux, LA 70302



                     Jerry J & Judy Marie Mire
                     101 Creole Lane
                     Thibodaux, LA 70301



                     Jerry J & Mary C. Marcello
                     312 Hale Dr.
                     Thibodaux, LA 70301




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                     Jerry J Blouin
                     2511 Saint Charles Avenue, Apt. 400
                     New Orleans, LA 70130-5956



                     Jerry J Louviere
                     666 HWY 308
                     Thibodaux, LA 70301



                     Jerry J Marcello
                     312 Hale Drive
                     Thibodaux, LA 70301



                     Jerry J Theriot
                     1374 Stonehaven Ct.
                     Fairborn, OH 45324



                     Jerry J. Blouin
                     2511 St. Charles Ave., Unit 400
                     New Orleans, LA 70130



                     Jerry W Pool & Mary Jo Pool
                     110 E. Windsor Drive
                     Thibodaux, LA 70301



                     Jesse P Lagarde
                     P.O. Box 326
                     Amite, LA 70422



                     Jewel Specialty and Supply Co In
                     507 Tideland
                     Broussard, LA 70518



                     Jill F Lagarde
                     1238 Highway 308
                     Thibodaux, LA 70301




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                     Jill F Lagarde
                     1238 HWY 308
                     Thibodaux, LA 70301



                     Jimmie Toloudis, Jr.
                     223 Marcello Blvd
                     Thibodaux, LA 70301



                     Jimmie Toloudis, Jr. and Marga Hoffman T
                     223 Marcello Blvd
                     Thibodaux, LA 70301



                     Jimmie Welch Robinson and Lisa Ellen Bri
                     312 Parkside Drive
                     Thibodaux, LA 70301



                     Jo Ann Brown
                     255 Ayo Street
                     Raceland, LA 70394



                     Joan Marita Ayo Brinton
                     541 Pine Street
                     Edmonda, WA 98020



                     Joan Molaison Couch
                     113 Country Club Drive
                     Newark, DE 19711



                     Joan Sheilds Graham
                     511 Edgewood Drive
                     Thibodaux, LA 70301



                     Joann Evans
                     223 Ledet Dr
                     Thibodaux, LA 70301




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                     Joanna Christl Vasquez
                     2001 Salmon Valley Lane
                     El Dorado Hills, CA 95762



                     Jody Arceneaux Flippin
                     128 Coconut Grove Cir
                     Lafayette, LA 70508



                     Jody J Zeringue
                     219 Maxine Blvd
                     Gray, LA 70359



                     Jody M Plaisance
                     114 West Plater Dr
                     Thibodaux, LA 70301



                     Joe K. Peerson
                     407 Parkside Drive
                     Thibodaux, LA 70301



                     Joe L & Mary M Doughty
                     311 Fairfield Dr
                     Thibodaux, LA 70301



                     Joe W Rice Jr.
                     9081 Bantry Bay Blvd.
                     Englewood, FL 34224



                     Joe's Environmental Contractor's
                     PO Box 336
                     Cut Off, LA 70345



                     Joel Gaubert Matherne
                     3440 Highway 1
                     Raceland, LA 70394




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                     Joel Gaubert Matherne
                     3440 HWY 1
                     Raceland, LA 70394



                     Joel P Authement & Dale L Authement
                     909 Broadmoore Blvd
                     Lafayette, LA 70503



                     Joey Adam Acosta
                     1055 HWY 1
                     Thibodaux, LA 70301



                     Joey Joseph Foret
                     2126 Barto Leggett Road
                     McComb, MS 39648



                     John & Kimberly Parfait
                     502 Brandywine Blvd
                     Thibodaux, LA 70301



                     John B. & Doris M. Ortego
                     462 Pointe Verte
                     Washington, LA 70589



                     John B. Pratt & Adair F. Fox
                     105 Oaklawn Drive
                     Thibodaux, LA 70301



                     John Benjamin Blouin
                     784 Crystal St
                     New Orleans, LA 70124



                     John Benjamin Blouin
                     857 Germain Street
                     New Orleans, LA 70124




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                     John Benjamin Blouin
                     784 Crystal Street
                     New Orleans, LA 70124



                     John C & Carol P McCollum
                     POA Carol P McCollum and Julie M Fontenot
                     103 Garden Dr.
                     Thibodaux, LA 70301



                     John C Neill
                     2266 Lake Circle Drive
                     Jackson, MS 39211



                     John C Pittman, Jr.
                     8249 W 54th Ave.
                     Arvado, CO 80002



                     John C Pittman, Jr.
                     8249 W 54th Street
                     Arvado, CO 80002



                     John C Smith
                     218 Ledet Dr
                     Thibodaux, LA 70301



                     John C Tardo
                     1234 Highway 1
                     Thibodaux, LA 70301



                     John Carol Tardo
                     1234 Highway 1
                     Thibodaux, LA 70301



                     John Christl
                     3202 Legendario
                     San Clemente, CA 92673




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                     John E. Macor
                     55 Commanders Drive
                     Washington Crossing, PA 18977



                     John Edward Peltier
                     460 HWY 308
                     Thibodaux, LA 70301



                     John Howard
                     13943 Stringfellow Lane
                     Lavon, TX 75166



                     John J Chiasson
                     1604 HWY 1
                     Thibodaux, LA 70301



                     John J Lagarde
                     1238 Highway 308
                     Thibodaux, LA 70301



                     John J Lagarde
                     1238 HWY 308
                     Thibodaux, LA 70301



                     John J Tabor
                     608 Jackson Street
                     Thibodaux, LA 70301



                     John L & Barbara A Lanier
                     405 Country Club BLVD
                     Thibodaux, LA 70302



                     John L & Clare R Lagarde
                     415 Brandywine Blvd
                     Thibodaux, LA 70301




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                     John L & Kim B Daigle
                     606 Fairway Dr
                     Thibodaux, LA 70301



                     John M. Dupont
                     P.O. Box 1081
                     Thibodaux, LA 70302



                     John Orizotti
                     928 Bandmann Trail
                     Missoula, MT 59802



                     John P Babin and D'Nisha S Babin
                     1085 HWY 1
                     Thibodaux, LA 70301



                     John Patrick Arcement & Hannah Hoffman A
                     115 East Killarney Drive
                     Thibodaux, LA 70301



                     John R Chadwick
                     112 Nicholls Dr
                     Thibodaux, LA 70301



                     John R Pascale
                     363 Pin Oak Lane
                     Westbury, NY 11590



                     John Robinson
                     3230 Dodson Dr Connector Apt. 5
                     East Point, GA 30344



                     John S Terracina
                     Christopher J Terracina POA for
                     224 Rue Colette
                     Thibodaux, LA 70301




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                     John Snyder
                     500 Canyon Creek Drive
                     Richardson, TX 75080



                     John T Moore JR
                     4548 Cedarbrush Dr
                     Dallas, TX 75229-2903



                     John T. Borgeois
                     513 Highway 308
                     Thibodaux, LA 70301



                     Johnathan J & Sherry Ledet
                     147 David Dr
                     Thibodaux, LA 70301



                     Johnny Benoit and Jennifer H Benoit
                     1101 HWY 1
                     Thibodaux, LA 70301



                     Johnny P. & Carole Gonzalez
                     508 Brandywine Blvd.
                     Thibodaux, LA 70301



                     Jolisa Gilchrist
                     100 E WIndsor Dr
                     Thibodaux, LA 70301



                     Jolly Blanchard Thibodeaux
                     109 Blanchard Ln.
                     Thibodaux, LA 70301



                     Jolly Blanchard Thibodeaux
                     109 Blanchard Ln
                     Thibodaux, LA 70301




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                     Jon Leonard
                     219 Carr Dr
                     Slidell, LA 70458



                     Jon S. Folse & Laurie M
                     940 Village Walk
                     Covington, LA 70433



                     Jona T & Rachael H Husbands
                     105 Windsor East Dr
                     Thibodaux, LA 70302



                     Jonathan C Bridier
                     2610 Hwy #1
                     Raceland, LA 70394



                     Jonathan E & Taryn P Terrell
                     291 Kleinpeter DR
                     Thibodaux, LA 70301



                     Jose T & Sabina G Robles
                     147 Constant Dr
                     Thibodaux, LA 70301



                     Joseph A Maureaux
                     311 Sugar Ridge Drive
                     Houma, LA 70360



                     Joseph and Mary Louise Leblanc Champagne
                     146 Champagne Lane
                     Raceland, LA 70394



                     Joseph B Doucet
                     Group C Isabela Doucet
                     302 Cedar Hill Street
                     Washington, LA 70589




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                     Joseph B Dupre & Sheila Andras Dupre
                     117 TJV Lane
                     Thibodaux, LA 70301



                     Joseph B. Pecot, Jr.
                     320 Lucia Ln
                     Mandeville, LA 70448



                     Joseph Borne Jr et ux
                     204 Ormonde Dr
                     Thibodaux, LA 70301



                     Joseph Champagne and Mary Louise Leblanc
                     146 Champagne Lane
                     Raceland, LA 70394



                     Joseph Dugas
                     8138 Lawton Street
                     Pensacola, FL 32514



                     Joseph E Blouin, Jr.
                     4508 W Rosemere Road
                     Tampa, FL 33609-4210



                     Joseph E. Blouin, Jr.
                     4508 W Rosemere Rd.
                     Tampa, FL 33609-4210



                     Joseph E. Fertitta
                     202 Parkside Drive
                     Thibodaux, LA 70301



                     Joseph G Scheib III
                     3658 Bell Mountain Dr
                     Castle Rock, CO 80104




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                     Joseph G. Fakier
                     307 Parkside Drive
                     Thibodaux, LA 70301



                     Joseph Gerard Claudet & Susan McIntyre C
                     502 Levert Drive
                     Thibodaux, LA 70301



                     Joseph Jackson
                     1713 Hartin Drive
                     Cedar Hill, TX 75104



                     Joseph L. Powell, III
                     812 Rhode Island Street
                     San Francisco, CA 94107



                     Joseph Maureaux
                     311 Sugar Ridge
                     Houma, LA 70360



                     Joseph Powell III
                     812 Rhodes Island St
                     San Francisco, CA 94107



                     Joseph S Morello II
                     15 Wickfield
                     Covington, LA 70433



                     Joseph S Morello, II
                     15 Wickfield Drive
                     Covington, LA 70433



                     Joseph V Fairchild JR
                     412 Plater Dr
                     Thibodaux, LA 70301




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                     Josephine Every
                     208 Rue Grand Chene
                     Thibodaux, LA 70301



                     Josh R & Rebecca Bourgeois
                     129 Mockingbird Lane
                     Thibodaux, LA 70301



                     Joshua Constant
                     103 Hawthorne
                     Welsh, LA 70591



                     Josie Gaubert Champagne
                     211 Super Charger Dr
                     Thibodaux, LA 70301



                     Josie Gaubert Champagne
                     211 Supercharge Dr
                     Thibodaux, LA 70301



                     Joy Marie Arcement Black
                     11374 Wellington Lane
                     Hammond, LA 70403



                     Joy Portier Oubre
                     101 Gardenia Court
                     Luling, LA 70070



                     Joyce C. Fazio
                     503 Edgewood Drive
                     Thibodaux, LA 70301



                     Joyce H Morgan
                     8509 W. Knight Griffin Rd
                     Plant City, FL 33565




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                     JRP Family LLC
                     567 HWY 308
                     Thibodaux, LA 70301



                     JRP Family, LLC
                     567 HWY 308
                     Thibodaux, LA 70301



                     Juanita L Thibodeaux
                     162 Constant Dr
                     Thibodaux, LA 70301



                     Juanita Mae Nesbit Metz
                     6648 Sheffield Ave.
                     Baton Rouge, LA 70806



                     Jude A Hebert and Kellie S Hebert
                     430 Country Club Blvd
                     Thibodaux, LA 70301



                     Jude J Guidry
                     208 East Bayou Rd
                     Thibodaux, LA 70301



                     Judy David Carrier
                     357 West Park Avenue
                     Thibodaux, LA 70301



                     Judy Foret Daly
                     10 Stones Throw
                     Baton Rouge, LA 70809



                     Judy Leblanc Mire
                     1757 Oakley Street
                     Thibodaux, LA 70301




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                     Judy Pittman Gaudin
                     122 Virginia Crest Way
                     Durham, NC 27703



                     Judy Pittman Tricome
                     122 Virginia Crest Way
                     Durham, NC 27703



                     Jules J Vicknair
                     P.O. Box 854
                     Thibodaux, LA 70301



                     Julia H. Brooks, Minor
                     1003 Denali Dr
                     Allen, TX 75013



                     Julian Whittmore Fisher, III
                     2856 Grand Prairie Highway
                     Washington, LA 70589



                     Julie A Scheib
                     730 Patin Road
                     Carencro, LA 70520



                     Julie Berger Toups
                     181 Danos Street
                     Larose, LA 70373



                     Julie King Deville
                     1608 21st Street
                     Lake Charles, LA 70601



                     Julie Toups Adolph
                     382 Enola Road
                     Napoleonville, LA 70390




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                     Julius Barrios
                     304 Supercharge Dr
                     Thibodaux, LA 70301



                     Julius P Barrios
                     304 Supercharge DR
                     Thibodaux, LA 70301



                     June Constant Owens
                     645 Highway 308
                     Thibodaux, LA 70301



                     June Maureaux Hay
                     115 Mill Quarter Dr.
                     Houma, LA 70360



                     June Maureaux Hay
                     115 Mill Quarters Dr
                     Houma, LA 70360



                     June Maureaux Hay
                     115 Mill Quarters Drive
                     Houma, LA 70360



                     Justin Landry
                     40388 Albert Ave
                     Prairieville, LA 70769



                     Justin White
                     212 Olivia
                     Livingston, TX 77351



                     Justiss Oil Company
                     P. O. Box 2990
                     Jena, LA 71342




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                     Karen A Naquin aka Karen Tabor
                     302 Edgewood Dr
                     Thibodaux, LA 70301



                     Karen B. Rivere
                     102 Lisa Court
                     Thibodaux, LA 70301



                     Karen Bourg Orgeron
                     414 Ledet Dr
                     Thibodaux, LA 70301



                     Karen Champagne Frickey
                     188 Champagne Lane
                     Raceland, LA 70394



                     Karen Robichaux Gunn
                     2748 Highway 308
                     Raceland, LA 70394



                     Karl Howard Smith
                     302 Madewood Dr
                     Destrehan, LA 70047



                     Karl J. Aucoin
                     136 Gretta Street
                     Eunice, LA 70535



                     Katherine B Moore
                     6036 Coliseum ST
                     New Orleans, LA 70118



                     Katherine Champagne Kaberlein
                     61252 Vining Road
                     Amite, LA 70422




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                     Katherine Champagne Kaberlein
                     61252 Vining Rd
                     Amite, LA 70422



                     Katherine E Harang
                     515 Blake Court
                     Thibodaux, LA 70301



                     Katherine Kraemer Peyret
                     311 Price Road
                     Thibodaux, LA 70301



                     Katherine Marie Foret
                     416 Buck Run Road
                     Murrells Inlet, SC 29576



                     Katherine Peltier Joffrion
                     770 Tullier Street
                     Brusly, LA 70719



                     Katherine Peltier Joffrion
                     770 Tullier St
                     Brusly, LA 70719



                     Katherine Smith Dickerson
                     302 Madewood Dr
                     Destrehan, LA 70047



                     Kathleen A Macor
                     P.O. Box 2087
                     East Millstone, NJ 08875-2087



                     Kathleen Breaux
                     616 Weigand Drive
                     Bridge City, LA 70094




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                     Kathleen Foret Mire
                     208 Winder Road East
                     Thibodaux, LA 70301



                     Kathleen R. Babin
                     117 Oaklawn Drive
                     Thibodaux, LA 70301



                     Kathryn Anderson
                     4146 Dorset Drive
                     Cypress, CA 90630



                     Kathryn Bonin Lalonde, formerly Hebert
                     235 Lyons Street
                     Lafayette, LA 70506-5222



                     Kathryn Pettit Bumstead Gatewood
                     41 Treetop Lane
                     Banner Elk, NC 28604-7382



                     Kathy A Charlet
                     1386 Waxwing Place
                     Louisville, KY 40223



                     Kathy Fields
                     310 Half Oak
                     Thibodaux, LA 70301



                     Kathya M Castro
                     385 David Dr
                     Thibodaux, LA 70301



                     Katie B Burton
                     30761 East River Road
                     Perrysburg, OH 43551




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                     Katrina Ellis
                     2508 W Camelia Drive
                     Thibodaux, LA 70301



                     Kay Maureaux Wade
                     5821 Hidden Ridge LN
                     Baton Rouge, LA 70816



                     Kay Maureaux Wade
                     5821 Hidden Ridge Lane
                     Baton Rouge, LA 70816



                     Kayla L Gros
                     318 Ledet Dr
                     Thibodaux, LA 70301



                     Keith A & Annette T Boudreaux
                     107 East Garden Dr
                     Thibodaux, LA 70301



                     Keith Curtis
                     720 South Pacific Street
                     Dillon, MT 59725



                     Keith Gerard Boudreaux
                     14 Fairfax
                     Marrero, LA 70072



                     Keith J Toups
                     503 Edgewood Drive
                     Thibodaux, LA 70301



                     Keith J. Zeringue
                     117 Back Project Road
                     Schriever, LA 70395




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                     Keith P & Jennifer J Barthelemy
                     423 Brandywine Blvd
                     Thibodaux, LA 70301



                     Keith T & Claire R Himmel
                     102 East Killarney Dr
                     Thibodaux, LA 70301



                     Kellie Renee Dupre Daugerreaux
                     548 Pointe Verde Rd.
                     Washington, LA 70589



                     Kelly B Dunk
                     10426 William School Road
                     Needville, TX 77461



                     Kelly B Dunk
                     10426 Williams School RD
                     Needville, TX 77461



                     Kelly Henry
                     513 DAX's Place
                     Thibodaux, LA 70301



                     Kelly M Falgout
                     3567 Highway 308
                     Raceland, LA 70394



                     Ken Allen Trosclair & Susan Kearns Trosc
                     412 Hale Dr
                     Thibodaux, LA 70301



                     Kenneth Bruce Grumpert & Carol Roberts G
                     102 Garden Circle
                     Thibodaux, LA 70301




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                     Kenneth J & Jeanne Leblanc
                     106 Plater Court
                     Thibodaux, LA 70301



                     Kenneth J. Cruse & Maria Birdsall Cruse




                     Kenneth Joseph Gaubert
                     710 Canal Street
                     Lockport, LA 70374



                     Kenneth W & Karen Ray
                     377 David Dr
                     Thibodaux, LA 70301



                     Kent P Lirette & Loretta Rousseau Lirett
                     104 E Windsor Drive
                     Thibodaux, LA 70301



                     Kent Theriot
                     542 Place St. Laurent
                     Covington, LA 70433



                     Kermit Charles Benoit
                     1509 HWY 1
                     Thibodaux, LA 70301



                     Kerry Leon Alley
                     311 Parkside Drive
                     Thibodaux, LA 70301



                     Kerry P Gros
                     503 Schlief Drive
                     Belle Chasse, LA 70037




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                     Kevin & Faith Moody d/b/a KEFA Energy
                     dba KEFA Energy
                     206 Wood Bluff Road
                     Lafayette, LA 70503



                     Kevin Breaux
                     130 Red Gros Lane
                     Paradise, LA 70094



                     Kevin Christl
                     2605 Bonanza Street
                     Rocklin, CA 95677



                     Kevin McDonald
                     181 Fleming Ln
                     Rockport, TX 78382



                     Kevin Moody & Faith Moody
                     dba KEFA Energy
                     206 Wood Bluff Road
                     Lafayette, LA 70503



                     Kevin Moody & Faith Moody
                     206 Wood Bluff Road
                     Lafayette, LA 70503



                     Kevin P Authement
                     418 Brandywine Blvd
                     Thibodaux, LA 70301



                     Kevin Paul Ellis
                     209 Ashland Drive
                     Thibodaux, LA 70301



                     Kevin Paul Toups
                     300 East Oaklawn Drive
                     Thibodaux, LA 70301




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                     Keystone Chemical, LLC
                     1019 Albertson Parkway
                     Broussard, LA 70518



                     Kim Asprion Beetz
                     311 Kilarney Place
                     Thibodaux, LA 70301



                     Kim Bernard Suggs
                     321 Lafourche Street
                     Lockport, LA 70374



                     Kimberly Mae Gaubert
                     2846 HWY 1
                     Raceland, LA 70394



                     Kirby P. Loupe & Fay D. Loupe
                     307 Edgewood Drive
                     Thibodaux, LA 70301



                     Kirk J Sirois and Connie B Sirois
                     305 Killarney Dr
                     Thibodaux, LA 70301



                     Kitty M Matherne
                     111 TJV Lane
                     Thibodaux, LA 70301



                     Kitty McDonald Matherne
                     111 TJV Lane
                     Thibodaux, LA 70301



                     Knight Oil Tools
                     P. O. Box 52688
                     Lafayette, LA 70505-2688




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                     Kristian Michael Tardo
                     1228 Hwy 1
                     Thibodaux, LA 70301



                     Kristy L Bourgeois
                     502 Ledet Dr
                     Thibodaux, LA 70301



                     Kyle A Clement & Erica C Clement
                     3622 East Grandlake Blvd
                     Kenner, LA 70065



                     Kyle Joseph Trosclair
                     198 Autumn Ridge Rd
                     Thibodaux, LA 70301



                     Kyle K. Stine, Jr.
                     304 Levert Drive
                     Thibodaux, LA 70301



                     LA Dept. of Revenue
                     PO Box 4969
                     Baton Rouge, LA 70821



                     La. Dept. of Env. Quality
                     602 North Fifth Street
                     Baton Rouge, LA 70802



                     La. Environmental Concepts, LLC
                     1206 Lemaire Street
                     New Iberia, LA 70560



                     LA111 LC
                     305 W. Mercury Street
                     Suite 408
                     Butte, MT 59701




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                     Lafourche Crossing/ LA 308 Volunteer Fir
                     PO BOX 1204
                     Thibodaux, LA 70302



                     LaFourche Notary and Title Servi
                     700 A St. Mary Street
                     Thibodaux, LA 70301



                     LaFourche Parish Clerk of Court
                     PO Box 818
                     Thibodaux, LA 70302



                     Lafourche Parish Government
                     State of Louisiana: State Mineral and Energy Board
                     402 Green Street
                     Thibodaux, LA 70301



                     Lafourche Parish Sheriff
                     PO Box 5608
                     Thibodaux, LA 70302



                     LaFourche Parish Sheriff's Offic
                     PO Box 5608
                     Thibodaux, LA 70302



                     LaJaunie's
                     PO Box 5606
                     Thibodaux, LA 70302



                     Lamoco, Inc
                     P.O. Box 5098
                     Brandon, MS 39047



                     Lance & Alycee Naquin
                     411 St. John Dr.
                     Thibodaux, LA 70301




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                     Lance Duet
                     501 Brandywine Blvd.
                     Thibodaux, LA 70301



                     Lance J Poimboeuf and Judy Poimboeuf
                     309 Fairfield Dr
                     Thibodaux, LA 70301



                     Lance J. & Tracie Ford
                     115 Edgewood Drive
                     Thibodaux, LA 70301



                     Lance P Lasseigne
                     1576 Choctaw Road
                     Thibodaux, LA 70301



                     Land Dept. Boudreaux Properties
                     104 Green Street
                     Thibodaux, LA 70301



                     Land Dept. Energy Exploration S1
                     6775 US Hwy 59 N
                     Livingston, TX 77351



                     Land Dept. Energy Exploration Se
                     6775 US Hwy 59 N
                     Livingston, TX 77351



                     Land Dept. Jody M. Snyder
                     500 Canyon Creek Drive
                     Richardson, TX 75080



                     Land Dept. Justin White
                     212 Olivia
                     Livingston, TX 77351




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                     Land Dept. Nola Min. Servcs. Inc
                     2331 Jefferson Avenue
                     New Orleans, LA 70115



                     Land Dept. Nola Mineral Services
                     2331 Jefferson Avenue
                     New Orleans, LA 70115



                     Land Dept. Rene J. Bergeron
                     236 Riverwood Drive
                     Houma, LA 70360



                     Land Dept. Sylvia P. Cook
                     707 CR 3057
                     Crockett, TX 75835



                     Land Dept. Victoria St. Pe
                     PO Box 740
                     Marquez, TX 77865



                     Larry A & Valarie Guidroz
                     111 East Garden Dr
                     Thibodaux, LA 70301



                     Larry Hebert
                     86 Mission Ridge Dr. SW
                     Cartersville, GA 30120



                     Larry J Roger and Mary C Roger
                     1253 Highway 1
                     Thibodaux, LA 70301



                     Larry J. Boudreaux
                     206 Parkside Drive
                     Thibodaux, LA 70301




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                     Larry J. Toups
                     Patsy Toups
                     207 Dwight Drive
                     Thibodaux, LA 70301



                     Larry J. Verdun
                     1001-B E, 7th Street
                     Thibodaux, LA 70301



                     Larry J. Verdun
                     808 country Club Blvd
                     Thibodaux, LA 70301



                     Larry James Fontenot
                     2043 Faubourg
                     Ville Platte, LA 70586



                     Larry Leblanc
                     The Newport, 1610 N Prospect Ace, Unit 301
                     Milwaukee, WI 53202



                     Larry P Boudreaux and Linda L Blanchard
                     300 Parkside Drive
                     Thibodaux, LA 70301



                     Larry P Theriot
                     116 No Way Lane
                     Raceland, LA 70394



                     Larry S. Martin, et ux
                     117 Marcello Blvd
                     Thibodaux, LA 70301



                     Laura A Bourgeois Daigle
                     300 Ledet Dr
                     Thibodaux, LA 70301




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                     Laura Braud Prejean
                     1312 Park Avenue
                     Thibodaux, LA 70301



                     Laura Lagarde Blanco Davis Pitre
                     147 David Dr
                     Thibodaux, LA 70301



                     Laura M. Theriot
                     1275 Highway 1
                     Thibodaux, LA 70301



                     Laura Marie F Fontenot
                     3669 Faubourg Road
                     Washington, LA 70589



                     Laura Terracina
                     747 Tetreau Street #3
                     Thibodaux, LA 70301



                     Laura Terracina
                     506-B PARKSIDE DR.
                     Thibodaux, LA 70301



                     Laura Terracina
                     506 Parkside Drive
                     Thibodaux, LA 70301



                     Laurel Valley Oil & Gas
                     936 Laurel Valley Road
                     Thibodaux, LA 70301



                     Laurel Valley Plantation LLC et al
                     P.O. Box 702
                     Thibodaux, LA 70302




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                     Lauren E. Bourgeois
                     815 Jefferson Street
                     Thibodaux, LA 70301



                     Lauren Smith Sensebee
                     20 East Woodlawn Dr
                     Destrehan, LA 70047



                     Laurie Gros Pierre
                     530 Mitchell Road
                     Raceland, LA 70394



                     Lawrence C Levert, III
                     6142 A Resweber HWY
                     St. Martinville, LA 70582



                     Lawrence Leo Martinez
                     1378 HWY 307
                     Thibodaux, LA 70301



                     Lawrence Levert III
                     6142 A Resweber HWY
                     St. Martinville, LA 70582



                     Lawrence P. Bourgeois & Rhoda S. Bourgeo
                     219 Marcello Blvd.
                     Thibodaux, LA 70301



                     Lawrence Triggs
                     314 California Street
                     Thibodaux, LA 70301



                     Lease Bank 1 - DCG LLC
                     2812 First Avenue North
                     Suite 510
                     Billings, MT 59101




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                     Lease Bank 1- Dan Rovig
                     4273 Bitteroot Road
                     Reno, NV 89519



                     Ledaine Summers, Jr.
                     P.O. Box 202
                     Paulina, LA 70763



                     Lee T Molaison
                     132 Keyes Circle
                     Murrells Inlet, SC 29576



                     Lee Thomas Molaison
                     132 Keyes Circle
                     Murrells Inlet, SC 29576



                     Lee W Harang
                     6302 Pelican Crossing
                     Gonzales, LA 70737



                     Leeza Arango Rodriguez
                     303 Tunbridge Rd
                     Baltimore, Maryland 21212-0000



                     Lela Naughton
                     1402 Richmond Ct.
                     South Lake, TX 76092



                     Leo J David
                     110 Clifton St
                     Thibodaux, LA 70301



                     Leo J. Roundtree & Meryl Oliver Roundtre
                     552 W. Katelyn Lane
                     Spokane, WA 99224




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                     Leo P & Stacy B Hebert
                     635 Fairway Drive
                     Thibodaux, LA 70301



                     Leo P Bonin, II
                     131 State Street
                     Lake Charles, LA 70605



                     Leo T III & Mary B Lindner
                     108 East Garden Dr
                     Thibodaux, LA 70301



                     Leola Campbell
                     146 California Street
                     Thibodaux, LA 70301



                     Leon H Toups Jr
                     1670 molitor st
                     mandeville, LA 70448-2418



                     Leonard G & Debra B Folse
                     600 Ledet Dr
                     Thibodaux, LA 70301



                     Leonard L Falgout, III
                     P.O. Box 1239
                     Raceland, LA 70394



                     Leonard P Clement
                     203 Fairfield Dr.
                     Thibodaux, LA 70301



                     Leroy A Foret
                     3001 HWY 308
                     Raceland, LA 70394-3540




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                     Leroy Jessie Ellis
                     450 HWY 311
                     Schriever, LA 70395



                     Leslie C Higgins
                     7703 Burthe St
                     New Orleans, LA 70118



                     Leslie C. HIggins
                     7703 Burthe Street
                     New Orleans, LA 70118



                     Lester P Fournier
                     5405 West Park Avenue
                     Houma, LA 70360



                     Levis J. Pellegrin, Jr
                     129 Saxony Drive
                     Houma, LA 70364



                     Libby & Blouin Ltd
                     Harry Holladay
                     2300 Energy Centre 1100 Poydras Street
                     New Orleans, LA 70163



                     Libby & Blouin, Ltd.
                     2300 Energy Center 1100 Poydras Street
                     New Orleans, LA 70163



                     Linda B David
                     305 Ledet Dr
                     Thibodaux, LA 70301



                     Linda Falgout Stevens
                     3368 HWY 1
                     Raceland, LA 70394




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                     Linda Gail F. Deville
                     3726 Faugourg Road
                     Washington, LA 70589



                     Linda Hampton Young
                     P.O. Box 760
                     Raceland, LA 70394



                     Linda Hebert Toups
                     104 Plantation Ridge Drive
                     Thibodaux, LA 70301



                     Linda Higgins Guider
                     6040 Chestnut Street
                     New Orleans, LA 70118



                     Linda K Nunn Gros
                     124 Pierce Plantation
                     Thibodaux, LA 70301



                     Linda Liner St Martin
                     175 Oakdale Loop
                     Houma, LA 70360



                     Linda N. Couvillion McGrath & Vincent R
                     1205 Southgate
                     Starkville, MS 39759



                     Linda Navarre Chiasson
                     25288 HWY 450
                     Franklinton, LA 70438



                     Linda Ordoyne Landry
                     439 St Charles By-Pass Road
                     Thibodaux, LA 70301




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                     Linda R Barbera
                     1920 Bayou Rd
                     Thibodaux, LA 70301



                     Linda T Oncale
                     224 Rue Collette
                     Thibodaux, LA 70301



                     Linda Tardo Landry
                     2714 Independence St., Apt A
                     Metairie, LA 70006



                     Lindy J Guillot
                     216 Baker Street
                     Broussard, LA 70528



                     Linwood J JR & Denise Babin
                     311 Ledet Dr
                     Thibodaux, LA 70301



                     Lionel Every SR & Maude Carter
                     212 Ledet Dr
                     Thibodaux, LA 70301



                     Lionel Every, Jr.
                     607 Westview Drive
                     Houma, LA 70364



                     Lionel J Arcement, Jr.
                     718 Barataria Street
                     Lockport, LA 70374



                     Lisa A. Robichaux
                     120 Blouin Street
                     Raceland, LA 70394




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                     Lisa B Hotard
                     129 Wagner DR
                     River Ridge, LA 70123



                     Lisa Hebert Silverii
                     1206 Lee Drive
                     Thibodaux, LA 70301



                     Lloyd & Margaret G Teeter
                     307 Price Ln.
                     Thibodaux, LA 70301



                     Lloyd C Sposito JR
                     123 Catalina Circle
                     Portland, TX 78374



                     Lloyd Hampton
                     506 Locust Street
                     Thibodaux, LA 70301



                     Logan Zeno LeBlanc
                     508 Levert Drive
                     Thibodaux, LA 70301



                     Lonnie John Fontenot
                     1498 Chauncey Pitre Rd
                     Ville Platte, LA 70586



                     Lonnie L Lagarde
                     334 JENNIFER ST
                     GRAY, LA 70359



                     Lonnie P Arceneaux and Lori S Arceneaux
                     1 Winn Circle
                     Thibodaux, LA 70301




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 201 of 302
                     Lorna Leonard Ammond
                     104 Johanna Court
                     Slidell, LA 70458



                     Lorraine F Loup
                     2005 Elissadle St.
                     Baton Rouge, LA 70808



                     Lorraine Folse et al
                     19 Austin Drive
                     Houma, LA 70360



                     Lorraine L Folse
                     19 Austin Drive
                     Houma, LA 70360



                     Lorraine Wise
                     Individually & as independent executrix of the suc
                     103 Abbey Road
                     Thibodaux, LA 70301



                     Louella Foret Matherne
                     167 Sam's Lane
                     Raceland, LA 70394



                     Louella Knobloch Richard
                     2803 HWY 308
                     Raceland, LA 70394



                     Louis C Adams III
                     Shirley Adams, spouse of Louis Adams, III
                     708 Tiger Dr
                     Thibodaux, LA 70301



                     Louis Elliott Boudreaux
                     316 Windsor Dr
                     Thibodaux, La 70301




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                     Louis J Smith et ux
                     306 Marcello Blvd
                     Thibodaux, LA 70301



                     Louis Ledet III
                     2644 West Park
                     Grey, LA 70359



                     Louis M Andolsek, Jr.
                     2223 St Mary Street
                     Thibodaux, LA 70301



                     Louisa Cecile Boudreaux Morales
                     104 Edgewater Dr
                     Broussard, LA 70518



                     Louise A Parro Fairbanks
                     132 Bent Creek
                     Hattiesburg, MS 39402



                     Louise Hampton Poindexter
                     516 Ayo Street
                     Raceland, LA 70394



                     Louisiana Heart Association, Inc.
                     Bank One Trust Company
                     Drawer 99084
                     Fort Worth, TX 76199-0084



                     Low Land Investors, LLC
                     206 Industrial Ave C
                     Houma, LA 70363



                     LSE Crane and Transportation
                     313 Westgate Road
                     Lafayette, LA 70506




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                     Lucille Hampton
                     408 Victoria Street
                     Thibodaux, LA 70301



                     Luke & Betty Ford
                     423 B Highway 308
                     Thibodaux, LA 70301



                     Lula Mae Ledet Zeringue
                     2951 HWY 308
                     Raceland, LA 70394



                     LVC Consulting, LLC
                     9723 Appin Falls Dr.
                     Spring, TX 77379



                     Lyle F Breaux
                     140 Ehert Place
                     Marrero, LA 70072



                     Lyle Joseph Panvelle
                     186 Greenleaf Blvd
                     Morgan City, LA 70380



                     Lynn & Denise Naquin
                     100 Garden Dr.
                     Thibodaux, LA 70301



                     Lynn C JR & Toby Naquin
                     1024 HWY 1
                     Thibodaux, LA 70301



                     Lynn C. Folse & Julie Ann Rossi Folse
                     6912 Langston Court
                     Baton Rouge, LA 70818




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                     Lynn J & Kathy H Kliebert
                     168 Northlake Dr
                     Thibodaux, LA 70301



                     Lynn Leonard Boudreaux
                     114 Cardiff Ct.
                     Slidell, LA 70461



                     Lynne Brodtman Pourciau
                     2260 Telestar St.
                     Harvey, LA 70058



                     Lynx Production Services, Inc.
                     808 Prevost Dr.
                     Houma, LA 70364



                     Lysia Smith
                     218 Ledet Dr
                     Thibodaux, LA 70301



                     M. Carol Shorter
                     312 Marcello Blvd
                     Thibodaux, LA 70301



                     Mable Croker & Jimmy Croker
                     120 TJV Lane
                     Thibodaux, LA 70301



                     Madeline Foret Brune
                     119 Peck Blvd.
                     Lafayette, LA 70508



                     Madeline Foret Brune
                     119 Peck Blvd
                     Lafayette, LA 70508




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                     Madeline Hebert
                     114 Bayou Vista Drive
                     Thibodaux, LA 70301



                     Madeline Mary Diaz Browning
                     418 Aurora Oaks Dr
                     New Orleans, LA T15S-R17E



                     Madeline Mary Diaz Browning
                     418 Aurora Oaks Dr
                     New Orleans, LA 70131



                     Madge Arceneaux Dubuc
                     104 Braxton Drive
                     Youngsville, LA 70592



                     Malcolm Lagarde, Jr.
                     3134 Highway 316
                     Gray, LA 70359



                     Malcolm Lagarde, Jr.
                     3134 HWY 316
                     Gray, LA 70359



                     Mar'Sue Legendre Wilson
                     1515 Ramberlyn Way
                     Shreveport, LA 71105



                     Marc E. Clause & Maria Ledet Clause
                     218 Marcello Blvd.
                     Thibodaux, LA 70301



                     Marcel B Brunet
                     104 East Killarney Dr
                     Thibodaux, LA 70301




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                     Marcella Steib Avonda
                     315 Windsor Drive
                     Thibodaux, LA 70301



                     Marco A. Izaguirre
                     1464 Burma RD
                     Thibodaux, LA 70364



                     Marcus Joseph Gaudet & Dawn T
                     6224 Snowden Drive
                     Baton Rouge, LA 70817



                     Marg A LLC
                     270 E. Park St.
                     Butte, MT 59701



                     Margaret E Paul
                     501 North Pointe Pkwy, Apt. 125
                     Jackson, MS 39211



                     Margaret Mary Diaz Fugetta
                     22 Trinidad Dr
                     Kenner, LA 70065



                     Margaret Mary Diaz Fugetta
                     22 Trinidad Drive
                     Kenner, LA 70065



                     Margaret Pharr Zaunbrecher
                     3232 Crowley-Rayne HWY
                     Rayne, LA 70578



                     Margaret Robichaux LeBlanc
                     306 Parkside Dr
                     Thibodaux, LA 70301




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                     Margaret Tardo
                     800 Waltham Street
                     Metairie, LA 70001



                     Margaret Toups Cole
                     1000 Robley Drive, #1011
                     Lafayette, LA 70503



                     Margia Harrison Rodrigue
                     151 Constant Dr
                     Thibodaux, LA 70301



                     Margia Rodrigue
                     151 Constant Dr
                     Thibodaux, LA 70301



                     Margo M. Goulas
                     2909 Saint Ann St.
                     New Orleans, LA 70119



                     Marguerite Champagne Bergeron
                     112 Mike St
                     Houma, LA 70360



                     Marguerite Zeringue Foret
                     2478 HWY 308
                     Raceland, LA 70394



                     Maria A Bollinger and Robert C. Bollinge
                     303 Price Ln
                     Thibodaux, LA 70301



                     Marian Arcement Bernard deceased c/o B.
                     321 Lafourche Street
                     Lockport, LA 70374




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 208 of 302
                     Marian Leblanc Barker
                     514 Vacherie Street
                     Lockport, LA 70374



                     Marie Higgins Evans
                     4604 Carthage St.
                     Metairie, LA 70002



                     Marie Higgins Evans
                     4604 Carthage Street
                     Metairie, LA 70002



                     Marie Martin Breaux
                     222 Ayo Street
                     Raceland, LA 70394



                     Marie Richard Ordoyne
                     512 Edgewood Dr.
                     Thibodaux, LA 70301



                     Marijene Howard Brandon
                     411 N Lazy Bend Estate Road
                     Millsap, TX 76066



                     Marilyn Gaudet Cannon
                     7220 Bayou Paul Rd
                     ST Gaberiel, LA 70776



                     Marilyn Guidry Ritchie
                     6021 Chateau Lorie Circle
                     Mandevville, LA 70448



                     Marilyn Powell Domin and Arnold Domin
                     aka Marilyn J Magnum
                     1079 HWY 1
                     Thibodaux, LA 70301




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 209 of 302
                     Marion P Martinez
                     1407 HWY 307
                     Thibodaux, LA 70301



                     Marjorie L Leblanc
                     317 Montrose Ave.
                     Lafayette, LA 70503



                     Mark A Bourgeois
                     1666-A HIghway 1
                     Thibodaux, LA 70301



                     Mark A Bourgeois
                     1666-A HWY 1
                     Thibodaux, LA 70301



                     Mark A Brinker, Etux
                     59 Bass Rd
                     Pineville, LA 71360



                     Mark A Champagne
                     3119 HWY 308
                     Raceland, LA 70394



                     Mark A McDonald & Glenda M McDonald
                     1310 Tiger Drive
                     Thibodaux, LA 70301



                     Mark A Simon, Etux
                     209 Marcello Blvd
                     Thibodaux, LA 70301



                     Mark A. & Krystal Brunet
                     507 Dax's Place
                     Thibodaux, LA 70301




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                     Mark C Ordoyne
                     415 Valhi Blvd.
                     Houma, LA 70360



                     Mark D Toups
                     20 East Twinberry Place
                     The Woodlands, TX 77381



                     Mark E Scheib
                     126 Woods Drive
                     Madisonville, LA 70447



                     Mark J & Melinda B Waguespack
                     800 Arms Street
                     Thibodaux, LA 70301



                     Mark J & Michelle Navarre
                     328 David DR
                     Thibodaux, LA 70301



                     Mark J Bilello
                     1 Pearl Circle
                     Thibodaux, LA 70301



                     Mark Jerome Portier
                     4116 West Main Street
                     Gray, LA 70359



                     Mark Martinez
                     324 Silverstone Circle
                     Ponchatoula, LA 70454



                     Mark McDonald
                     1310 Tiger Drive
                     Thibodaux, LA 70301




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 211 of 302
                     Mark Naquin
                     104 ALBANY DRIVE
                     Houma, LA 70360



                     Marlene Labat Fabacher
                     4800 Toby Lane
                     Metairie, LA 70003



                     Marlene Martin Toups
                     1232 A Highway 1
                     Thibodaux, LA 70301



                     Marlise Johnson Freeman
                     1725 Oakley Street
                     Thibodaux, LA 70301



                     Marlon J Rodriguez and Doris Porche Rodr
                     1210 Highway 1
                     Thibodaux, LA 70301



                     Marlyn S Nunn Pfefferkorn
                     252 Cottage Way
                     Thibodaux, LA 70301



                     Marquis Resources, LLC
                     400 E. Kaliste Saloom Road
                     Lafayette, LA 70508



                     Marsh Land Production Co.
                     Post Office Box 67048
                     Baton Rouge, LA 70896



                     Martha Ayo
                     3535 hwy 308
                     Raceland, LA 70394




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                     Martha Helen Power Sarpy
                     136 Dora Lane
                     Byron, GA 31008



                     Martha Helen Power Sarpy (USUFRUCT)
                     136 Dora Lane
                     Byron, GA 31008



                     Martha Toups Verdin
                     244 S French Quarter Drive
                     Houma, LA 70364



                     Martin Breaux
                     24 Imogene Street
                     Waggaman, LA 70094



                     Marvin B. & Darline Gregory
                     101 Edgewood Drive
                     Thibodaux, LA 70301



                     Marvin B. Gregory & Darlene Fontanelle
                     101 Edgewood Drive
                     Thibodaux, LA 70301



                     Marvin Hampton, Sr.
                     211 E 10th Street
                     Thibodaux, LA 70301



                     Mary A. Brodtman
                     6303 Talbot Way
                     Hamilton, NJ 08691



                     Mary Agnes Power Quinn
                     245 Highpoint Dr.
                     Diamondhead, MS 39525-3713




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                     Mary Agnes Power Quinn
                     245 Highpoint Drive
                     Diamondhead, MS 39525-3713



                     Mary Clement Breaux & David Breaux
                     1307 Lee Dr
                     Thibodaux, LA 70301



                     Mary Elizabeth Blouin
                     7706 Breakwater Dr., BH#5
                     New Orleans, LA 70124



                     Mary Elizabeth Blouin
                     7706 Breakwater Drive, BH#5
                     New Orleans, LA 70124



                     Mary Elizabeth Blouin A/K/A Mary Elizabe
                     7706 Breakwater Drive BH 5
                     New Orleans, LA 70124



                     Mary Elizabeth Triggs
                     119 California Street
                     Thibodaux, LA 70301



                     Mary Ellen Peltier
                     PO Box 1097
                     Thibodaux, LA 70302



                     Mary Ellen Peltier
                     P.O. Box 1097
                     Thibodaux, LA 70301



                     Mary Ellen Peltier
                     P.O. Box 1097
                     Thibodaux, LA 70302




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                     Mary Francis Naquin
                     2626 Highway 308
                     Labadieville, LA 70372



                     Mary Gaudet Wayne & Mike Wayne
                     1608 Coral Drive
                     Houma, LA 70360



                     Mary Guidry Riffle
                     9101 Grist Mill Rd
                     Alexandria, VA 22309



                     Mary Katherine Bicknell
                     421 Drexel Dr
                     Shreveport, LA 71106



                     Mary L Pierce
                     123 TJV Lane
                     Thibodaux, LA 70301



                     Mary Louise Hartsfield & Joffery Glen Ha
                     15746 Jim Court
                     Jacksonville, FL 32208



                     Mary Louise Hebert Lee
                     103 Marcello Blvd
                     Thibodaux, LA 70301



                     Mary Louise Hebert Lee
                     103 Marcello Blvd.
                     Thibodaux, LA 70301



                     Mary Louise Herbert Lee
                     103 Marcello Blvd
                     Thibodaux, LA 70301




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                     Mary Margaret Harang Dufrene
                     131 Ashton Dr.
                     Thibodaux, LA 70301



                     Mary Margaret Harang Dufrene
                     131 Ashton Drive
                     Thibodaux, LA 70301



                     Mary Margaret Harang Dufrene
                     131 Ashton Dr
                     Thibodaux, LA 70301



                     Mary Maureaux Creech
                     500 Tiger Dr
                     Thibodaux, LA 70301



                     Mary Maureaux Creech
                     500 Tiger Drive
                     Thibodaux, LA 70301



                     Mary Ordoyne
                     po box 255
                     Thibodaux, LA 70302



                     Mary Pamela Naquin Peltier
                     P.O. Box 747
                     Covington, LA 70434



                     Mary Robichaux Boudreaux
                     1913 Highway 308
                     Thibodaux, LA 70301



                     Mary Susan Ayo
                     800 St. Phillip Street
                     Thibodaux, LA 70301




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                     Mary Susan Ayo
                     800 St. Pillip Street
                     Thibodaux, LA 70301



                     Mary Torres Zeringue
                     2302 HWY 308
                     Raceland, LA 70394



                     Mary Toups Jumonville
                     407 Claymore Drive
                     Lafayette, LA 70503



                     Matagorda B1, LP
                     2441 High Timbers Drive, Suite 300
                     The Woodlands, TX 77380



                     Matherne Family Properties, LLC
                     J.Marion Matherne, President
                     8282 Seigen Lane, Suite B
                     Baton Rouge, LA 70810-2050



                     Mathew P Ordoyne
                     7313 Daniel Webster Drive
                     Winter Park, FL 32792



                     Matthew J and Sarah B Daigle
                     190 Grand Lakes Drive
                     Thibodaux, LA 70301



                     Matthew T Berthelot
                     1003 Menard Street
                     Thibodaux, LA 70301



                     Max C Martin
                     27135 Ranchland View
                     Boerne, TX 78006




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                     McCoy Properties LLC
                     Scott McCoy
                     105 Fern Street
                     Houma, LA 70360



                     Megan Marie Smith Cambeilh
                     202 west mantred street
                     gonzales, LA 70737



                     Melanie D Boudreaux
                     1414 Hwy 1
                     Thibodaux, LA 70301



                     Melinda C Diaz Baronne
                     206 Elvira Dr
                     Raceland, LA T15S-R17E



                     Melinda Champagne Champagne
                     282 Champagne Lane
                     Raceland, LA 70394



                     Melinda Claire Diaz Baronne
                     206 Elvira Dr
                     Raceland, LA 70394



                     Melissa A Collins
                     1063 HWY 1
                     Thibodaux, LA 70301



                     Melissa Marcel Loupe & Terry J Loupe
                     106 E. Windsor Drive
                     Thibodaux, LA 70301



                     Melissa P Thibodeaux
                     1249 Highway 1
                     Thibodaux, LA 70301




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                     Melissa Timberlake Walters
                     312 Marcello Blvd
                     Thibodaux, LA 70301



                     Melissa Wright Breaux
                     18072 Eastgate Drive
                     Hammond, LA 70403



                     Merle Johnson Thurmond
                     2012 Sugarloaf Drive
                     Harvey, LA 70058



                     Merlin Morvant Berger
                     337 Willowdale Drive
                     Gray, LA 70359



                     Merry Blanchard Arceneaux
                     P.O. Box 96
                     Labadieville, LA 70372



                     Merton Manuel Pitre
                     209 Parkside Drive
                     Thibodaux, LA 70301



                     Merwyn T & Louise A Melvin
                     105 East Garden Dr
                     Thibodaux, LA 70310



                     MGM Development, Inc
                     T. Benton Harang, President
                     107 E 2nd Street
                     Thibodaux, LA 70301



                     Michael & Mary Joffrion
                     413 Brandywine Blvd
                     Thibodaux, LA 70301




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                     Michael A Tardo
                     1228-A HWY 1
                     Thibodaux, LA 70301



                     Michael A. Clement & Anita Ruth W. Cleme
                     P.O. Box 1288
                     Allyn, WA 98524



                     Michael Breaux
                     214 East 54th Street, #7
                     Cutoff, LA 70345



                     Michael Chauvin
                     111 Madway St.
                     Thibodaux, LA 70301



                     Michael D & Lisa R Richard
                     411 Plater Dr.
                     Thibodaux, LA 70301



                     Michael D Eckert and Christine Simon Eck
                     111 Cross Country Dr
                     Carencro, LA 70520



                     Michael E Mosley
                     107 Hebert St
                     Houma, LA 70364



                     Michael F Murry, Jr.
                     13709 Three Fathoms Bank Drive
                     Corpus Christi, TX 78418



                     Michael J & Kelly Guthrie
                     253 David Dr
                     Thibodaux, LA 70301




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                     Michael J Caminita, IV and Michelle Chia
                     408 Parkside Drive
                     Thibodaux, LA 70301



                     Michael J Gaudet
                     6545 Millstone Ave
                     Baton Rouge, LA 70808



                     Michael J Harang
                     307 Bayou Lane
                     Thibodaux, LA 70301



                     Michael J Marcello, MD
                     P.O. Drawer D
                     Mathews, LA 70375



                     Michael J Marcello, MD
                     P. O. Box D
                     Mathews, LA 70375



                     Michael J Peltier
                     2420 Andlusia Way NE
                     St. Petersburg, FL 33704



                     Michael J Peltier
                     2420 Andalusia Way NE
                     St Petersburg, FL 33704



                     Michael J. & Louise G St. Pierre
                     281 David Dr
                     Thibodaux, LA 70301



                     Michael J. & Mary G. Marcello
                     P.O. Drawer D
                     Lockport, LA 70374




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                     Michael Joseph Blanchard and Brenda Ohme
                     306 College Ln
                     LA 70301



                     Michael L Dugas, Jr
                     321 Annie Bell Drive
                     Cantonment, FL 32533



                     Michael L Robichaux
                     316 Peltier Dr
                     Raceland, LA 70394



                     Michael Manuel Arcement
                     419 Lafourche Street
                     Lockport, LA 70374



                     Michael McDonald, Jr.
                     5634 Spring Lodge Drive
                     Kingwood, TX 77345



                     Michael Murzi, Jr.
                     217 Whispering Lane
                     Madisonville, LA 70447



                     Michael P & Sharon T Hanley
                     302 College LN
                     Thibodaux, LA 70301



                     Michael P and Lida S Wiley
                     102 Thoroughbred Park Dr
                     Thibodaux, LA 70301



                     Michael V Braud
                     119 Constant Dr
                     Thibodaux, LA 70301




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                     Michael Wayne Molaison
                     1028 La Rue Street
                     Houston, TX 77019



                     Michael Winfree
                     2600 Watermark Blvd., Apt. 405
                     Oklahoma City, OK 73134



                     MIchelle & Paul Gallagher
                     4626 Waring Street
                     Houston, Tx 77027



                     Michelle A Faia molero
                     413 Arlington Dr
                     metairie, LA 70001



                     Michelle C Rogers
                     132 South Dennis St
                     Thibodaux, LA 70310



                     Michelle Dupre Doucet
                     562 Pointe Verde Rd.
                     Washington, LA 70589



                     Michelle Pascale
                     1502 Louisa Court
                     Santa Fe, NM 87505



                     Michelle Peltier Warshauer
                     501 Place St. Germain
                     Covington, LA 70433



                     Michelle Peltier Warshauer
                     501 Place St Germain
                     Covington, LA 70433




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                     Mickey W. Falgout
                     12189 Cypress Park Dr
                     Geismer, LA 70734



                     Mildred M Smith
                     103 East Gardens Dr
                     Thibodaux, LA 70301



                     Milton H Pharr
                     1116 East Diamond Circle
                     Lake Charles, LA 70611



                     Miriam Aupied Acosta
                     1272 Highway 1
                     Thibodaux, LA 70301



                     Miriam Leonard Esteve
                     208 North 13th St
                     Thibodaux, LA 70301



                     Mona Naquin Gary
                     17417 Lantana Court
                     Baton Rouge, LA 70817



                     Mona Toups Latiolais
                     25988 Garden Road
                     Bedford, OH 44146



                     Moncla E-Line Services, Inc.
                     635 Rue Scholastique
                     Scott, LA 70583



                     Moncla Pressure Pumping, LLC
                     P. O. Box 53408
                     Lafayette, LA 70505




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                     Monica Ordoyne Benoit
                     133 Mikie Lane
                     Thibodaux, LA 70301



                     Monica Sue Fontenot Vidrine
                     4672 Grand Prairie Highway
                     Washington, LA 70589



                     Morris J Benoit & Mary Ann Benoit
                     110 Constant Dr
                     Thibodaux, LA 70301



                     Morris J Marts
                     466 Paula Dr
                     Thibodaux, LA 70301



                     Morris P Hebert
                     194 Meandering Way
                     Houma, LA 70360



                     Mouton Law
                     PO Box 82438
                     Lafayette, LA 70598



                     MT Unemployment
                     2121 Rosebud Drive
                     Stop B
                     Billings, MT 59102



                     Murphy J Hebert
                     13719 San Saba Canyon Lane
                     Cypress, TX 77429



                     Myra Robichaux Blanchard
                     1963 Highway 308
                     Thibodaux, LA 70301




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                     Myra Robichaux Blanchard
                     1963 hwy 308
                     thibodaux, LA 70301



                     Myrna Legendre Trosclair
                     203 Garden Dr.
                     Thibodaux, LA 70301



                     Myrtle Monier Foret




                     N.O. Sewer Water Board
                     625 St. Joseph St., Rm 140
                     New Orleans, LA 70165



                     Nancy Morris Hebert
                     207 Rodriguez Dr
                     Raceland, LA 70394



                     Nancy Pittman McCorvey
                     2830 St. Johns Ave.
                     Jacksonville, FL 32205



                     Nantim Energy, Inc.
                     Post Office Box 80752
                     Lafayette, LA 70598



                     Narf Management
                     Thomas B Rouse
                     P.O. Box 5547
                     Thibodaux, LA 70302



                     Nassim Kashani
                     216 South Murat
                     New Orleans, LA 70119




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                     Natalie Winchester Guidry
                     801 Alonda Drive
                     Lafayette, LA 70503



                     Nathan J. Brooks, Minor
                     1003 Denali Dr
                     Allen, TX 75013



                     NEC Financial Services, LLC
                     PO Box 100558
                     Pasadena, CA 91189-0558



                     Neil Foret et ux
                     208 Marcello Blvd
                     Thibodaux, LA 70301



                     Neillson, LLC
                     106 Easthaven Drive
                     Brandon, MS 39042



                     Nelson A Verdun and Lydia M Verdun
                     1266 Hwy 1
                     Thibodaux, LA 70301



                     New South River, LLC
                     340 9th Street North
                     Naples, FL 34102



                     Nicholas A. Martin, III
                     208 Dwight Drive
                     Thibodaux, LA 70301



                     Nicholas J Terracina
                     100 Acadia Point Drive
                     Thibodaux, LA 70301




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                     NIcholas T Price
                     213 Evalyn St
                     Madison, AL 35758



                     Nichols State College
                     901 E 1St
                     Thibodaux, LA 70301



                     Nick Ong
                     4224 Banks
                     New Orleans, LA 70119



                     Nicole Alyce Falgoust
                     739 HWY 308
                     Thibodaux, LA 70301



                     Nicole Constant Watkins
                     109 Richard St
                     Welsh, LA 70591



                     Nicole Lynn Panvelle
                     P.O. Box 341
                     Plappenville, LA 70393



                     Niles M. Robichaux
                     235 Rodriguez Dr
                     Raceland, LA 70394



                     NNW, Inc.
                     39289 Tommy Moore Road
                     Suite B
                     Gonzales, LA 70737



                     Noble and Mary Clement
                     407 Brandywine Blvd
                     Thibodaux, LA 70301




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                     Noel J. Toups & Verna M. Jones Toups
                     501 Edgewood Drive
                     Thibodaux, LA 70301



                     Noel Lee Warren
                     910 Calico Dr
                     Austin, TX 78748



                     Noel Robichaux Parro
                     299 Briar Patch Lane
                     Cartersville, georgia 30120-0000



                     Noel Robichaux Parro
                     299 Briar Patch Lane
                     Cartersville, GA 30120



                     NOLA Minerals Services, LLC
                     c/o Alex Gutierz
                     2331 Jefferson Ave.
                     New Orleans, LA 70115



                     Nolan Gaubert
                     10400 Tam Ohanter Rd.
                     Pensacola, FL 32514



                     Nolan J. Davaine
                     1714 Highway 654
                     Gheens, LA 70355



                     Nolan Triggs
                     1334 South Barbier Ave
                     Thibodaux, LA 70301



                     Norma Gerdes Bilello
                     712 HWY 308
                     Thibodaux, LA 70301




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                     Norma Jane Stevens Duplantis
                     102 Ron St
                     Bourg, LA 70343



                     Norma Ledet Fury
                     1944 Illinois Ave.
                     Kenner, LA 70062



                     Norman G & Linda B Vicknair
                     1104-A Hwy 1
                     Thibodaux, LA 70301



                     Norman G Vicknair and Linda Vicknair
                     1104-A Hwy 1
                     Thibodaux, LA 70301



                     Norman J Hebert
                     2345 HWY 308
                     Raceland, LA 70394



                     Norman J Hebert
                     2345 Highway 308
                     Raceland, LA 70394



                     Norman M Pharr
                     510 Monroe Street
                     Mobile, AL 36602



                     Norman P Davaine
                     102 Adams
                     Raceland, LA 70394



                     Norman P. Davaine
                     102 Adams
                     Raceland, LA 70394




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                     Norris B. & Maureen M. Mayer
                     7933 Grand Prairie Road
                     Washington, LA 70589



                     North Lafourche Conservation Levee & Dra
                     Dwayne Bourgeois, Executive Director
                     P.O. Box 309
                     Thibodaux, LA 70302-0309



                     NOV Wellsite Services
                     PO Box 202631
                     Dallas, TX 75320-2631



                     NVC, Inc.
                     Philip Constant
                     115 Rosedown Dr.
                     Thibodaux, LA 70301



                     NVC, Inc.
                     Philip Constant
                     115 Rosedown drive
                     Thibodaux, LA 70301



                     Oak Knoll Ranch, LLC
                     10883 Oak Knoll Road
                     Ojai, CA 93023



                     Oceana M. DeLatte Broussard
                     6757 Line Rd
                     Ethel, LA 70730



                     Octavia Plantation
                     201 Beau Chene
                     Thibodaux, LA 70301



                     Offshore Energy Services, Inc.
                     PO Box 53508
                     Lafayette, LA 70505



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                     Oil Country Tubular Corp.
                     1301 Young Street
                     Broussard, LA 70518



                     Oil States Energy Services
                     PO Box 203567
                     Dallas, TX 75320-3567



                     Oilfield Innovators Limited, LLC
                     1232 Camellia Boulevard
                     Suite C
                     Lafayette, LA 70508



                     Oilfield Instrumentation
                     PO Box 51902
                     Lafayette, LA 70505-1902



                     Ola May Thomas and Early Thomas
                     322 California Street
                     Thibodaux, LA 70301



                     Oliver P & Theresa Benoit
                     515 Victoria Court
                     Thibodaux, LA 70301



                     Omeka & Bryan Guidroz
                     118 Constant Dr
                     Thibodaux, LA 70301



                     Onebane Law Firm
                     PO Box 3507
                     Lafayette, LA 70502-3507



                     P2 Energy Solutions
                     1670 Broadway
                     Suite 2800
                     Denver, CO 80202




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                     Pacific Enterprises ABC Corp (PEC Minera
                     16400 NO Dallas PKWY, Suite 400
                     Dallas, TX 75248



                     Paddy Angelette Hoffpauir et al
                     Linda Hoffpauir Eschette
                     401 Hospital Drive
                     Raceland, LA 70394



                     Pamela Arcement Kilgore
                     315 Fantastic Blvd.
                     Raceland, LA 70394



                     Pamela Barker
                     404 Parkside Drive
                     Thibodaux, LA 70301-3835



                     Pamela Gueary Williams
                     501 Levert Drive
                     Thibodaux, LA 70301



                     Pamela M. Detriveaux
                     309 Price Lane
                     Thibodaux, LA 70301



                     Pamela Torres Normand
                     14522 Hoffman Court Drive
                     Hammond, LA 70403



                     Panterra Inc
                     Omer Longnecker, President
                     2120 Bayou Rd
                     Thibodaux, LA 70301



                     Patricia Angelette Garrett
                     5200 Lago Vista Drive
                     Athens, TX 75752




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                     Patricia Ann Fontenot
                     4624 Grand Prairie Highway
                     Washington, LA 70589



                     Patricia Aucoin Hernanadez
                     2413 Danny Park
                     Metairie, LA 70001



                     Patricia C. Brignac
                     1200 Barbara
                     Rayne, LA 70578



                     Patricia Cardozier Poche
                     548 St. Ann Street
                     Raceland, LA 70394



                     Patricia D Folse
                     301 Marcello Blvd
                     Thibodaux, LA 70301



                     Patricia Gaubert
                     1012 Hwy #1
                     Thibodaux, LA 70301



                     Patricia Peltier Crum
                     P.O. Box 1097
                     Thibodaux, LA 70302



                     Patricia Peltier Crum Hartel
                     P.O. Box 1097
                     Thibodaux, LA 70301



                     Patricia Portier Toups
                     502 Summerfield Dr
                     Houma, LA 70360




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                     Patrick & Charmaine T Rodriguez
                     207 Garden Dr.
                     Thibodaux, LA 70301



                     Patrick A Richard and Charlene T Richard
                     509 Levert Drive
                     Thibodaux, LA 70301



                     Patrick F Leonard
                     217 david dr
                     Thibodaux, LA 70301



                     Patrick J Sylvest & Susan Gartley Sylves
                     401 Easy Street
                     Thibodaux, LA 70301



                     Patrick J Tardo
                     P.O. Box 5386
                     Thibodaux, LA 70302



                     Patrick W. and Kristie Tauzin Goulas
                     196 Union Drive
                     Thibodaux, LA 70301



                     Patsy Breaux Clark
                     910 Tennessee Blvd.
                     Murfreeboro, TN 37107



                     Patterson Rental Tools
                     P. O. Box 203379
                     Dallas, TX 75320-3379



                     Patty S. Fleming
                     1742 East Adelante Way
                     San Tan, AZ 85140




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                     Paul & Mary A Hardy Revocable Living Tru
                     1219 Tetreau ST
                     Thibodaux, LA 70301



                     Paul B Stevens
                     6033 Masters Circle
                     Sanford, NC 27332



                     Paul B Stevens
                     6033 Masters Circle
                     Stanford, NC 27332



                     Paul C Hebert and Denise Landry Hebert
                     5210 Courtyard Dr
                     Gonzales, LA 70737



                     Paul G Matherne
                     2537 Rue Palafox
                     Biloxi, MS 39531



                     Paul G O'Malley and Deborah Lee O'Malley
                     #1 MIMI Circle
                     Thibodaux, LA 70301



                     Paul J & Peggy Toups
                     100 Edgewood Dr
                     Thibodaux, LA 70301



                     Paul J Bilello
                     16905 Highland Road
                     Baton Rouge, LA 70810



                     Paul J. Naquin, III & Donna B
                     1300 Lee Drive
                     Thibodaux, LA 70301




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                     Paul M Harang
                     515 Blake Court
                     Thibodaux, LA 70301



                     Paul Roundtree Jr. & Tonya
                     4828 Gallagher Rd
                     Plant City, FL 33565



                     Paul T Gaudet & Carol Gaudet
                     733 HWY 308
                     Thibodaux, LA 70301



                     Paul T Gaudet MD
                     733 HIghway 308
                     Thibodaux, LA 70301



                     Paul T Gaudet, MD & Carol Gaudet
                     733 HWY 308
                     Thibodaux, LA 70301



                     Paula R Lagarde
                     8008 Bluebonnett Blvd Apt 16-17
                     Baton Rouge, LA 70810



                     Paula R Lagarde
                     8008 Bluebonnet Blvd., Apt. 16-17
                     Baton Rouge, LA 70810



                     Pauline A Baughman
                     8008 Bluebonnet, Apt. 13-7
                     Baton Rouge, LA 70810



                     Pauline Ayo Baughman
                     8008 Bluebonnet Blvd. Apt. 13-7
                     Baton Rouge, LA 70810




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                     Pauline Ayo Baughman
                     8008 Bluebonnet Blvd., Apt. 13-7
                     Baton Rouge, LA 70810



                     Pauline Champagne Dufrene
                     119 Anicia St
                     Raceland, LA 70394



                     Pavay Dauzat
                     115 Hill Ave
                     Vardaman, MS 38878



                     Paws Energy Services, Inc.
                     PO Box 386
                     Abbeville, LA 70511



                     PBC Farms, LLC a/k/a PBC Services
                     Tim P. Bourgeois
                     2514 Highway 1
                     Raceland, LA 70394



                     PEC MINERALS, LP EXECUTIVE RIGHTS ONLY
                     Michael Allen, Manager
                     16400 Dallas Parkway, Sute 400
                     Dallas, TX 75248



                     Peggy A Vito
                     312 Ledet Dr
                     Thibodaux, LA 70301



                     Peggy Delozier Brown
                     28 Rudee Ave
                     Virginia Beach, VA 23451



                     Peggy Fontenot Richard
                     3940 Grand Prairie Highway
                     Washington, LA 70589




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                     Pelican Land, Inc
                     201 Rue Iberville, Suite 504
                     Lafayette, LA 70508



                     Peltier 2, LLC
                     101 St. Luois Street
                     Thibodaux, LA 70301



                     Peltier Farms LLC
                     101 St. Louis Street
                     Thibodaux, LA 70301



                     Peltier Farms LLC
                     101 St Louis St
                     Thibodaux, LA 70301



                     Penny Peltier Tate
                     200 Cedar Tree Drive
                     Thibodaux, LA 70301



                     Penny Peltier Tate
                     200 Cedar Tree Dr
                     Thibodaux, LA 70301



                     Percy Smith
                     105 Gros Street
                     Schriever, LA 70395



                     Pereira Enterprises Inc
                     Abraham L Pereira III
                     1911 HWY 182
                     Raceland, LA 70394



                     Peter A Ledet
                     131 CONSTANT DRIVE
                     THIBODAUX, LA 70301




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                     Peter G David
                     349 West Park Avenue
                     Thibodaux, LA 70301



                     Peter J. Fritz & Nelly Jany Fritz
                     506 Levert Drive
                     Thibodaux, LA 70301



                     Peter John Gaudet & Sharon
                     121 Dennis Lane
                     Thibodaux, LA 70301



                     Peter Murzi
                     1123 Turner Road
                     Lucedale, MS 39452



                     Peter Rankin
                     1715 Windemere
                     Coeur D Alene, ID 83815



                     Peter William Ayo
                     P.O. Box 66729
                     Houston, TX 77266



                     Petersen Lane Partners, LLC
                     c/o Protea Real Estate
                     6210 Campbell Rd., Ste. 140
                     Dallas, TX 75248



                     Petro Partners Limited
                     P.O. Box 180694
                     Arlington, TX 76096-0694



                     Philip J Toups, Jr.
                     2177 HWY 308
                     Raceland, LA 70394




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                     Philip Joseph Ledet
                     1258 HWY 1
                     Thibodaux, LA 70301



                     Philip Knoblock and Patricia A Knoblock
                     185 Kleinpeter Drive
                     Thibodaux, LA 70301



                     Philip W Lahaye JR
                     104 Plater Court
                     Thibodaux, LA 70301



                     Philip W Lahaye, Jr. and Ellen J Lahaye
                     104 Plater Court
                     Thibodaux, LA 70301



                     Phillip & Lauren Bergeron
                     104 Allemand Lane
                     Thibodaux, LA 70301



                     Phillip J Ledet
                     POA Suzanne Breaux
                     1258 Highway 1
                     Thibodaux, LA 70301



                     Phyllis Portier Dufrene
                     2344 Tradewinds Dr
                     Gautier, MS 39553



                     Phyllis R. Goulas Toups
                     305 Plater Drive
                     Thibodaux, LA 70301



                     Phyllis Toups Robichaux
                     2117 HWY 308
                     Raceland, LA 70394




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                     Picou Welding Service
                     PO Box 155
                     Larose, LA 70373



                     Pinho, L.B. Corp.
                     3009 Lake Palourde Drive
                     Morgan City, LA 70380



                     Pipe Pros, LLC
                     1729 N. Clarkwood Road
                     Building 101
                     Corpus Christi, TX 78409



                     Platinum Chemicals, LLC
                     1129 Evangeline Thruway
                     Broussard, LA 70518



                     Polmer Brothers LTD
                     4701 Southshore Dr
                     Metairie, LA 70002



                     Premiere, Inc.
                     PO Box 2201
                     Decatur, AL 35609-2201



                     Premium Oilflield Services, LLC
                     P. O. Box 203763
                     Dallas, TX 75320-3763



                     Premium Tools LLC
                     PO Box 677901
                     Dallas, TX 75267



                     Preston Cortez
                     171 constant dr
                     Thibodaux, LA 70301




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                     Priscilla Alden Bumstead Womack
                     6215 Lynbrook Dr.
                     Houston, TX 77057



                     Priscilla Naquin Battaglia & John N
                     1107 Park Drive
                     Thibodaux, LA 70301



                     Pro-T Company
                     1034 Smede Hwy
                     PO Box 295
                     Broussard, LA 70518



                     Procor Chemicals, Inc.
                     P. O. Box 80008
                     Lafayette, LA 70598-0008



                     Professional Fluid Services, LLC
                     PO Box 80293
                     Lafayette, LA 70598-0293



                     Professional NDT NDT Services
                     PO Box 1223
                     Broussard, LA 70518



                     Professional Pumping Services LL
                     C/O 12five Capital, LLC
                     PO Box 962
                     South Bend, IN 46624



                     Progent Corporation
                     PO Box 254737
                     Sacramento, CA 95865-4737



                     Progressive Paloverde Ins. Co.
                     6300 Wilson Mills Road
                     Mayfield Village, OH 44143




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                     Proven Fuel - Houma, LLC
                     PO Box 52552
                     Lafayette, LA 70505-2552



                     Quail Tools
                     PO Box 10739
                     New Iberia, LA 70562-0739



                     Quality Rental Tools, Inc.
                     PO Box 2218
                     Houma, LA 70361



                     Quill Corporation
                     PO Box 37600
                     Philadelphia, PA 19101-0600



                     Quill.com
                     PO Box 37600
                     Philadelphia, PA 19101-0600



                     R Delaney Construction Co.
                     PO Box 264
                     Natchez, MS 39121-0264



                     R.A. & Linda A Hemel
                     259 Country Club Blvd
                     Thibodaux, LA 70301



                     R.P.S. Cementing Company, LLC
                     PO Box 176
                     Livonia, LA 70755



                     R.W. KREBS Prof. Land Surveying,
                     3445 N. Causeway Boulevard
                     #201
                     Metairie, LA 70002-3787




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                     R360 Environmental Solutions, LL
                     PO Box 671766
                     Dallas, TX 75267-1766



                     Rab A Bruce et ux
                     200 Marcello Blvd
                     Thibodaux, LA 70301



                     Ralph A & Tena Pitre
                     155 Constant Dr
                     Thibodaux, LA 70301



                     Ralph A & Tena Rodrique Pitre
                     155 Constant Dr
                     Thibodaux, LA 70301



                     Ralph J JR & Odette C Griffin
                     100 Marcello Blvd
                     Thibodaux, LA 70301



                     Ramona Ann Poche
                     4102 HWY 1
                     Raceland, LA 70394



                     Ramona Pruitt
                     172 Oscor Lane
                     Raceland, LA 70394



                     Randall J Hebert
                     416 St. Charles By-Pass Road
                     Thibodaux, LA 70301



                     Randall Peter Talbot
                     103 Lisa Court
                     Thibodaux, LA 70301




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                     Randall S Myers & Patricia Myers
                     201 Heymann Blvd., Suite 30
                     Lafayette, LA 70503



                     Randolph H Parro
                     203 Abby Road
                     Thibodaux, LA 70301



                     Randolph H Parro et al
                     P.O. Box 5547
                     Thibodaux, LA 70302-5547



                     Randy A & Faye D Adams
                     105 Constant Dr
                     Thibodaux, LA 70301



                     Randy Blanchard
                     PO BOX 147
                     Magnolia, MS 39652



                     Randy J & Roxana M LeBlanc
                     1244 Highway 1
                     Thibodaux, LA 70301



                     Randy J Dufrene
                     Ruth Dufrene
                     102 Michelles Street
                     Labadieville, LA 70372



                     Randy Paul Blouin
                     3369 HWY 308
                     Raceland, LA 70394



                     Randy S & Amanda Weimer
                     104 Adams St
                     Thibodaux, LA 70301




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                     Raoul M Robichaux
                     7486 Woodlawn Colonial Lane
                     St. Louis, MO 63119



                     Raul S & Julie L Prado
                     305 College Lane
                     Thibodaux, LA 70301



                     Ray G & Catherine V Earl
                     133 Verdin Lane
                     Thibodaux, LA 70301



                     Ray L & Sandra B Adams
                     PO BOX 512
                     Henderson, TN 38340



                     Raymond A Bilello
                     151 Bobcat Lane
                     Thibodaux, LA 70301



                     Raymond E. Didier, Jr. and Patricia d. D
                     510 Edgewood Dr.
                     Thibodaux, LA 70301



                     Raynold & Sara Soileau
                     P.O. Box 114
                     Washington, LA 70589



                     Reagan W & Melissa Bates
                     133 David Dr
                     Thibodaux, LA 70301



                     Reavis J Summers
                     P.O. Box 425
                     Lutcher, LA 70071




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                     Rebecca Glynn Durocher
                     319 St Mary St.
                     Thibodaux, LA 70301



                     Rebecca Jane Foret
                     1740 Ivy Lane
                     Carrollton, TX 75007



                     Rebecca Lee Smith
                     141 West 8th Street
                     Reserve, LA 70084



                     Rebecca Peltier Finnan
                     257 Coquille Lane
                     Madisonville, LA 70447



                     Reeco Rental & Supply, Inc.
                     PO Box 5801
                     Thibodaux, LA 70302



                     Reginald J Labat
                     605 Eagle Drive
                     Raceland, LA 70394



                     Reliable Home Builders
                     3 Goodwood Circle
                     Houma, LA 70363



                     Reliable Production Service, LLC
                     PO Box 176
                     Livonia, LA 70755



                     Rema L Schenken
                     216 South Murat
                     New Orleans, LA 70119




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                     Renard Robinson
                     239 Cardinal Drive
                     Forrest City, AR 72335



                     Rene Leonard
                     173 Rue De Levert
                     Raceland, LA 70394



                     Rene P Daigle
                     355 Broadway Avenue
                     Schriever, LA 70395



                     Renee A Jennings
                     101 Homestead Drive
                     Thibodaux, LA 70301



                     Renee B Robichaux Melancon
                     800 Barbier Avenue
                     Thibodaux, LA 70301



                     Rev Jules A Brunet
                     604 Country Club Blvd
                     Thibodaux, LA 70301



                     REV. Frederic J Brunet
                     604 Country Club Blvd
                     Thibodaux, LA 70301



                     Rhino GP Two, Inc.
                     P.O. Box 2566
                     Houston, TX 77252



                     Rhino One, LLC
                     P.O. Box 2566
                     Houston, TX 77252




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                     Rhonda V Madere
                     40113 Champion Tif Drive
                     Gonzales, LA 70737



                     Rhonda Winfree
                     523 General Pershing Street
                     New Orleans, LA 70115



                     Ricardo M & Jessica Braud Rosado
                     415 Hale Drive
                     Thibodaux, LA 70301



                     Rice City Trucking, Inc.
                     PO Box 647
                     Crowley, LA 70527



                     Richard A Morvant JR
                     Richard Morvant
                     P.O. Box 5651
                     Thibodaux, LA 70302



                     Richard A. Bourgeois & Marlene Prejean B
                     133 East Oaklawn Drive
                     Thibodaux, LA 70301



                     Richard Arabie
                     307 Fairfield Dr
                     Thibodaux, LA 70301



                     Richard B & Joyce Young
                     98 Oakland Dr.
                     Thibodaux, LA 70301



                     Richard J Bilello
                     114 Elm Street
                     Thibodaux, LA 70301




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                     Richard J Bourgeois
                     509 St. Mary St
                     Thibodaux, LA 70301



                     Richard J Hamilton, III
                     P.O. Box 9190
                     Metairie, LA 70055



                     Richard J Melancon & Gloria Melancon
                     PO Box 204
                     Thibodaux, LA 70302



                     Richard J. Macor
                     26 Alpaugh Drive
                     Asbury, NJ 08802



                     Richard J. Robichaux
                     2117 Highway 308
                     Raceland, LA 70394



                     Richard Joseph Danos
                     1116 Park Drive
                     Thibodaux, LA 70301



                     Richard M Glynn
                     11214 Andy Dr
                     Riverview, FL 33569



                     Richard Parro
                     P.O. Box 403
                     Thibodaux, LA 70301



                     Richard Parro
                     PO BOX 403
                     Thibodaux, LA 70302




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                     Richard Parro
                     P.O. Box 403
                     Thibodaux, LA 70302



                     Rick J Ledert SR
                     203 Caldwell Plantation RD
                     Thibodaux, LA 70310



                     Rick J Ledet SR
                     203 Caldwell Plantation RD
                     Thibodaux, LA 70310



                     Rickey D. & Denise Lovell
                     1038 HWY. #1
                     Thibodaux, LA 70301



                     Rickie P & Viola Daigle
                     337 David Dr
                     Thibodaux, LA 70301



                     Ricky Chauvin
                     664 Highway 308
                     Thibodaux, LA 70301



                     Ricky J Compeaux
                     197 Fairfield Dr.
                     Thibodaux, LA 70301



                     Ricky M & Debra Rodrigue
                     1264 Highway 307
                     Thibodaux, LA 70301



                     Ricky M. Rodrigue & Debra R Rodrigue
                     1264 Hwy. 307
                     Thibodaux, LA 70301




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                     Ricky Tabor
                     417 Ledet
                     Thibodaux, LA 70301



                     Rig Tools, Inc.
                     2200 Highway 90 E
                     Jennings, LA 70546



                     Rig-Chem LLC
                     132 Thompson Road
                     Houma, LA 70363



                     Rita Foret Grabert
                     2158 HWY 182
                     Raceland, LA 70394



                     Rita H Dickie
                     204 Garden Drive
                     Thibodaux, LA 70301



                     Rita Hebert Dickie
                     204 Garden Drive
                     Thibodaux, LA 70301



                     Rita Hebert Dickie
                     204 Garden Dr
                     Thibodaux, LA 70301



                     Rita Ordoyne McDonald
                     115 TJV Lane
                     Thibodaux, LA 70301



                     Ritchie J Molaison
                     1116 Bardell Drive
                     Wilmington, DE 19808




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                     River Rental Tools, Inc.
                     109 Derrick Road
                     Belle Chasse, LA 70037



                     Robert & Karen Bunting
                     320 David Dr
                     Thibodaux, LA 70301



                     Robert Babin
                     328 Sugar Plum Street
                     Houma, LA 70364



                     Robert D & Marilyn M Frey
                     506 Edgewood Dr
                     Thibodaux, LA 70301



                     Robert Dauzat
                     1610 Ridgefield Ave
                     Thibodaux, LA 70301



                     Robert E & Myrna Jones Revocable Trust
                     Robert E Jones
                     810 Encino Drive
                     Morgan Hill, CA 95037



                     Robert F. Naquin
                     100 Lisa Court
                     Thibodaux, LA 70301



                     Robert J Bilello
                     309 Lee Drive
                     Thibodaux, LA 70301



                     Robert J Marcello and Lesley W Marcello
                     701 Levert Drive
                     Thibodaux, LA 70301




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                     Robert J Martinez
                     P.O. Box 3955
                     Cedar Park, TX 78630



                     Robert J Molaison
                     169 Knightsbridge Road
                     Bluffton, SC 29910



                     Robert J Peltier
                     P.O. Box 7028
                     Tyler, TX 75711



                     Robert Jude Foret
                     121 Lakewood Drive, Apt. 18
                     Luling, LA 70070



                     Robert L., Jr. & Marie Q. Wolfe
                     721 Sandpiper Lane
                     Opelousas, LA 70570



                     Robert P & Terence S. Naquin
                     300 Edgewood Dr
                     Thibodaux, LA 70301



                     Robert P Foret
                     114 Augusta Drive
                     Broussard, LA 70518



                     Robert Paul Dugas
                     320 Julia Street
                     Thibodaux, LA 70301



                     Robert V and Betty Blanchard Arceneaux
                     105 Blanchard Ln
                     Thibodaux, LA 70302




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                     Robert Wilkes Garmany, Jr.
                     Mark Chiasson Attorney
                     310 Hale Dr
                     Thibodaux, LA 70301



                     Robin A Long
                     27 Hark Lane
                     Westbury, NY 11590



                     Robin Arceneaux Bailey
                     1004 Ida Street
                     Morgan City, LA 70380



                     Robin King Williams
                     5275 River Lake Way
                     Grand Prairie, TX 75052



                     Robin S. Nalesnik
                     1617 Celtic Dr
                     Marrero, LA 70072



                     Robyn Ann G. Iver and Jody Iver
                     1930 Bayou Road
                     Thibodaux, LA 70301



                     Rod J Pierce
                     321 David Dr
                     Thibodaux, LA 70301



                     Rodney Blanchard
                     909 Lefort Bypass Rd
                     Thibodaux, LA 70301



                     Rodney J & Pauline Hebert
                     2204 S Wheeler ST
                     Jasper, TX 75951




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                     Rodney J and Marie Ledet Leblanc
                     305 Windsor East
                     Thibodaux, LA 70301



                     Rodney J David
                     403 Julia St
                     Thibodaux, LA 70301



                     Rodney J Torres
                     126 Torres Lane
                     Raceland, LA 70394



                     Rodney P & Loretta T Ponvelle
                     325 Ledet Dr
                     Thibodaux, LA 70301



                     Rodrigue's Electric, Inc.
                     1435 Tiger Dr.
                     Thibodaux, LA 70301-6096



                     Roger & Sherry H Lirette
                     215 Ledet Dr
                     Thibodaux, LA 70301



                     Roger C. Kimball & Suzanne Howlett Kimba
                     500 Edgewood Drive
                     Thibodaux, LA 70301



                     Roger E Braud, Etux
                     305 Marcello Blvd
                     Thibodaux, LA 70301



                     Roland B Clement et ux
                     204 Marcello Blvd
                     Thibodaux, LA 70301




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                     Roland Breaux, Jr.
                     P.O. Box 43
                     Des Allemands, LA 70030



                     Roland D JR & Geraldine H Barilleaux
                     1269 HWY 1
                     Thibodaux, LA 70301



                     Roland J Neville, Jr.
                     126 East 27th Street
                     Reserve, LA 70084



                     Roland Joseph Cheramie & Gwen Pitre Cher
                     603 Country Club BLvd
                     Thibodaux, LA 70301



                     Roland M Toups
                     1021 Oakley Drive
                     Baton Rouge, LA 70806



                     Ron Jarreau
                     301 Ledet Dr
                     Thibodaux, LA 70301



                     Ron R & Claire Bourgeois
                     410 Hale Dr
                     Thibodaux, LA 70301



                     Ronald Chauvin
                     180 Durocher
                     Thibodaux, LA 70301



                     Ronald Goulas and Brenda A. Duhon
                     417 Saint John Drive
                     Thibodaux, LA 70301




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                     Ronald J Cortez & Sandra M Cortez
                     107 TJV Lane
                     Thibodaux, LA 70301



                     Ronald J Foret
                     233 Princeton Woods Loop
                     Lafayette, LA 70508



                     Ronald J. Bourgeois
                     716 Barbier Avenue
                     Thibodaux, LA 70301



                     Ronald James Portier
                     5717 Sawyers Green Trail
                     Seymour, TN 37865



                     Ronald P Marse and Emily Richard Marse
                     1260 HWY 1
                     Thibodaux, LA 70301



                     Ronnie R Martino, Jr.
                     199 Fairfield Dr.
                     Thibodaux, LA 70301



                     Rory C & Catherine Keehn
                     209 David Dr
                     Thibodaux, LA 70301



                     Rory J Bellanger
                     310 Emerald Park Drive
                     Thibodaux, LA 70301



                     Rose Breaux Gray
                     828 1/2 Avenue A
                     Marrero, LA 70072




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                     Ross & Jill Blouin Trust DTD
                     3735 El Caminito Street
                     La Crescenta, CA 91214



                     Roustabouts, Inc.
                     PO Box 730
                     Bourg, LA 70343



                     Roy J and Theresa McDonald
                     123 Verdin Lane
                     Thibodaux, LA 70301



                     Roy J Peronne, Anna M Perronne, Carolyn
                     137 Constant Dr
                     Thibodaux, LA 70301



                     Roy J Robichaux & Alison Bourgeois Robic
                     324 Rosemont Dr.
                     Thibodaux, LA 70301



                     Roy J. Roundtree, Jr.,
                     4442 Lindsey Loop
                     Dover, FL 33527



                     Roy McDonald, Jr.
                     123 Verdin Lane
                     Thibodaux, LA 70301



                     Royal J Toups
                     509 Edgewood Drive
                     Thibodaux, LA 70301



                     Roylene Champagne Breaux
                     164 Rodriguez Dr
                     Raceland, LA 70394




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                     Ruby Charlene L. Detro
                     200 Cherry Drive
                     Thibodaux, LA 70301



                     Ruby Toups Price
                     2927 HWY 308
                     Raceland, LA 70394



                     Rusco Services, Inc.
                     1050 QCP Park Drive
                     Broussard, LA 70518



                     Rusty Clark Survey Company, Inc.
                     PO Box 100
                     Breaux Bridge, LA 70517



                     Ruth Hebert Knight
                     1515 Lynn Street
                     Thibodaux, LA 70301



                     Ruth Toups Monsour
                     1517 HWY 51
                     Madison, MS 39110



                     Ryan C Lirette
                     215 Ledet Drive
                     Thibodaux, LA 70301



                     Ryan Drake
                     29637 Park Street
                     Walker, LA 70785



                     Ryan J Melancon
                     169 Constant Dr
                     Thibodaux, LA 70301




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                     Ryan P & Annette P Cortez
                     126 Verdin Lane
                     Thibodaux, LA 70301



                     Ryan P Cortez & Annette P Cortez
                     403 Destrehan Dr
                     Thibodaux, LA 70301



                     Ryan P. Toups and Kati H. Toups
                     507 Levert Drive
                     Thibodaux, LA 70302



                     Ryan Toups
                     507 Levert St
                     Thibodaux, LA 70301



                     Rysa Triggs
                     125 St. Charles Bypass Road
                     Thibodaux, LA 70301



                     S & C Properties
                     P. O. Box 601295
                     Dallas, TX 75360



                     S&C Properties
                     P.O. Box 601295
                     Dallas, TX 75360-1295



                     Sabine Louisiana Royalty Trust
                     Southwest Bank
                     P.O. Box 678600
                     Dallas, TX 75267-8600



                     Sabine Royalty Trust, Simmons Bank, Escr
                     P.O. Box 678600
                     Dallas, TX 75267-8600




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                     Sally Benoit Juneau
                     108 Bayou Vista Drive
                     Thibodaux, LA 70301



                     Samantha Ordoyne Davis
                     279 E Fieldcrest Drive
                     Thibodaux, LA 70301



                     Samuel B Wilson IV
                     312 Southdown West Blvd
                     Houme, LA 70360



                     Samuel D Shanklin
                     114 Adams Lane
                     Thibodaux, LA 70301



                     Samuel L & Lorraine E Hart
                     7681 Mickey's Pride
                     Columbia, MD 21046



                     Samuel Louis Ellis
                     1317 Midland Drive
                     Thibodaux, LA 70301



                     Sand Warren Marmillion
                     2247 Highway 18
                     Vacherie, LA 70090



                     Sandra Bernard St. Pierre
                     7707 HWY 308
                     Lockport, LA 70374



                     Sandra Bilello Hebert
                     611 Wortham Way
                     Houma, LA 70360




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                     Sandra Lee Akenberger Kontner
                     100 Community Drive, Apt. #226
                     Avon Lake, OH 44012



                     Sandra Lee Akenberger Kontner
                     100 Community Dr., Apt. #226
                     Avon Lake, OH 44012



                     Sandra McDonald Cortez
                     107 TJV Lane
                     Thibodaux, LA 70301



                     Sandra McQueen Carbo
                     112 P Street
                     Belle Chasse, LA 70037



                     Sandra Pittman Hays
                     83 Chateau Rothchild Drive
                     Kenner, LA 70065



                     Sandra Sue T Landry
                     16480 Old Jefferson HWY
                     Prairieville, LA 70769



                     Sandra Tardo Long
                     131 Lambs Mill Road
                     Naples, ME 04055



                     Sandria Dupre Lebleu
                     P.O. Box 356
                     Krotz Springs, LA 70750



                     Sara Day Robichaux Foret
                     318 Cedar Tree Drive
                     Thibodaux, LA 70301




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                     Sara E Harang
                     307 Bayou Lane
                     Thibodaux, LA 70301



                     Sara M Lagarde
                     100 Palmetto Lane
                     Thibodaux, LA 70301



                     Sarah Fontenot
                     136 Martin Drive
                     Washington, LA 70589



                     Sarah Harang Naquin
                     620 Menard Street
                     Thibodaux, LA 70301



                     Sarah Harang Naquin
                     620 Menard St
                     Thibodaux, LA 70301



                     Schlumberger Technology Corp.
                     3750 Industrial Boulevard
                     Laurel, MS 39440



                     Scott A. Robichaux
                     2747 Highway 308
                     Raceland, LA 70394



                     Scott Jenkins
                     281 Meadow View Court
                     Thibodaux, LA 70301



                     Scott Leonard
                     249 Clara Dr
                     Slidell, LA 70458




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                     Scott M Harang
                     307 Bayou Lane
                     Thibodaux, LA 70301



                     Scott P & Shellie Richard
                     336 David Dr
                     Thibodaux, La 70301



                     Scott W. Hoffman & Roxanne T. Hoffman
                     208 Canal Blvd.
                     Thibodaux, LA 70301



                     Scottie J Sauce
                     136 Constant Dr
                     Thibodaux, LA 70301



                     Scotty J & Leigh Martin
                     129 David Dr
                     Thibodaux, LA 70301



                     Seth W Hickman
                     410 Brandywine Blvd
                     Thibodaux, LA 70301



                     Shana L Chiasson
                     244 David Dr
                     Thibodaux, LA 70301



                     Shane J & Heidi Manning
                     909 Country Club BLvd
                     Thibodaux, LA 70301



                     Shannon Lynn Bourgeois
                     254 David Dr
                     Thibodaux, LA 70301




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                     Shannon Robeau
                     1042 Highway #1
                     Thibodaux, LA 70301



                     Shantel & Patrick N Mokhtarnejad
                     271 David Dr
                     Thibodaux, LA 70301



                     Shari Ann Foret Parrish
                     2457 S Hiawassee Road, #A-257
                     Orlando, FL 32835-6347



                     Shari Foret
                     2100 Westchester Drive
                     Mansfield, TX 76063



                     Sharlene Blanco Bergeron
                     411 Ledet Drive
                     Thibodaux, LA 70301



                     Sharlene Blanco Bergeron
                     C/O Dillion Dinger
                     209 Cherry Dr. 2372 saint mary st
                     Thibodaux, LA 70301



                     Sharon Hebert Ogden
                     7509 St Anthony St
                     Marrero, LA 70072



                     Sharon M Braud
                     4632 Westdale Drive
                     Baton Rouge, LA 70808



                     Sharon Ordoyne Savoie
                     119 Isabelle Place
                     Thibodaux, LA 70301




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                     Shawn Octave King
                     3022 General Marshall Dr.
                     Lake Charles, LA 70615



                     Sheard D. Ber & Leslie Chauvin Ber
                     1106 HWY 1
                     Thibodaux, LA 70301



                     Sheila LeBlanc
                     165 Constant Dr
                     Thibodaux, LA 70301



                     Sheila Torres Adams
                     345 Winding Way
                     Hallsville, TX 75650



                     Shelly A Sparrow Gros
                     130 David Dr
                     Thibodaux, LA 70301



                     Shelly Champagne Lagarde
                     204 Rodriguez Dr
                     Raceland, LA 70394



                     Sherri F. Moore, formerly Fleming
                     13119 Kellies Farm Lane
                     Austin, TX 78727



                     Sherry Hebert Davis
                     676 Highway 308
                     Thibodaux, LA 70301



                     Sherry Lebouef and Kevin J. Lebouef
                     10339 Heather Lane
                     Panama City, FL 32409




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 268 of 302
                     Sherry S. Fisher (usufruct)
                     2816 Grand Prairie Highway;
                     Washington, LA 70589



                     Sheryl Johnson Freeman
                     1129 Louise Street
                     Thibodaux, LA 70301



                     Shirley A Holmes
                     341 California Street
                     Thibodaux, LA 70301



                     Shirley Chappuis Bonin




                     Shirley Foret Hebert
                     950 Shakespeare Dr
                     Beaumont, TX 77006



                     Shirley Foret Torres
                     2941 HWY 308
                     Raceland, LA 70394



                     Shirley Hoffpauir
                     323 Ledet Dr
                     Thibodaux, LA 70301



                     Shirley Soileau Marcus
                     1218 Shady Lane
                     Opelousas, LA 70570



                     Shirley Toups Authement
                     1201 Cardinal Drive, Apt. C-102
                     Thibodaux, LA 70301




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                     Shirley Zeringue Bonvillian
                     516 Isle of Cuba Road
                     Schriever, LA 70395



                     Sidney J and Shirley Foret Torres
                     2941 HWY 308
                     Raceland, LA 70394



                     Simeon M Mire
                     401 David Dr
                     Thibodaux, LA 70301



                     SK Exploration, Inc.
                     7700 San Felipe, Suite 500
                     Houston, TX 77063



                     Solids Control Technologies, LLC
                     102 Turtle Creek Drive
                     Lafayette, LA 70506



                     Sonja Jarreau
                     307 Ledet Dr
                     Thibodaux, LA 70301



                     South River Partners, LLC
                     340 9th Street North
                     Naples, FL 34102



                     Southern ENT Associates, Inc.
                     1101 Audubon Ave
                     Thibodaux, LA 70301



                     Southern Rental Services, LLC
                     PO Box 959
                     Youngsville, LA 70592




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 270 of 302
                     Southwest Petroleum Company
                     P.O. Box 702377
                     Dallas, TX 75370-2377



                     Southwest Petroleum Company, LP
                     P. O. Box 702377
                     Dallas, TX 75370



                     SPC Rentals
                     1063 Petroleum Parkway
                     Broussard, LA 70518



                     Spectrum
                     220 Banker Drive SB
                     Thibodaux, LA 70301-8016



                     St Charles Borromeo Roman Catholic Churc
                     1985 HWY 308
                     THibodaux, LA 70301



                     St. Landry Parish Sheriff
                     P. O. Box 1029
                     Opelousas, LA 70570



                     St. Paul (Equal Rights) Baptist Church o
                     Reverend Russel Folse
                     118-A California Street
                     Thibodaux, LA 70301



                     St. Peter Apostle for Native Clergy Inc
                     Donna G. Borowicz, CFO
                     70 West 36th Street 8Th Floor New York
                     New York, NY 10018



                     Stabil Drill Specialties, LLC
                     110 Consolidated Drive
                     Lafayette, LA 70508




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 271 of 302
                     Stacy Southall
                     120 Garden Circle
                     Thibodaux, LA 70301



                     Stage 3 Separation, LLC
                     2000 Silber Rd.
                     Houston, TX 77055-2623



                     Stallion Oilflield Construction
                     402 Service Rd.
                     Rayne, LA 70578



                     Stanga & Sons LLC
                     Craig & Linda Stanga
                     207 West Third St
                     Thibodaux, LA 70301



                     State Farm Insurance
                     PO Box 680001
                     Dallas, TX 75368-0001



                     State of LA - DEQ
                     PO Box 733676
                     Dallas, TX 75373-3676



                     State of LA - Fisherman's Gear C
                     PO Box 44487
                     Baton Rouge, LA 70804-4487



                     State of LA - Ofc. of Mineral Re
                     617 North 3rd Street
                     Baton Rouge, LA 70802



                     State of Louisiana: Blue Bayou
                     State Mineral and Energy Board state lease 21689
                     617 N 3rd Street, 8th Floor
                     Baton Rouge, LA 70802-5428




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 272 of 302
                     State of Louisiana: Lafourche Bayou
                     State Mineral and Energy Board state lease 21763
                     617 N 3rd Street, 8th Floor
                     Baton Rouge, LA 70802-5428



                     State of Louisiana: Terrebonne Bayou
                     State Mineral and Energy Board sate lease 21688
                     617 N 3rd Street, 8th Floor
                     Baton Rouge, LA 70802-5428



                     Steel Services Oilfield Tubular
                     8138 E. 63rd Street
                     Tulsa, OK 74133



                     Stephanie Bilello Frazer
                     384 Devon Drive
                     Mandeville, LA 70448



                     Stephanie Marie Levert
                     7867 South Valleyhead Way
                     Aurora, CO 80016



                     Stephanie N Waters
                     830 HWY 44
                     Reserve, LA 70084



                     Stephanie P Pazzolatto
                     223 WEBRE DRIVE
                     Thibodaux, LA 70301



                     Stephen B Morris MD
                     162 Acadia Dr
                     Raceland, LA 70394



                     Stephen G Bilello
                     1206 Stillwater Trail
                     Carrollton, TX 75007




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 273 of 302
                     Stephen G Peltier Family LLC
                     101 St Louis St
                     Thibodaux, LA 70301



                     Stephen G Peltier Family, LLC
                     101 St. Louis Street
                     Thibodaux, LA 70301



                     Stephen J McQueen
                     300 West 5th Street, Unit 541
                     Charlotte, NC 28202



                     Stephen L Toups
                     654 HWY 308
                     Thibodaux, LA 70301



                     Stephen M. Blanchard
                     309 Parkside Drive
                     Thibodaux, LA 70301



                     Stephen P Junot
                     403 Buquet St
                     Houma, LA 70360



                     Stephen P Lorio
                     2271 HWY 308
                     Raceland, LA 70394



                     Stephen S Dufrene
                     131 Ashton Dr
                     Thibodaux, LA 70301



                     Stephen Toups
                     654 Highway 308
                     Thibodaux, LA 70301




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 274 of 302
                     Stephen Toups
                     654 HWY 308
                     Thibodaux, LA 70301



                     Sterling J Navarre
                     143 Constant Dr
                     Thibodaux, LA 70301



                     Steve P. Usey, II & Samantha Usey
                     101 Lisa Court
                     Thibodaux, LA 70301



                     Steven Anthony Ford
                     10339 Heather Lane
                     Panama City, FL 32409



                     Steven C & Caitlin K Stroud
                     135 South Dennis St
                     Thibodaux, LA 70301



                     Steven J Leon
                     5 Audubon Place
                     Hammond, LA 70401



                     Steven J. Marcello
                     300 Rosa Avenue
                     Metairie, LA 70005



                     Steven J. Marcello
                     156 W. Main
                     Thibodaux, LA 70301



                     Steven P Thibodeaux and Janet E Thibodea
                     302 St Matthias Dr
                     Carencro, LA 70520




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 275 of 302
                     Steven Wall
                     1039 Highway 1
                     Thibodaux, LA 70301



                     Stric-Lan Companies LLC
                     PO Box 62288
                     Lafayette, LA 70596



                     Subaru Finance
                     P. O. Box 78232
                     Phoenix, AZ 85062



                     Succession of Betty Martinez Thiboduax
                     Bonnie T. Knowles, Testamentar Executrix
                     920 Focis Street
                     Metairie, LA 70005



                     Succession of David Talbot Heck
                     502 Cheyenne Street
                     Houma, LA 70360



                     Succession of Edwin Pierce Whitson
                     Priscilla W Dilorenzo
                     P.O. Box 343
                     Amite, LA 70422



                     Succession of Edwin Pierce Whitson
                     Priscilla W Dilorenzo
                     1412 Clemons Court
                     Amite, LA 70422



                     Succession of Lindsey J. Aucoin
                     Cynthia A Capron, Executor
                     P.O. Box 55869
                     Houston, TX 77255-5869



                     Succession of Marianna S. Marcello
                     156 W. Main
                     Thibodaux, LA 70301


19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 276 of 302
                     Succession of Marianna S. Marcello
                     156 W. Main Street
                     Thibodaux, LA 70301



                     Succession of Mina Coleman McKee
                     P.O. Box 702
                     Thibodaux, LA 70302



                     Succession of Minta Cheramie Martin




                     Succession of Paulin J Champagne
                     Louis J Junot
                     222 East Lakeshore Dr
                     Thibodaux, LA 70301



                     Succession of Paulin J. Champagne
                     Louis J. Junot, et al
                     222 East Lakeshore Drive
                     Thibodaux, LA 70301



                     Succession of Sylvia Theresa Champagne
                     Louis J Junot
                     222 East Lakeshore Dr
                     Thibodaux, LA 70301



                     Succession of Thomas W Kleinpeter
                     1401 Renee Drive
                     Thibodaux, LA 70301



                     Superior Performance Inc.
                     PO Box 1080
                     Broussard, LA 70518



                     Susan Acosta Borne
                     107 Legendre Dr
                     Thibodaux, LA 70301




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 277 of 302
                     Susan Alma Schwab
                     201 Columbia Drive
                     Thibodaux, LA 70301



                     Susan Ann Molaison Jones
                     2339 Pecan Grove Way
                     Rancho Cordova, CA 95670



                     Susan Brignac Bergeron
                     200 Carol Drive
                     Rayne, LA 70578



                     Susan C Cashio
                     310 Marcello Blvd
                     Thibodaux, LA 70301



                     Susan C Schenken
                     216 South Murat
                     New Orleans, LA 70119



                     Susan Foret Granier
                     144 Peltier Drive
                     Raceland, LA 70394



                     Susan Gaubert Schwaner
                     201 Abigail Dr.
                     Thibodaux, LA 70301



                     Susan Harang Savoie
                     173 Union Drive
                     Thibodaux, LA 70301



                     Susan Harang Savoie
                     173 Union Dr
                     Thibodaux, LA 70301




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 278 of 302
                     Susan Lagarde Blanchard
                     301 Rue Grand Chene
                     Thibodaux, LA 70301



                     Susan Marie Menge & Ted Anthony
                     528 Main Project Road
                     Schriever, LA 70395



                     Susan Toups Dufrene
                     2222 HWY 1
                     Raceland, LA 70394



                     Suzanne deBoisblanc Tyler
                     600 Julia St., Unit #2
                     New Orleans, LA 70130



                     Suzanne Legendre Conaway
                     4100 Cardinal Lane
                     Midland, TX 79707



                     Suzanne Murzi Theriot
                     233 Elm Drive
                     Raceland, LA 70394



                     Suzette Bourgeois Thibodaux Bartnesly
                     100 Richmond CT
                     Thibodaux, LA 70301



                     Suzette M Herbert
                     1327 Aycock St.
                     Houma, LA 70360



                     Swivel Rental
                     PO Box 82539
                     Lafayette, LA 70598




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 279 of 302
                     Sybil A. DeLatte Ditta & Samuel S. Ditta
                     418 Gardere St
                     Harvey, LA 70058



                     Sydney Blanchard Webre
                     512 Alonda Drive
                     Lafayette, LA 70503



                     Sylvester A & Delores J Jackson
                     417 Brandywine Blvd
                     Thibodaux, LA 70301



                     Sylvia A Lindsey
                     155 Appletree Dr
                     Thibodaux, LA 70310



                     Sylvia M Himel
                     102 East Garden Dr
                     Thibodaux, LA 70301



                     Sylvia Martinez Himel
                     Shiela H. Rodrigue POA
                     102 East Garden Drive
                     Thibodaux, LA 70301



                     T Baker Smith, LLC
                     PO Box 2266
                     Houma, LA 70361



                     T&A Services of BB, LLC
                     1094 Bergeron Rigs Road
                     Breaux Bridge, LA 70517



                     T&T Welding Service
                     PO Box 279
                     Ellisville, MS 39437




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 280 of 302
                     Tabatha Landry Adams
                     43415 Galvez Oaks Dr
                     Prairieville, LA 70769



                     Talbot and Parro LLC
                     PO Box 403
                     Thibodaux, LA 70301



                     Tammy Adams
                     140 Constant Dr
                     Thibodaux, LA 70301



                     Tammy Hebert Gale
                     10739 Varese Lane
                     Northglenn, CO 80234



                     Tammy Lynn Richard
                     115 Nelson Lane, Apt. 1
                     Thibodaux, LA 70301



                     Tammy Richard
                     115 Nelson Lane, Apt. 1
                     Thibodaux, LA 70301



                     Tank Specialties, LLC
                     PO Box 1390
                     Larose, LA 70373



                     TanMar Companies, LLC
                     PO Box 1376
                     Eunice, LA 70535



                     Tanner Services, LLC
                     P. O. Box 1434
                     Eunice, LA 70535




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 281 of 302
                     Tarpon Rental, Inc.
                     PO Box 9023
                     Houma, LA 70361



                     Ted J Camardelle
                     212 St Peter Street
                     Raceland, LA 70394



                     Ted J. Blanchard & Angelle Soignet Blanc
                     400 Black Street
                     Thibodaux, LA 70301



                     Ted Joseph Foret
                     249 St. Peter Street
                     Raceland, LA 70394



                     Ted P Bergeron
                     1051 HWY 1
                     Thibodaux, LA 70301



                     Telie Clement Gaddis
                     201 Fairfield Dr.
                     Thibodaux, LA 70301



                     Tena Pitre
                     155 Constant Dr
                     Thibodaux, LA 70301



                     Tenexco, Inc.
                     17W 715C Butterfield Road
                     Oakbrook Terrace, IL 60181



                     Terilyn A Hebert
                     101 Gaubert Dr
                     Thibodaux, LA 70301




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 282 of 302
                     Terrence C Queen
                     Natalie Shanklin-Steib & Eva Shanklin
                     420 Brandywine Blvd
                     Thibodaux, LA 70301



                     Terroir Developments LLC
                     Guy P Zeringue III
                     311 Patriot ST
                     Thibodaux, LA 70301



                     Terry & Melodia H Lombas
                     315 Ledet Dr
                     Thibodaux, LA 70301



                     Terry and Hazel Cheramie Dantin
                     601 Levert Drive
                     Thibodaux, LA 70301



                     Terry Dauzat
                     718 HWY 8 East
                     Vardaman, MS 38878



                     Terry J Zeringue, Sr.
                     15116 Sam Jackson Road
                     Bogalusa, LA 70427



                     Terry L Clement
                     512 DAX's Place
                     Thibodaux, LA 70301



                     Terry P Champagne
                     236 Champagne Lane
                     Raceland, LA 70394



                     Terry P II & Jane Falgoust
                     200 David Dr
                     Thibodaux, LA 70301




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 283 of 302
                     Texas Mutual Insurance Company
                     PO Box 841843
                     Dallas, TX 75284-1843



                     The Administration of the Tulane Educati
                     Tulane University President's Office Mr. Bob Turne
                     800 E Commerce Road, Suite 201
                     Harahan, LA 70123



                     The Christl Family Trust
                     Peter R. Christl
                     1709 Aryana Dr.
                     Encinitas, CA 92024



                     The Christl Family Trust
                     Peter R Christl, Trustee
                     1709 Aryana Drive
                     Encinitas, CA 92024-1282



                     The Daniel H Hawthorne Discretionary Tru
                     Josepj J Collier Authorized Agent Regions Bank
                     333 Texas St-LASH3025T
                     Shreveport, LA 71101



                     The Dennis W Martinez and Katie L Martin
                     Dennis W. Martinez, Trustee
                     201 rue beau chene
                     Thibodaux, LA 70301



                     The Estate of Ernest W Bieber & Ann Link
                     4170 White Oak Hwy
                     Branch, LA 70516



                     The Estate of Kirk J. Hebert
                     Duane Hebert, Admin.
                     310 Independence Way
                     Roswell, GA 30075




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 284 of 302
                     The Hazel Blouin Conkey Family Trust
                     James Conkey, Trustee or Successor Trustee
                     204 North Poinsettia Ave
                     Manhattan Beach, CA 90266



                     The J. Ross Blouin Louisiana Minerals Tr
                     Doreen Lea Blouin, Trustee
                     3443 Esplanade Ave., #245
                     New Orleans, LA 70119



                     The Larry P Thibodaux and or Connie Zeri
                     734 Highway 308
                     Thibodaux, LA 70301



                     The Michael J Bilello and Edna M Bilello
                     103 Melrose Drive
                     Thibodaux, LA 70301



                     The Peltier Foundation
                     101 St. Louis Street
                     Thibodaux, LA 70301



                     The Peltier Foundation
                     101 St Louis St
                     Thibodaux, LA 70301



                     The Robert E. & Myrna L. Jones Revocable
                     Robert E. Jones and Myrna L. Jones, Trustees
                     810 Encino Dr
                     Morgan Hill, CA 95037



                     The Ross and Jill Blouin Trust
                     Ross Bogart Blouin and Jill Marie Blouin, Trustees
                     3735 El Caminito
                     Glendale, CA 91214




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 285 of 302
                     The Trust of Judith Marie Floyed, Robert
                     Robert Hale Floyed
                     1973 Lamar Rd
                     Ville Platte, LA 70586



                     The Tuverson Family Trust
                     8333 Turtle Creek Circle
                     Las Vegas, NV 89113



                     The Walter H and Patricia Bumgardner Rev
                     11 Delond Place
                     Hattiesburg, MS 39402-1932



                     Theodore M. Bourque
                     3921 Grand Prairie Highway
                     Washington, LA 70589



                     Theresa A Tardo Andras
                     417 Percy Brown Rd
                     Thibodaux, LA 70301



                     Theresa Foret Landry Suire
                     4650 Collier Street, Apt. 194
                     Beaumont, TX 77706



                     Theresa H Adams
                     137 South Service Road
                     Raceland, LA 70394



                     Theresa Hebert Adams
                     137 South Service Road
                     Raceland, LA 70394



                     Theresa Toups Brocato
                     2157 HWY 308
                     Raceland, LA 70394




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 286 of 302
                     Therese M Luke
                     122 TJV Lane
                     Thibodaux, LA 70301



                     Thibodaux Volunteer Fire Department
                     Ron R Bourgeois
                     P.O. Box 1421
                     Thibodaux, LA 70302



                     Thomas & Sheri Eschete
                     178 Cinclare Drive
                     Thibodaux, LA 70301



                     Thomas B Blanchard
                     128 Goode Street
                     Thibodaux, LA 70301



                     Thomas B Harang Jr
                     515 Blake Court
                     Thibodaux, LA 70301



                     Thomas B Harang LLC
                     515 Blake Court
                     Thibodaux, LA 70301



                     Thomas B. Goulas and Patricia Skaggs
                     210 Lafourche Drive
                     Thibodaux, LA 70301



                     Thomas Benton Harang
                     515 Blake Court
                     Thibodaux, LA 70301



                     Thomas Benton Musso and Donna Chiasson M
                     308 Parkside Drive
                     Thibodaux, LA 70301




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 287 of 302
                     Thomas Breaux
                     6082 E. Oktibbeha St.
                     Bay Saint Louis, MS 39520



                     Thomas C Nunn, Jr.
                     CMR 479 Box 391
                     APO, AE 09263



                     Thomas C. Stewart & Sandra P. Stewart
                     111 Buffalo Run
                     Lafayette, LA 70503



                     Thomas James Hebert
                     1329 Aycock Street
                     Houma, LA 70360



                     Thomas Joseph Bourgeois
                     1308 Lee Drive
                     Thibodaux, LA 70301



                     Thomas L & Juliet B LeBlanc
                     129 Margaret St
                     Thibodaux, LA 70301



                     Thomas L Torres
                     2275 HWY 308
                     Raceland, LA 70394



                     Thomas P & Denise A Profito
                     104 East Garden Dr
                     Thibodaux, LA 70301



                     Thomas Tools
                     PO Box 732868
                     Dallas, TX 75373-2868




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 288 of 302
                     Tiffany Lynn Folse
                     7759 Barataria Blvd
                     Marrero, LA 70072



                     Tilton P Gaudet et al
                     650 HIGHWAY 308
                     Thibodaux, LA 70301



                     Tim Carson
                     281 Ibis St.,
                     Fort Myers Beach, FL 33931



                     Timothy B Angelette
                     637 HWY 308
                     Thibodaux, LA 70301



                     Timothy C Barrilleaux, Etux
                     129 EAST ELLENDALE ESTATE DRIVE
                     HOUMA, LA 70360



                     Timothy J Peltier
                     200 Garden Drive
                     Thibodaux, LA 70301



                     Timothy J Peltier
                     4285 Highway 1010
                     Napoleonville, LA 70390



                     Timothy J Tardo
                     2020 West Ridge Drive
                     Mandeville, LA 70448



                     Timothy P. Blanchard
                     3026 Joel Rd
                     Sulphur, LA 70665




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 289 of 302
                     Timothy Ray Manuel
                     1178 L'ands-aux-Paille Rd.
                     Ville Platte, LA 70586



                     Tina Hebert Walker
                     312 Keystone Loop
                     Houma, LA 70360



                     Tiny E. Adams
                     509 Brandywine Blvd.
                     Thibodaux, LA 70301



                     TMC Energy, LLC
                     Kevin Moody, Managing Partner
                     P.O. Box 4033-C
                     Lafayette, LA 70502



                     TMC Energy, LLC
                     P.O. Box 4033-C
                     Lafayette, LA 70502



                     Todd & Sandra Rodrigue
                     513 Brandywine Blvd.
                     Thibodaux, LA 70301



                     Todd D Cowen
                     108 Garden Circle
                     Thibodaux, LA 70301



                     Todd Hebert
                     161 Lake Decade Court
                     Houma, LA 70360



                     Todd J and Laurie B. Rodrigue
                     601 Edgewood Dr.
                     Thibodaux, LA 70301




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 290 of 302
                     Todd J. Rodrigue & Laurie J. Rodrigue
                     103 Glenwood Court
                     Thibodaux, LA 70301



                     Todd M. LeBlanc
                     214 Marcello Blvd
                     Thibodaux, LA 70301



                     Todd S Binnings
                     300 Plantation Rd., Apt. 22
                     Thibodaux, LA 70301



                     Tommy J Champagne
                     188 Rodriguez Dr
                     Raceland, LA 70394



                     Tommy J Manuel
                     412 Brandywine Blvd
                     Thibodaux, LA 70301



                     Tommy O & Melissa Thibodaux
                     124 David Dr
                     Thibodaux, LA 70301



                     Tommy Stein, Etux
                     P.O. Box 5112
                     Thibodaux, LA 70302



                     Tony J Benoit
                     108 Bayou Vista Drive
                     Thibodaux, LA 70301



                     Tory M Neill
                     7858 California Ave., Apt. M127
                     Riverside, CA 92504




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 291 of 302
                     Tracie Lynn Roundtree Mejia & husband Jo
                     7921 W. Knights Griffin Rd
                     Plant City, FL 33565



                     Transtex Treating
                     400 Louisiana Street
                     Suite 700
                     Houston, TX 77002



                     Travis J & Tricia A Hotard
                     142 South Sugarfield DR
                     Thibodaux, LA 70301



                     Travis James Aucoin and Jennifer Harbour
                     103 Parkside Dr
                     Thibodaux, LA 70301



                     Tremayne Jones
                     506 Brandywine Blvd.
                     Thibodaux, LA 70301



                     Tri Drill, LLC
                     1001 Briar Patch Road
                     Broussard, LA 70518



                     Tri-City Services, Inc.
                     P. O. Box 81858
                     Lafayette, LA 70598



                     Tri-State Environmental, LLC
                     141 Thompson Road
                     Houma, LA 70363



                     Troy A & Angela Prejean
                     1250 Highway 1
                     Thibodaux, LA 70301




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 292 of 302
                     Troy M Summers
                     355 N Ezidore Ave
                     Grammercy, LA 70052



                     Tubular Accessories Corporation
                     1301 Young Street
                     Broussard, LA 70518



                     Tulane University
                     Peter J Baricev, Jr.
                     800 Commerce Road, STE 201
                     Harahan, LA 70123-3452



                     Tutorship of Samuel Jusselin
                     Dianne Jusselin
                     P.O. Box 662
                     Bunkie, LA 71322



                     Tyler M Martin & Katie Lynn Vicknair
                     138 Constant Dr
                     Thibodaux, LA 70301



                     Tyrone Walker
                     3942 Peninsular Dr
                     Land O Lakes, FL 34639



                     United Rentals (North America),
                     6125 Lakeview Road
                     Suite 700
                     Charlotte, NC 28269



                     UPS
                     PO Box 660650
                     Dallas, TX 75266-9707



                     US Bank
                     P. O. Box 790179
                     Saint Louis, MO 63179



19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 293 of 302
                     US Bank Montana Indirect Lending
                     PO Box 790179
                     Saint Louis, MO 63179-0179



                     US Postmaster
                     841 S. 26th Street
                     Billings, MT 59101



                     US Treasury
                     Internal Revenue Service
                     Ogden, UT 84201-0039



                     Valve & Wellhead Specialists LLC
                     321 Apollo Road
                     Scott, LA 70583



                     Vanessa Hampton
                     506 Summerfield Drive
                     Thibodaux, LA 70301



                     Vanguard Vaccum Trucks LLC
                     PO Box 4276
                     Houma, LA 70361



                     Variable Bore Rams, Inc.
                     1086 Aillet Road
                     Broussard, LA 70518



                     Verizon Wireless
                     PO Box 660108
                     Dallas, TX 75266-0108



                     Vern Albert Trosclair
                     1216 Point St
                     Houma, LA 70360




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 294 of 302
                     Vesco Rental & Pressure Control
                     PO Box 11612
                     New Iberia, LA 70562-1612



                     Vickie B Tabor
                     1249 Canal Blvd
                     Thibodaux, LA 70301



                     Victoria S. Babin POA for Bettie S Robic
                     2816 Highway 1
                     Raceland, LA 70394



                     Violet K. Soileau Saucier
                     2776 Grand Praiie Highway
                     Washington, LA 70589



                     Violet Ordoyne Bilello
                     521 Lagarde Street
                     Thibodaux, LA 70301



                     Virginia Gautreaux Ross
                     112 Constant Dr
                     Thibodaux, LA 70301



                     Virginia T & William E Gammage
                     1228 Hwy 1
                     Thibodaux, LA 70301



                     Virginia T & William E Gammage
                     1228 Highway 1
                     Thibodaux, LA 70301



                     W Baldwin Lloyd Revocable Trust
                     P.O. Box 1847
                     Jackson, MS 39215




19-51133 - #80 File 11/15/19 Enter 11/15/19 07:51:18 Main Document Pg 295 of 302
                     Waguespack Oil Company, Inc.
                     PO Box 326
                     Thibodaux, LA 70302



                     Walter Darrell Higgins, Jr.
                     P.O. Box 15311
                     New Orleans, LA 70175



                     Walter Darrell Higgins, Jr.
                     1900 Valence Street
                     New Orleans, LA 70115



                     Wanda Dugas
                     419 X ByPass Road
                     Raceland, LA 70394



                     Warren J Harang III
                     1343 HWY 1 South
                     Donaldsonville, LA 70346



                     Warren J Harang IV
                     1343 HWY 1 South
                     Donaldsonville, LA 70346



                     Warrior Energy Services
                     PO Box 122114
                     Dallas, TX 75312-2114



                     Waste Management
                     PO Box 55558
                     Boston, MA 02205-5558



                     Waste Pro
                     PO Box 865487
                     Orlando, FL 32886-5487




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                     Wayne D & Wanda N Delcambre
                     166 Constant Dr
                     Thibodaux, LA 70301



                     Wayne Dauzat
                     515 Maple St
                     Thibodaux, LA 70301



                     Wayne J Pharo et al
                     625 Highway 308
                     Thibodaux, LA 70301



                     Wayne J Thibodeaux and Laura D Thibodeau
                     Wayne J. Thibodeaux Deceased Laura is executrix of
                     1316 Spring Lake Dr
                     Baton Rouge, LA 70810



                     Wayne P Hebert
                     222 Marcello Blvd.
                     Thibodaux, LA 70301



                     Wayne P Hebert and Cathy M Hebert
                     222 Marcello Blvd.
                     Thiboduax, LA 70301



                     Wayne R Smith and Merle Lejeune Smith
                     107 Plater Court
                     Thibodaux, LA 70301



                     Wendy Dupre Smith
                     3151 W Atchafalaya Levee Rd.
                     Krotz Springs, LA 70750



                     Wendy Ledet
                     2244 HWY 307
                     Thibodaux, LA 70301




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                     Western Security Bank
                     2812 1st Ave. N
                     Billings, MT 59101



                     Wild Well Control, Inc.
                     2202 Oil Center Court
                     Houston, TX 77073



                     Wilfred Foret, Jr.
                     110 Peltier Drive
                     Raceland, LA 70394



                     William B. & Robin C. Lopez
                     103 Edgewood Drive
                     Thibodaux, LA 70301



                     William B. Marcello
                     215 Abby Road
                     Thibodaux, LA 70301



                     William C Simm JR
                     307 Hale Dr
                     Thibodaux, LA 70301



                     William G Hickman JR
                     242 Meadow View Ct.
                     Thibodaux, LA 70301



                     William Henry Robichaux
                     504-B Parkside Drive
                     Thibodaux, LA 70301



                     William J III & Misty Naquin
                     361 David Dr
                     Thibodaux, LA 70301




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                     William Kenneth Fontenot, Jr.
                     4642 Grand Prairie Highway
                     Washington, LA 70589



                     William L. Simpson & Kay H. Simpson
                     700 Levert Drive
                     Thibodaux, LA 70301



                     Willie J Champagne
                     4952 HWY 1
                     Raceland, LA 70394



                     Willie Johnson JR
                     144 California St
                     Thibodaux, LA 70301



                     Willie Johnson, Jr.
                     144 California Street
                     Thibodaux, LA 70301



                     Wilmore J. Broussard, III
                     207 Main Project RD
                     Schriever, LA 70395



                     Wilton J & Alice Gregory
                     1026 HWY 1
                     Thibodaux, LA 70301



                     Wilton J & Marie P Callais
                     405 Brandywind Blvd
                     Thibodaux, LA 70301



                     Winston Levert Goulas
                     123 Academy
                     Thibodaux, LA 70301




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                     Wireline Control Systems
                     5033 US Hwy 90 E
                     Broussard, LA 70518



                     Young Men's Reform Benevolent Associatio
                     208 Rue Grand Chene
                     Thibodaux, LA 70301



                     YP Holdings, LLC
                     6002 Costera Lane
                     Dallas, TX 75248



                     Yvette Eleazar Hebert
                     6209 West Pointe Blvd
                     Alexandria, LA 71303



                     Yvonne Hebert Kemp
                     10557 Springbrook Ave.
                     Baton Rouge, LA 70810



                     Yvonne Thibodaux Martinez
                     2249 HWY 1
                     Raceland, LA 70394



                     Zachary A & Melanie V Norris
                     1676 Burma Road
                     Thibodaux, LA 70301



                     Zedi
                     PO Box 51475
                     Lafayette, LA 70505-1475



                     Zoe Tanner
                     511 Levert Drive
                     Thibodaux, LA 70301




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                                                               United States Bankruptcy Court
                                                                     Western District of Louisiana
 In re      ROVIG MINERALS, INC.                                                                     Case No.   19-51133
                                                                                   Debtor(s)         Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       November 14, 2019                                          /s/ David B. Rovig
                                                                        David B. Rovig/President
                                                                        Signer/Title




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                                                               United States Bankruptcy Court
                                                                     Western District of Louisiana
 In re      ROVIG MINERALS, INC.                                                                      Case No.   19-51133
                                                                                   Debtor(s)          Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for ROVIG MINERALS, INC. in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 November 14, 2019                                                    /s/ H. Kent Aguillard
 Date                                                                 H. Kent Aguillard
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for ROVIG MINERALS, INC.
                                                                      H. Kent Aguillard
                                                                      P. O. Box 391
                                                                      Eunice, LA 70535
                                                                      337-457-9331 Fax:337-457-2917




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